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· ·    · · · Defendants.· · · · · ·(
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·9·    ·   ·    ·___________________________________________

10·    ·   ·    ·    ·    ·    ·    VIDEOTAPED                ORAL        DEPOSITION                 OF

11·    ·   ·    ·    ·    ·    ·    ·    ·    ·SENATOR             KEL       SELIGER

12·    ·   ·    · · · · · · · ·JANUARY 19, 2022
· ·    ·   ·    ·___________________________________________
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14·    ·   ·    ·    ·    VIDEOTAPED                   ORAL      DEPOSITION                OF     SENATOR            KEL

15·    ·SELIGER,               a    witness             produced             on     behalf           of    the

16·    ·Defendants,                     taken          in    the      above         styled           and    numbered

17·    ·cause            on    the       19th          day    of      January,             2021,          before

18·    ·Renea            Seggern,             CSR       No.      7262,         in     and       for       the      State

19·    ·of      Texas,             taken          in    the      offices            of     the       Attorney

20·    ·General,               Price          Daniel,            Jr.      Building,               209      West        14th

21·    ·Street,               Austin,             Texas,         in     accordance                with      the

22·    ·Federal               Rules          of    Civil         Procedure               and      any

23·    ·stipulations                     hereinafter                  set      forth.

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 ·2 · · · · · · · T· H E VI D E O G R A P H E R: · G o o d m or ni n g.                ·2 · ·fr o m w h at I c a n s e e h er e.
 ·3 · ·T o d a y' s d at e i s J a n u ar y 1 9t h, 2 0 2 2, at 9: 1 4 a. m.           ·3 · · · · · · · M· S. P E R A L E S: · T h at' s all t h e f ol k s
 ·4 · ·W e ar e o n t h e r e c or d. · W e ar e l o c at e d at t h e Offi c e        ·4 · ·t h at I s e e, y e s.
 ·5 · ·of t h e Att or n e y G e n er al of T e x a s at 2 0 9 W e st 1 4t h           ·5 · · · · · · · · · S· E N A T O R K E L S E LI G E R,
 ·6 · ·Str e et, A u sti n, T e x a s. · T hi s i s t h e vi d e o                     ·6 · ·h a vi n g b e e n fir st d ul y s w or n, t e stifi e d a s f oll o w s:
 ·7 · ·d e p o siti o n of S e n at or K el S eli g er i n t h e m att er of           ·7 · · · · · · · · · · ·E· X A MI N A TI O N
 ·8 · ·L e a g u e of U nit e d L ati n A m eri c a n Citi z e n s, et al.,            ·8 · ·B Y M R. H U D S O N:
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 1 0 · · · · · ·M y n a m e i s Br a d R o s a u er, t h e l e g al                    1 0 · · · ·A · ·I' m r e a d y t o g o.
 1 1 · ·vi d e o gr a p h er, a n d o ur c o urt r e p ort er i s R e n e a            1 1 · · · ·Q · ·S e n at or S eli g er, m y n a m e i s Eri c H u d s o n.
 1 2 · ·S e g g er n a n d w e ar e wit h Ki m Ti n d all & A s s o ci at e s i n      1 2 · ·I' m wit h t h e Offi c e of t h e Att or n e y G e n er al.· H a v e
 1 3 · ·S a n A nt o ni o, T e x a s.                                                  1 3 · ·w e e v er m et b ef or e ?
 1 4 · · · · · ·Will c o u n s el pl e a s e i ntr o d u c e t h e m s el v e s        1 4 · · · ·A · ·N ot t h at I r e c all.
 1 5 · ·f or t h e r e c or d aft er w hi c h t h e c o urt r e p ort er will          1 5 · · · ·Q · ·O k a y. · S o y o u'r e h er e t o d a y f or a
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 1 7 · · · · · · · M· R. D U N N: · T hi s i s C h a d D u n n o n b e h alf           1 7 · · · ·A · ·I h a v e.
 1 8 · ·of t h e Br o o k s pl ai ntiff s.                                             1 8 · · · ·Q · ·H o w r e c e ntl y ?
 1 9 · · · · · · · M· R. H U D S O N: · Eri c H u d s o n a n d C o urt n e y          1 9 · · · ·A · ·2 0 1 2, 2 0 1 3, s u b s e q u e nt t o t h e
 2 0 · ·C or b ell o o n b e h alf of t h e St at e d ef e n d a nt s.                 2 0 · ·r e di stri cti n g s e s si o n s i n t h at p eri o d of ti m e.
 2 1 · · · · · · · M· R. O PI E L A: · Eri c O pi el a r e pr e s e nti n g            2 1 · · · ·Q · ·W ell, it' s b e e n a f e w y e ar s t h e n s o l et' s
 2 2 · ·S e n at or S eli g er.                                                        2 2 · ·g o o v er a f e w gr o u n d r ul e s a s w e'r e d oi n g t h e
 2 3 · · · · · · · M· S. P E R A L E S: · C a n c o u n s el w h o ar e                2 3 · ·d e p o siti o n t o d a y. · T h e fir st o n e w hi c h i s l et' s n ot
 2 4 · ·p arti ci p ati n g r e m ot el y al s o h a v e t h e o p p ort u nit y t o   2 4 · ·t al k o v er e a c h ot h er s o a s y o u c a n s e e, w e'r e
 2 5 · ·i ntr o d u c e t h e m s el v e s ?                                           2 5 · ·o b vi o u sl y o n vi d e o, w e h a v e a c o urt r e p ort er.

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 ·2 · ·t hi n g s d o w n s o w e c a n d o t h at, Ni n a, t h a n k y o u.· If       ·2 · ·diffi c ult a n d I h a v e y et t o m e et a c o urt r e p ort er
 ·3 · ·y o u w a nt t o g o a h e a d a n d i ntr o d u c e y o ur s elf, pl e a s e   ·3 · ·w h o c a n t a k e d o w n t w o v oi c e s at o n c e s o c a n w e
 ·4 · ·d o.                                                                            ·4 · ·a gr e e t o d a y t h at if I' m s p e a ki n g, y o u'll l et m e
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 ·7 · ·L U L A C pl ai ntiff s a n d wit h m e t o d a y fr o m m y fir m ar e         ·7 · · · ·Q · ·A n d t h e s e c o n d t hi n g i s if y o u n e e d
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 1 3 · · · · · · · M· R. M c C A F FI T Y: · T hi s i s S e a n M c C affit y          1 3 · ·q u e sti o ni n g, if t h er e' s a q u e sti o n o n t h e t a bl e, I
 1 4 · ·a n d T e x Q u e s a d a o n b e h alf of t h e M e xi c a n A m eri c a n    1 4 · ·a s k t h at y o u fi ni s h a n s w eri n g t h e q u e sti o n b ef or e
 1 5 · ·L e gi sl ati v e C a u c u s. · G o o d m or ni n g.                          1 5 · ·y o u a s k f or t h e br e a k. · C a n y o u a gr e e t o t h at
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 1 7 · ·o n b e h alf of Tr e y M arti n e z Fi s c h er a n d                         1 7 · · · ·A · ·O k a y. · I a gr e e.
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 1 9 · · · · · · · M· S. W O L F S O N: · T hi s i s Al e x a n dr a                   1 9 · ·k n o w ri g ht b ef or e w e w e nt o n t h e r e c or d t h e c o urt
 2 0 · ·W olf s o n o n b e h alf of t h e S o ut h er n C o aliti o n f or            2 0 · ·r e p ort er s u g g e st e d s h e mi g ht b e a bl e t o g et h e a d
 2 1 · ·S o ci al J u sti c e.                                                         2 1 · ·n o d s s o w h at I d o n't w a nt t o s e e i n t h e tr a n s cri pt
 2 2 · · · · · · · M· S. L O T T: · Hi. · G o o d m or ni n g. · T hi s i s            2 2 · ·i s, y o u k n o w, m y q u e sti o n a n d t h e n a n s w er, h e a d
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 ·2 · · · ·A · ·Y e s, a n d if I f or g et, pl e a s e r e mi n d m e.                 ·2 · · · ·A · ·S ur e.
 ·3 · · · ·Q · ·O k a y. · L a stl y, y o u u n d er st a n d t h at if I               ·3 · · · ·Q · ·A n d s o d o y o u u n d er st a n d t h at y o u'r e u n d er
 ·4 · ·a s k y o u a q u e sti o n, it' s u p t o y o u t o d e ci d e                  ·4 · ·o at h a n d y o u'r e r e q uir e d t o t e stif y c o m pl et el y a n d
 ·5 · ·w h et h er y o u u n d er st a n d m y q u e sti o n. · S o if I a s k          ·5 · ·tr ut hf ull y, ri g ht ?
 ·6 · ·y o u a q u e sti o n a n d y o u d o n't u n d er st a n d it, b ut y o u       ·6 · · · ·A · ·Y e s.
 ·7 · ·a n s w er it a n y w a y, I' m n ot g oi n g t o k n o w.                       ·7 · · · ·Q · ·A n d y o u a gr e e t o d o t h at t o d a y, ri g ht ?
 ·8 · · · ·A · ·Ri g ht.                                                                ·8 · · · ·A · ·Y e s.
 ·9 · · · ·Q · ·Y o u f oll o w w h at I' m s a yi n g ?                                ·9 · · · ·Q · ·L et' s g o o v er a littl e bit of y o ur
 1 0 · · · ·A · ·S ur e.                                                                1 0 · ·b a c k gr o u n d. · S o c o ul d y o u i ntr o d u c e y o ur s elf t o t h e
 1 1 · · · ·Q · ·S o if I a s k y o u a q u e sti o n, I n e e d y o u t o              1 1 · ·j u d g e ?
 1 2 · ·t ell m e b e c a u s e ot h er wi s e t h e r e c or d a n d m e fr a n kl y   1 2 · · · ·A · ·M y n a m e i s K el S eli g er. · I li v e i n
 1 3 · ·ar e g oi n g t o l e a v e t h e c o urt wit h t h e i m pr e s si o n         1 3 · ·A m arill o, a n d si n c e 2 0 0 4 I' v e r e pr e s e nt e d t h e 3 1 st
 1 4 · ·t h at y o u u n d er st o o d t h e q u e sti o n a n d a n s w er e d t h e   1 4 · ·S e n at ori al Di stri ct w hi c h i s t h e P a n h a n dl e, p art of
 1 5 · ·q u e sti o n a s p o s e d.                                                    1 5 · ·t h e S o ut h Pl ai n s a n d t h e P er mi a n B a si n.· A n d t h e n
 1 6 · · · ·A · ·I u n d er st a n d.                                                   1 6 · ·i n 2 0 1 1, I c h air e d t h e S e n at e C o m mitt e e o n
 1 7 · · · ·Q · ·O k a y. · N o w, y o u'r e h er e t o t e stif y i n t h e            1 7 · ·r e di stri cti n g.
 1 8 · ·Br o o k s liti g ati o n, ri g ht ?                                            1 8 · · · ·Q · ·W h at d o y o u d o f or a li vi n g w h e n y o u'r e
 1 9 · · · ·A · ·Y e s.                                                                 1 9 · ·n ot l e gi sl ati n g ?
 2 0 · · · ·Q · ·Y o u u n d er st a n d t h at t h er e i s a pr eli mi n ar y         2 0 · · · ·A · ·I' v e b e e n i n t h e str u ct ur al st e el b u si n e s s
 2 1 · ·i nj e cti o n h e ari n g s et f or t h e w e e k of J a n u ar y 2 4t h,      2 1 · ·f or 3 0 s o m e- o d d y e ar s a n d it w a s a f a mil y b u si n e s s
 2 2 · ·2 0 2 2 ?                                                                       2 2 · ·w hi c h w e s ol d a f e w y e ar s a g o.
 2 3 · · · ·A · ·Y e s.                                                                 2 3 · · · ·Q · ·Ar e y o u c urr e ntl y r etir e d ?
 2 4 · · · ·Q · ·Ar e y o u pl a n ni n g t o att e n d t h at h e ari n g ?            2 4 · · · ·A · ·N o, I' m a m e m b er of t h e S e n at e.
 2 5 · · · ·A · ·I h a v e n ot b e e n.                                                2 5 · · · ·Q · ·L et m e a s k it t hi s w a y.

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 ·1 · · · ·Q · ·All ri g ht. · H a v e y o u r e c ei v e d a tri al                    ·1 · · · ·A · ·Fr o m t h e i n d u str y, y e s.
 ·2 · ·s u b p o e n a f or t h at h e ari n g ?                                        ·2 · · · ·Q · ·Fr o m i n d u str y, o k a y. · I' m g oi n g t o g o o v er
 ·3 · · · ·A · ·I h a v e n ot.                                                         ·3 · ·bri efl y y o ur e d u c ati o n al b a c k gr o u n d. · I u n d er st a n d
 ·4 · · · ·Q · ·All ri g ht. · D o y o u u n d er st a n d w h at t h e                 ·4 · ·fr o m y o ur pr ofil e o nli n e y o u m atri c ul at e d at
 ·5 · ·Br o o k s pl ai ntiff s ar e s ui n g o v er ?                                  ·5 · ·D art m o ut h ?
 ·6 · · · ·A · ·Br o a dl y, j u st t h e r e di stri cti n g m a p s.                  ·6 · · · ·A · ·C orr e ct.
 ·7 · · · ·Q · ·W ell, t h e pr eli mi n ar y i nj u n cti o n i s                      ·7 · · · ·Q · ·G ot w h at d e gr e e fr o m t h er e ?
 ·8 · ·c h all e n gi n g S e n at e Di stri ct 1 0 a n d t h e T e x a s S e n at e    ·8 · · · ·A · ·P s y c h ol o g y a n d bi ol o g y.
 ·9 · ·M a p p a s s e d i n t h e t hir d c all e d s e s si o n of t h e 8 7t h       ·9 · · · ·Q · ·B a c h el or of p s y c h ol o g y a n d bi ol o g y,
 1 0 · ·L e gi sl at ur e. · I s t h at y o ur u n d er st a n di n g of w h at         1 0 · ·s ci e n c e ?
 1 1 · ·t h e Br o o k s pl ai ntiff s ar e c h all e n gi n g ?                        1 1 · · · ·A · ·B a c h el or of art s. · T h e y'r e all b a c h el or of
 1 2 · · · ·A · ·Y e s.                                                                 1 2 · ·art s.
 1 3 · · · ·Q · ·O k a y. · I'll b e r ef erri n g t o t h e d at e of                  1 3 · · · ·Q · ·G ot c h a. · Y o u d o n't h a v e a n y l a w d e gr e e,
 1 4 · ·t h e s e n at e m a p t h at w a s ulti m at el y p a s s e d i n t h e        1 4 · ·ri g ht ?
 1 5 · ·t hir d c all e d s p e ci al s e s si o n of t h e 8 7t h                      1 5 · · · ·A · ·I d o n ot.
 1 6 · ·L e gi sl at ur e a n d si g n e d b y t h e G o v er n or. · I'll b e          1 6 · · · ·Q · ·N o a d v a n c e d d e gr e e ?
 1 7 · ·r ef erri n g t o t h at m a p a s eit h er S B 4 or t h e T e x a s            1 7 · · · ·A · ·N o.
 1 8 · ·S e n at e M a p t o d a y.                                                     1 8 · · · ·Q · ·Y o u d o n't h a v e a n y -- y o u' v e n e v er w or k e d
 1 9 · · · ·A · ·Y e s.                                                                 1 9 · ·a s a n att or n e y ?
 2 0 · · · ·Q · ·C a n w e a gr e e t o u s e t h o s e t er m s t o d a y w h e n      2 0 · · · ·A · ·N e v er.
 2 1 · ·r ef erri n g t o t h e T e x a s S e n at e M a p t h at i n cl u d e s        2 1 · · · ·Q · ·D o y o u c urr e ntl y li v e i n A m arill o ?
 2 2 · ·S D 1 0, t h e di stri ct t h at' s at i s s u e i n t h e Br o o k s           2 2 · · · ·A · ·I d o.
 2 3 · ·liti g ati o n ?                                                                2 3 · · · ·Q · ·W h er e a b o ut s ?
 2 4 · · · ·A · ·Y e s.                                                                 2 4 · · · ·A · ·3 8 1 0 D e a n n, D- E- A- N- N, Dri v e.
 2 5 · · · ·Q · ·All ri g ht. · Fi n all y, y o ur t e sti m o n y t o d a y,           2 5 · · · ·Q · ·N o w, ri g ht n o w y o u'r e r etir e d fr o m t h e

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 ·1 · ·i n d u str y, b ut y o ur c urr e nt p o siti o n i s y o u'r e t h e          ·1 · · · ·Q · ·All ri g ht. · H o w di d s h e h a n d it t o y o u ?
 ·2 · ·s e n at or f or S e n at e Di stri ct 3 1, ri g ht ?                           ·2 · · · ·A · ·T h at I d o n't r e c all.
 ·3 · · · ·A · ·C orr e ct.                                                            ·3 · · · ·Q · ·N o w, if w e g o t o P ar a gr a p h 1 0 of y o ur
 ·4 · · · · · · · (· E x hi bit N u m b er 1 m ar k e d.)                              ·4 · ·d e cl ar ati o n.
 ·5 · · · ·Q · ·( B Y M R. H U D S O N)· I' m h a n di n g y o u w h at I a m          ·5 · · · ·A · ·U m- h u m.
 ·6 · ·m ar ki n g a s St at e D ef e n d a nt' s 1. · G o a h e a d a n d t a k e     ·6 · · · ·Q · ·S e e P ar a gr a p h 1 0 ?
 ·7 · ·a l o o k at t h at a n d l et m e k n o w w h e n y o u'r e                    ·7 · · · ·A · ·I d o.
 ·8 · ·fi ni s h e d.                                                                  ·8 · · · ·Q · ·F oll o w al o n g wit h m e. · It s a y s, t h e 2 0 2 1
 ·9 · · · ·A · ·Pr ett y m u c h fi ni s h e d b e c a u s e I s u b mitt e d          ·9 · ·s e n at e r e di stri cti n g pr o c e s s s a w u ntr u e pr et e xt u al
 1 0 · ·it.                                                                            1 0 · ·e x pl a n ati o n s gi v e n f or w h y t h e li n e s w er e dr a w n a s
 1 1 · · · ·Q · ·W ell, g o a h e a d a n d t a k e a l o o k a n d l et' s            1 1 · ·t h e y w er e.· Di d I r e a d t h at c orr e ctl y ?
 1 2 · ·m a k e s ur e.                                                                1 2 · · · ·A · ·Y e s.
 1 3 · · · ·A · ·O k a y. · O k a y.                                                   1 3 · · · ·Q · ·A g ai n, y o u di d n't writ e t h at li n e ?
 1 4 · · · ·Q · ·W h at i s t h at d o c u m e nt ?                                    1 4 · · · ·A · ·N o.
 1 5 · · · ·A · ·T hi s i s t h e d e cl ar ati o n or affi d a vit t h at             1 5 · · · ·Q · ·W h at li n e s d o y o u b eli e v e w er e dr a w n wit h
 1 6 · ·I s u b mitt e d a s p art of t hi s l a w s uit.                              1 6 · ·u ntr u e e x pl a n ati o n s ?
 1 7 · · · ·Q · ·A n d if y o u fli p t o t h e b a c k p a g e, P a g e 3,            1 7 · · · ·A · ·O h, t h e li n e s i n S e n at e Di stri ct 3 1.
 1 8 · ·t h er e' s a si g n at ur e.· Ar e y o u f a mili ar wit h t h at             1 8 · · · ·Q · ·Ar e t h er e a n y ot h er s e n at e di stri ct s t h at
 1 9 · ·si g n at ur e ?                                                               1 9 · ·y o u b eli e v e u ntr u e e x pl a n ati o n s w er e gi v e n f or w h y
 2 0 · · · ·A · ·It i s mi n e.                                                        2 0 · ·t h e li n e s w er e dr a w n t h e w a y t h at t h e y w er e dr a w n ?
 2 1 · · · ·Q · ·O k a y. · S o y o u s u b mitt e d t hi s d e cl ar ati o n.         2 1 · · · ·A · ·U ntr u e, n o.
 2 2 · ·Di d y o u writ e it y o ur s elf ?                                            2 2 · · · ·Q · ·W h at a b o ut pr et e xt u al e x pl a n ati o n s ? · W h e n
 2 3 · · · ·A · ·I' m s orr y ?                                                        2 3 · ·y o u r ef er t o pr et e xt u al e x pl a n ati o n s, w hi c h
 2 4 · · · ·Q · ·Di d y o u writ e t h e d e cl ar ati o n y o ur s elf ?              2 4 · ·di stri ct s d o y o u b eli e v e w er e dr a w n a n d pr et e xt u al
 2 5 · · · ·A · ·I di d n ot.                                                          2 5 · ·e x pl a n ati o n s w er e gi v e n ?

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 ·1 · · · ·Q · ·W h o wr ot e it ?                                                     ·1 · · · · · · · M· R. O PI E L A: · O bj e cti o n, f or m.
 ·2 · · · ·A · ·I d o n't k n o w w h o wr ot e it.· It w a s gi v e n                 ·2 · · · ·A · ·O nl y S e n at e Di stri ct 3 1 t h at I k n o w of.
 ·3 · ·t o m e.· I a s k e d w h at S e n at or P o w ell w a nt e d m e t o           ·3 · · · ·Q · ·( B Y M R. H U D S O N)· O k a y. · T h e s e c o n d li n e
 ·4 · ·pr e s e nt a n d t hi s i s w h at s h e g a v e m e.                          ·4 · ·r e a d s, f or e x a m pl e, I w a s t ol d b y S e n at or H uff m a n
 ·5 · · · ·Q · ·W ell, l et' s t al k a b o ut t h at f or a s e c o n d.              ·5 · ·t h at m y di stri ct w a s b ei n g c h a n g e d t o a d d m a n y n e w
 ·6 · ·S o y o u di d n't h a v e a h a n d i n dr afti n g t hi s                     ·6 · ·c o u nti e s ar o u n d Mi dl a n d a n d r e m o v e P a n h a n dl e
 ·7 · ·d e cl ar ati o n ?                                                             ·7 · ·c o u nti e s i n or d er t o cr e at e di sti n cti v e
 ·8 · · · ·A · ·I di d n ot dr aft it.                                                 ·8 · ·a gri c ult ur al v er s u s oil a n d g a s di stri ct s b et w e e n
 ·9 · · · ·Q · ·Y o u s ai d y o u r e c ei v e d it fr o m S e n at or                ·9 · ·S D 3 1 a n d S D 2 8. · Di d I r e a d t h at c orr e ctl y ?
 1 0 · ·P o w ell ?                                                                    1 0 · · · ·A · ·Y e s.
 1 1 · · · ·A · ·Y e s.                                                                1 1 · · · ·Q · ·All ri g ht. · T h at' s a n e x a m pl e t h at y o u
 1 2 · · · ·Q · ·D o y o u k n o w if S e n at or P o w ell wr ot e t h e              1 2 · ·gi v e a s a n u ntr u e e x pl a n ati o n; i s t h at ri g ht ?
 1 3 · ·d e cl ar ati o n ?                                                            1 3 · · · ·A · ·Y e s.
 1 4 · · · ·A · ·I c o ul d n't b e gi n t o t ell y o u.                              1 4 · · · ·Q · ·W h at i s u ntr u e a b o ut t h at e x pl a n ati o n ?
 1 5 · · · ·Q · ·H o w di d y o u c o m e a b o ut g etti n g a                        1 5 · · · ·A · ·B e c a u s e it d o e s n't d o t h at a s a m att er of
 1 6 · ·d e cl ar ati o n fr o m S e n at or P o w ell ?                               1 6 · ·f a ct.· It e x ci s e s f o ur c o u nti e s i n t h e P a n h a n dl e
 1 7 · · · ·A · ·W h e n s h e a s k e d m e if I w o ul d p arti ci p at e            1 7 · ·a n d pl a c e s f o ur c o u nti e s d o w n i n t h e s o ut h er n p art
 1 8 · ·i n s o m e f a s hi o n o n t hi s s uit w h e n w e w er e i n               1 8 · ·of t h e di stri ct a n d it d o e s n't n e c e s s aril y cr e at e
 1 9 · ·s p e ci al s e s si o n o n t h e fl o or a n d I t ol d h er I               1 9 · ·t h at di vi si o n.· Gr a y C o u nt y i s o n e of t h e di stri ct s
 2 0 · ·w a nt e d t o r e a d t h e l a w s uit t h at w a s b ei n g fil e d a n d   2 0 · ·t h at w a s e x ci s e d fr o m t h e di stri ct w hi c h h a s b e e n a
 2 1 · ·I w a nt e d t o s e e w h at it w a s t h at s h e w o ul d li k e m e        2 1 · ·l ar g e g a s- pr o d u ci n g c o u nt y f or a l o n g ti m e.· W h y
 2 2 · ·t o pr e s e nt a n d t hi s w a s it.                                         2 2 · ·t a k e t h at o ut ?· At t h e s a m e ti m e t h er e' s a g o o d
 2 3 · · · ·Q · ·O k a y. · S o s o m e o n e wr ot e t hi s a n d h a n d e d it      2 3 · ·d e al of a gri c ult ur e, pri m aril y r a n c hi n g i n t h e
 2 4 · ·t o y o u a n d y o u si g n e d it ?                                          2 4 · ·s o ut h er n p art of t h e di stri ct. · S o t h o s e di vi si o n s,
 2 5 · · · ·A · ·S e n at or P o w ell h a n d e d it t o m e, y e s.                  2 5 · ·it i s a di v er s e e c o n o m y a n d it' s b ot h a gri c ult ur al

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 ·1 · ·a n d oil a n d g a s a n d t h e s e c h a n g e s di d n ot r e all y           ·1 · · · · · · · M· R. O PI E L A: · I' m g oi n g t o o bj e ct t o
 ·2 · ·h a v e t h at eff e ct at all.                                                   ·2 · ·t h at o n l e gi sl ati v e pri vil e g e.
 ·3 · · · ·Q · ·N o w, y o u g o o n t o s a y i n P ar a gr a p h 1 0, a s              ·3 · · · · · · · M· R. H U D S O N: · W ell, l et m e fi ni s h m y
 ·4 · ·I e x pl ai n e d o n t h e s e n at e fl o or, t h e pl a n d o e s n ot         ·4 · ·q u e sti o n.
 ·5 · ·cr e at e di sti n cti v e a gri c ult ur al a n d oil a n d g a s                ·5 · · · ·Q · ·( B Y M R. H U D S O N)· I' m j u st a s ki n g, d o n't
 ·6 · ·di stri ct s. · Di d I r e a d t h at c orr e ctl y ?                             ·6 · ·t ell m e t h e s u b st a n c e of t h e c o n v er s ati o n.
 ·7 · · · ·A · ·Y e s, y o u di d.                                                       ·7 · · · · · · · M· R. H U D S O N: · I g u e s s l et' s d o it t hi s
 ·8 · · · ·Q · ·A n d I t hi n k t h at t h at' s w h at y o u'r e                       ·8 · ·w a y.
 ·9 · ·e x pl ai ni n g t h er e ?                                                       ·9 · · · ·Q · ·( B Y M R. H U D S O N)· Y o u'r e n ot w ai vi n g
 1 0 · · · ·A · ·Y e s.                                                                  1 0 · ·l e gi sl ati v e pri vil e g e b y b ei n g h er e, ri g ht ?
 1 1 · · · ·Q · ·All ri g ht. · I n st e a d, it w a s o b vi o u s t h at               1 1 · · · ·A · ·N o.
 1 2 · ·t h e p ur p o s e of t h e s e c h a n g e s w a s t o b e n efit a             1 2 · · · ·Q · ·All ri g ht. · I n f a ct, y o u i nt e n d t o a s s ert
 1 3 · ·p ot e nti al R e p u bli c a n pri m ar y c h all e n g er fr o m               1 3 · ·l e gi sl ati v e pri vil e g e o v er c o m m u ni c ati o n s t h at ar e
 1 4 · ·Mi dl a n d pr ef err e d b y t h e Li e ut e n a nt G o v er n or. · Di d       1 4 · ·s u bj e ct t o l e gi sl ati v e pri vil e g e, ri g ht ?
 1 5 · ·I r e a d t h at c orr e ctl y ?                                                 1 5 · · · ·A · ·I d o.
 1 6 · · · ·A · ·Y e s, y o u di d.                                                      1 6 · · · ·Q · ·O k a y. · S o h er e' s w h at I' m tr yi n g t o g et at
 1 7 · · · ·Q · ·All ri g ht. · T ell m e a b o ut t h at.                               1 7 · ·t h e n b e c a u s e I' m tr yi n g n ot t o dr a w a n o bj e cti o n
 1 8 · · · · · · · M· R. O PI E L A: · O bj e cti o n, f or m.                           1 8 · ·h er e fr o m y o ur c o u n s el. · Wit h o ut t elli n g m e t h e
 1 9 · · · ·A · ·I t hi n k t h at' s w h y it w a s d o n e a n d I t hi n k            1 9 · ·s u b st a n c e of a n y of t h e c o m m u ni c ati o n s, di d y o u
 2 0 · ·t h er e w a s a m oti v ati o n it w a s cl e ar t h at t h e                   2 0 · ·h a v e a n y n o n p u bli c c o m m u ni c ati o n s wit h S e n at or
 2 1 · ·Li e ut e n a nt G o v er n or w a nt e d t h e c a n di d at e fr o m           2 1 · ·H uff m a n a b o ut t h e r e di stri cti n g pr o c e s s ?
 2 2 · ·Mi dl a n d t o c o m p et e s u c c e s sf ull y a n d t h at' s w h y t hi s   2 2 · · · ·A · ·Y e s.
 2 3 · ·w a s d o n e.                                                                   2 3 · · · ·Q · ·All ri g ht. · Di d y o u h a v e a n y p u bli c
 2 4 · · · ·Q · ·( B Y M R. H U D S O N)· T h e R e p u bli c a n pri m ar y             2 4 · ·c o n v er s ati o n s wit h S e n at or H uff m a n a b o ut t h e
 2 5 · ·c h all e n g er ?                                                               2 5 · ·r e di stri cti n g pr o c e s s ?

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 ·1 · · · ·A · ·Y e s.                                                                   ·1 · · · ·A · ·N o.
 ·2 · · · ·Q · ·W h y d o y o u t hi n k t h at S e n at or H uff m a n w a s            ·2 · · · ·Q · ·O k a y. · Di d y o u h a v e a n y n o n p u bli c
 ·3 · ·tr yi n g t o str e n gt h e n t h e R e p u bli c a n pri m ar y                 ·3 · ·c o n v er s ati o n s a b o ut t h e r e di stri cti n g pr o c e s s wit h
 ·4 · ·c h all e n g er a g ai n st y o u ?                                              ·4 · ·a n y of t h e c o m mitt e e s m e m b er s f or t h e S e n at e
 ·5 · · · ·A · ·Pr o b a bl y b e c a u s e s h e w a s t ol d t o b y t h e             ·5 · ·R e di stri cti n g C o m mitt e e i n 2 0 2 1 ?
 ·6 · ·Li e ut e n a nt G o v er n or.                                                   ·6 · · · ·A · ·N ot t h at I r e c all. · T h er e' s a l ot of t h e m
 ·7 · · · ·Q · ·W ell, S e n at or H uff m a n di d n't t ell y o u t h at               ·7 · ·a n d w e h a v e a l ot of i nt er a cti o n, b ut n ot t h at I
 ·8 · ·s h e w a s t ol d t o d o t h at b y t h e Li e ut e n a nt G o v er n or,       ·8 · ·r e c all.
 ·9 · ·di d s h e ?                                                                      ·9 · · · ·Q · ·W ell, I'll g o t hr o u g h t h e m i n a mi n ut e,
 1 0 · · · ·A · ·N o, t h at' s m y s ur mi s e.                                         1 0 · ·b ut I' m j u st tr yi n g t o fi g ur e o ut h er e w h at t h e
 1 1 · · · ·Q · ·All ri g ht. · T h e Li e ut e n a nt G o v er n or di d n't            1 1 · ·s c o p e of y o ur k n o wl e d g e i s o n t hi s.
 1 2 · ·t ell y o u t h at t h at' s w h y S e n at or H uff m a n di d it,              1 2 · · · ·A · ·O k a y.
 1 3 · ·di d h e ?                                                                       1 3 · · · ·Q · ·S o y o u di d h a v e di s c u s si o n s wit h S e n at or
 1 4 · · · ·A · ·T h at i s m y s ur mi s e.                                             1 4 · ·H uff m a n, b ut a g ai n, y o u w o ul d o bj e ct t o t al ki n g
 1 5 · · · ·Q · ·A n d w h e n y o u s a y it' s y o ur s ur mi s e, y o u               1 5 · ·a b o ut t h o s e b a s e d o n l e gi sl ati v e pri vil e g e, ri g ht ?
 1 6 · ·di d n't a ct u all y s p e a k t o S e n at or H uff m a n a n d h e ar         1 6 · · · ·A · ·U m- h u m.
 1 7 · ·t h e w or d s I' m d oi n g t hi s b e c a u s e t h e Li e ut e n a nt         1 7 · · · ·Q · ·All ri g ht. · S o y o u cl ai m t h at S e n at or
 1 8 · ·G o v er n or t ol d m e t o ?                                                   1 8 · ·H uff m a n' s r e a s o n s f or pr et e xt u al. · I s t h er e a n y
 1 9 · · · ·A · ·N o.                                                                    1 9 · ·p u bli c i nf or m ati o n t h at y o u c a n p oi nt t o t h at
 2 0 · · · ·Q · ·S a m e i s tr u e of t h e Li e ut e n a nt G o v er n or,             2 0 · ·d e m o n str at e s t h at S e n at or H uff m a n dr e w S e n at e
 2 1 · ·ri g ht ?                                                                        2 1 · ·Di stri ct 3 1 b a s e d o n pr et e xt u al r e a s o n s ?
 2 2 · · · ·A · ·Tr u e.                                                                 2 2 · · · ·A · ·N o.
 2 3 · · · ·Q · ·Di d y o u h a v e a n y n o n p u bli c c o n v er s ati o n s         2 3 · · · ·Q · ·I s t h er e a n y i nf or m ati o n i n t h e p u bli c
 2 4 · ·wit h S e n at or H uff m a n a b o ut h o w t h e li n e s w er e dr a w n      2 4 · ·r e c or d t h at d e m o n str at e s t h at S e n at or H uff m a n dr e w
 2 5 · ·d uri n g t h e t hir d s p e ci al s e s si o n ?                               2 5 · ·S e n at e Di stri ct 3 1 f or u ntr u e r e a s o n s ?

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 ·1 · · · ·A · ·I d o n't q uit e u n d er st a n d w h at y o u m e a n b y             ·1 · ·t h at ri g ht ?
 ·2 · ·u ntr u e. · I t hi n k t h e y'r e s p e ci o u s.                               ·2 · · · ·A · ·Ri g ht.
 ·3 · · · ·Q · ·W ell, s o l et' s g o b a c k t o y o ur                                ·3 · · · ·Q · ·A n d t h e n wit hi n or a dj a c e nt t o S e n at e
 ·4 · ·d e cl ar ati o n, P ar a gr a p h 1 0. · Y o u s ai d, t h e 2 0 2 1             ·4 · ·Di stri ct 2 8 w e h a v e o n e, t w o, t hr e e, f o ur, fi v e,
 ·5 · ·s e n at e r e di stri cti n g pr o c e s s s a w u ntr u e                       ·5 · ·si x, s e v e n, ei g ht c o u nti e s t h at c o m pri s e S e n at e
 ·6 · ·e x pl a n ati o n s gi v e n f or w h y t h e li n e s w er e dr a w n a s       ·6 · ·Di stri ct 1 0; i s t h at ri g ht ?
 ·7 · ·t h e y w er e.· Di d I r e a d t h at c orr e ctl y ?                            ·7 · · · ·A · ·Y e s.
 ·8 · · · ·A · ·Y e s, y o u di d s o y e a h, I di d s a y u ntr u e.                   ·8 · · · ·Q · ·All ri g ht. · A n d, a g ai n, l o o ki n g at t hi s
 ·9 · · · ·Q · ·Y o u di d a n d s o t h at' s w h y I' m a s ki n g.                    ·9 · ·m a p, t h er e' s n o w a y t o l o o k at t hi s m a p a n d
 1 0 · · · ·A · ·O k a y.                                                                1 0 · ·d et er mi n e t h at u ntr u e r e a s o n s w er e gi v e n f or w h y
 1 1 · · · ·Q · ·Di d y o u fi n d -- c a n y o u p oi nt t o a n y                      1 1 · ·t hi s m a p w a s dr a w n t hi s w a y, ri g ht ?
 1 2 · ·p u bli c i nf or m ati o n or p u bli c st at e m e nt s t h at w o ul d        1 2 · · · ·A · ·N ot b y l o o ki n g at t h e m a p.
 1 3 · ·d e m o n str at e u ntr u e r e a s o n s w h y S e n at e Di stri ct 3 1       1 3 · · · ·Q · ·O k a y. · T h er e' s n o w a y t o l o o k at t hi s m a p
 1 4 · ·w a s dr a w n t h e w a y t h at it w a s dr a w n ?                            1 4 · ·a n d d et er mi n e t h at pr et e xt u al r e a s o n s w er e gi v e n
 1 5 · · · ·A · ·N o.                                                                    1 5 · ·f or w h y t h e m a p w a s dr a w n t hi s w a y; i s t h at ri g ht ?
 1 6 · · · ·Q · ·C a n y o u p oi nt t o a n yt hi n g i n t h e p u bli c               1 6 · · · ·A · ·N o.
 1 7 · ·r e c or d d e m o n str ati n g u ntr u e r e a s o n s f or w h y S e n at e   1 7 · · · · · · · (· E x hi bit N u m b er 3 m ar k e d.)
 1 8 · ·Di stri ct 1 0 w a s dr a w n t h e w a y t h at it w a s dr a w n ?             1 8 · · · ·Q · ·( B Y M R. H U D S O N)· I' m g oi n g t o h a n d y o u
 1 9 · · · ·A · ·N o.                                                                    1 9 · ·w h at I' m m ar ki n g a s D ef e n d a nt' s 3.
 2 0 · · · ·Q · ·C a n y o u p oi nt t o a n yt hi n g i n t h e p u bli c               2 0 · · · · · · · M· R. O PI E L A: · D o y o u h a v e a n e xtr a c o p y
 2 1 · ·r e c or d d e m o n str ati n g t h at pr et e xt u al e x pl a n ati o n s     2 1 · ·of t h at ? · If n ot, I c a n l o o k o v er hi s s h o ul d er.
 2 2 · ·w er e gi v e n f or w h y S e n at e Di stri ct 1 0 w a s dr a w n t h e        2 2 · · · ·Q · ·( B Y M R. H U D S O N)· H a v e y o u e v er s e e n
 2 3 · ·w a y t h at it w a s dr a w n ?                                                 2 3 · ·E x hi bit 3 b ef or e ?
 2 4 · · · ·A · ·A n yt hi n g i n t h e p u bli c r e c or d ?                          2 4 · · · ·A · ·N o.
 2 5 · · · ·Q · ·Y e s.                                                                  2 5 · · · ·Q · ·W ell, I'll r e pr e s e nt t o y o u t h at it' s a

                                                                          Page 23                                                                                Page 25
 ·1 · · · ·A · ·N o.                                                                     ·1 · ·c o p y of t h e S e n at e J o ur n al f or t h e f o urt h d a y,
 ·2 · · · · · · · (· E x hi bit N u m b er 2 m ar k e d.)                                ·2 · ·M o n d a y, O ct o b er 4t h, 2 0 2 1. · D o y o u h a v e a n y r e a s o n
 ·3 · · · ·Q · ·( B Y M R. H U D S O N)· I' m g oi n g t o s h o w y o u                 ·3 · ·t o di s p ut e t h at ?
 ·4 · ·w h at I' m m ar ki n g a s E x hi bit 2. · H a v e y o u e v er s e e n          ·4 · · · ·A · ·N ot at all.
 ·5 · ·t h at d o c u m e nt b ef or e ?                                                 ·5 · · · ·Q · ·I'll r e pr e s e nt t o y o u t h at t h at c a m e
 ·6 · · · ·A · ·I h a v e.                                                               ·6 · ·dir e ctl y fr o m t h e S e n at e J o ur n al s o if t h er e' s a n y
 ·7 · · · ·Q · ·W h at i s it ?                                                          ·7 · ·di s p ut e a b o ut t h at, y o u l et m e k n o w.
 ·8 · · · ·A · ·It' s t h e m a p u n d er S B 4.                                        ·8 · · · ·A · ·Ri g ht.
 ·9 · · · ·Q · ·O k a y. · I s t h at a tr u e a n d a c c ur at e c o p y of            ·9 · · · ·Q · ·If y o u'll fli p t o P a g e 6 2 f or m e.
 1 0 · ·t h e m a p t h at w a s a d o pt e d t hr o u g h t h e e nr oll e d a n d      1 0 · ·A ct u all y, g o b a c k t o t h e fir st p a g e r e al q ui c k.
 1 1 · ·si g n e d S B 4 ?                                                               1 1 · · · ·A · ·O k a y.
 1 2 · · · ·A · ·I b eli e v e it i s.· I'll h a v e t o tr u st y o u                   1 2 · · · ·Q · ·D o y o u s e e t h er e at t h e b ott o m it s a y s,
 1 3 · ·o n t hi s.                                                                      1 3 · ·C o m mitt e e S u b stit ut e S e n at e Bill 4 o n T hir d
 1 4 · · · ·Q · ·O k a y. · Y o u d o n't h a v e a n y r e a s o n t o                  1 4 · ·R e a di n g ?
 1 5 · ·di s p ut e t h at t hi s i s a fi n al c o p y ?                                1 5 · · · ·A · ·Y e s.
 1 6 · · · ·A · ·N o.                                                                    1 6 · · · ·Q · ·C a n y o u e x pl ai n t o t h e j u d g e w h at t h at
 1 7 · · · ·Q · ·O k a y. · N o w, y o u s e e u p t h er e i n t h e t o p              1 7 · ·m e a n s ?
 1 8 · ·l eft- h a n d c or n er of t h e St at e of T e x a s t h at S e n at e         1 8 · · · ·A · ·E a c h bill m u st b e r e a d t hr e e ti m e s, o n c e
 1 9 · ·Di stri ct 3 1; i s t h at c orr e ct ?                                          1 9 · ·w h e n it' s r e a d a n d s u b mitt e d t o c o m mitt e e a n d t h e n
 2 0 · · · ·A · ·Y e s.                                                                  2 0 · ·o n c e w h e n it' s s u b mitt e d f or p a s s a g e o n t h e s e n at e
 2 1 · · · ·Q · ·All ri g ht. · A n d t h at i s t h e di stri ct t h at                 2 1 · ·a n d t h e n it m u st b e p a s s e d a t hir d ti m e g e n er all y
 2 2 · ·y o u'r e c urr e ntl y r e pr e s e nti n g i n t h e T e x a s S e n at e ?    2 2 · ·aft er a d a y.
 2 3 · · · ·A · ·C orr e ct.                                                             2 3 · · · ·Q · ·S o t hi s r e pr e s e nt s t h e t hir d a n d fi n al
 2 4 · · · ·Q · ·A n d t h e n t o t h e ri g ht of t h at i s a gr a y                  2 4 · ·p a s s a g e o ut of t h e s e n at e ?
 2 5 · ·ar e a t h at' s d e m ar c at e d a s S e n at e Di stri ct 2 8; i s            2 5 · · · ·A · ·It d o e s.

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 ·1 · · · ·Q · ·If y o u'll fli p o v er t o P a g e 6 2 ?                              ·1 · ·i n t h e f oll o wi n g or d er:· A bi di n g b y all a p pli c a bl e
 ·2 · · · ·A · ·O k a y.                                                                ·2 · ·l a w, e q u ali zi n g p o p ul ati o n a cr o s s di stri ct s,
 ·3 · · · ·Q · ·It s a y s at t h e t o p, t h e bill w a s r e a d                     ·3 · ·pr e s er vi n g p oliti c al s u b di vi si o n s a n d c o m m u niti e s
 ·4 · ·t hir d ti m e a n d w a s fi n all y p a s s e d b y t h e f oll o wi n g       ·4 · ·of i nt er e st w h er e v er p o s si bl e, pr e s er vi n g t h e c or e s
 ·5 · ·v ot e: · Y e a s 2 0, N a y s 1 1. · Di d I r e a d t h at                      ·5 · ·of pr e vi o u s di stri ct s t o t h e e xt e nt p o s si bl e,
 ·6 · ·c orr e ctl y ?                                                                  ·6 · ·a v oi di n g p airi n g i n c u m b e nt m e m b er s, a c hi e vi n g
 ·7 · · · ·A · ·Y e s.                                                                  ·7 · ·g e o gr a p hi c c o m p a ct n e s s w h e n p o s si bl e, a n d
 ·8 · · · ·Q · ·Y o u w er e a m o n g t h e n a y s; i s t h at c orr e ct ?           ·8 · ·a c c o m m o d ati n g i n c u m b e nt pri oriti e s w h e n p o s si bl e.
 ·9 · · · ·A · ·Ri g ht.                                                                ·9 · ·Di d I r e a d t h at c orr e ctl y ?
 1 0 · · · ·Q · ·N o w, s o m e of y o ur c oll e a g u e s s u b mitt e d a            1 0 · · · ·A · ·Y e s.
 1 1 · ·r e a s o n f or v ot e; i s t h at ri g ht ?                                   1 1 · · · ·Q · ·All ri g ht. · A n d y o u w o ul d a gr e e t h at all
 1 2 · · · ·A · ·Y e s.                                                                 1 2 · ·of t h o s e r e a s o n s w er e gi v e n i n s u p p ort of p a s s a g e
 1 3 · · · ·Q · ·C o ul d y o u e x pl ai n t o t h e j u d g e w h at a                1 3 · ·of S B 4, ri g ht ?
 1 4 · ·r e a s o n f or v ot e i s i n s e n at e n o m e n cl at ur e ?               1 4 · · · ·A · ·Y e s.
 1 5 · · · ·A · ·O n a n y v ot e a n y m e m b er m a y s u b mit c o m m e nt s       1 5 · · · ·Q · ·A n d, a g ai n, t o g o t hr o u g h t h e m, y o u a gr e e
 1 6 · ·o n w h y t h e y v ot e d f or or a g ai n st a bill. · It' s n ot             1 6 · ·t h at t h e R e p u bli c a n m e m b er s off er e d a s a r e a s o n f or
 1 7 · ·p art of t h e d e b at e a n d e v er y o n e h a s t h at pri vil e g e.      1 7 · ·p a s si n g S B 4 a bi di n g b y all a p pli c a bl e l a w, ri g ht ?
 1 8 · · · ·Q · ·N o w, t h er e o n P a g e 6 2 w e s e e t h at r e a s o n           1 8 · · · ·A · ·Y e s.
 1 9 · ·f or v ot e w a s off er e d b y S e n at or E c k h ar dt; i s t h at          1 9 · · · ·Q · ·A n d t h e y off er e d e q u ali zi n g p o p ul ati o n
 2 0 · ·ri g ht ?                                                                       2 0 · ·a cr o s s di stri ct s, ri g ht ?
 2 1 · · · ·A · ·Y e s.                                                                 2 1 · · · ·A · ·Y e s.
 2 2 · · · ·Q · ·A n d if w e g o t o P a g e 6 3, t h e s e c o n d f ull              2 2 · · · ·Q · ·A n d t h e y off er e d pr e s er vi n g p oliti c al
 2 3 · ·p ar a gr a p h t h at st art s t h e a ut h or, d o y o u s e e t h at ?       2 3 · ·s u b di vi si o n s, ri g ht ?
 2 4 · · · ·A · ·Y e s.                                                                 2 4 · · · ·A · ·It s a y s t h at.· I d o n't b eli e v e it.
 2 5 · · · ·Q · ·R e a d s, t h e a ut h or of C S S B 4 ( Pl a n 2 1 3 0)              2 5 · · · ·Q · ·A n d t h e y off er e d pr e s er vi n g c o m m u niti e s of

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 ·1 · ·h a s cl ai m e d c ol or bli n d n e s s t o r a c e; i s t h at ri g ht ?      ·1 · ·i nt er e st w h er e v er p o s si bl e, ri g ht ?
 ·2 · · · ·A · ·Y e s.                                                                  ·2 · · · ·A · ·It s a y s t h at.· I d o n't b eli e v e it.
 ·3 · · · ·Q · ·S o t h e a ut h or s of S B 4 cl ai m t h at t h e y w er e            ·3 · · · ·Q · ·A n d t h e y off er e d pr e s er vi n g t h e c or e s of
 ·4 · ·c ol or bli n d i n dr a wi n g t h e m a p li n e s; i s t h at                 ·4 · ·pr e vi o u s di stri ct s, ri g ht ?
 ·5 · ·ri g ht ?                                                                        ·5 · · · ·A · ·It s a y s t h at.· I d o n't b eli e v e it.
 ·6 · · · ·A · ·Y e s.                                                                  ·6 · · · ·Q · ·A n d t h e y off er e d t o t h e e xt e nt p o s si bl e
 ·7 · · · ·Q · ·A n d t h er e' s n ot hi n g i n t h e p u bli c r e c or d            ·7 · ·a v oi di n g p airi n g i n c u m b e nt m e m b er s, ri g ht ?
 ·8 · ·t o y o ur k n o wl e d g e t h at d e m o n str at e s a n yt hi n g b ut       ·8 · · · ·A · ·I b eli e v e t h at' s tr u e.
 ·9 · ·c ol or bli n d n e s s, ri g ht ?                                               ·9 · · · ·Q · ·A n d t h e y off er e d a c hi e vi n g g e o gr a p hi c
 1 0 · · · ·A · ·C orr e ct.                                                            1 0 · ·c o m p a ct n e s s w h e n p o s si bl e, ri g ht ?
 1 1 · · · ·Q · ·I n f a ct, y o u'r e n ot h er e t o t e stif y t o d a y             1 1 · · · ·A · ·It s a y s t h at.· I d o n't b eli e v e it.
 1 2 · ·a b o ut a n y p u bli c r e c or d of i nt e nti o n al                        1 2 · · · ·Q · ·A n d t h e y off er e d a c c o m m o d ati n g i n c u m b e nt
 1 3 · ·di s cri mi n ati o n i n t h e m a p dr a wi n g, ri g ht ?                    1 3 · ·p arti e s w h e n p o s si bl e, ri g ht ?
 1 4 · · · ·A · ·N o.                                                                   1 4 · · · ·A · ·It s a y s t h at a n d t h e y di d n ot.
 1 5 · · · ·Q · ·N o w, y o u di d n ot si g n o n t o S e n at or                      1 5 · · · ·Q · ·N o w, y o u i d e ntifi e d f o ur of t h e s e t h at y o u
 1 6 · ·E c k h ar dt' s r e a s o n f or v ot e; i s t h at ri g ht ?                  1 6 · ·d o n't b eli e v e, b ut, a g ai n, y o u c a n't p oi nt t o
 1 7 · · · ·A · ·C orr e ct.                                                            1 7 · ·a n yt hi n g i n t h e p u bli c r e c or d s u g g e sti n g t h at t h e s e
 1 8 · · · ·Q · ·If w e fli p o v er t o P a g e 6 4, t h e t hir d f ull               1 8 · ·r e a s o n s w er e u ntr u e, ri g ht ?
 1 9 · ·s e nt e n c e st art s s p e cifi c all y, d o y o u s e e t h at ?            1 9 · · · ·A · ·N o.
 2 0 · · · ·A · ·T h e t hir d f ull, 6 0- w h at n o w ?                               2 0 · · · ·Q · ·A n d y o u c a n't p oi nt t o a n yt hi n g i n t h e
 2 1 · · · ·Q · ·W e'r e o n P a g e 6 4, t h e t hir d f ull s e nt e n c e.           2 1 · ·p u bli c r e c or d s u g g e sti n g t h at t h e s e r e a s o n s w er e
 2 2 · · · ·A · ·O k a y. · I a p ol o gi z e.· W h er e it s a y s                     2 2 · ·pr et e xt ur al, ri g ht ?
 2 3 · ·s p e cifi c all y, o k a y.                                                    2 3 · · · ·A · ·N o.
 2 4 · · · ·Q · ·N o w, S e n at or E c k h ar dt s a y s, s p e cifi c all y           2 4 · · · ·Q · ·N o w, y o u al s o k n e w t h at p arti s a n s hi p w a s a
 2 5 · ·C S S B 4' s a ut h or li st e d t h eir g o al s a n d pri oriti e s           2 5 · ·f a ct or dri vi n g t h e n e w s e n at e m a p, ri g ht ?

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 ·1 · · · ·A · ·A b s ol ut el y.                                                       ·1 · ·a n y of t h e m e m b er s w h o g a v e a r e a s o n f or v ot e i n
 ·2 · · · ·Q · ·W h at r ol e di d p arti s a n s hi p pl a y i n dri vi n g            ·2 · ·v oti n g a g ai n st S B 4, ri g ht ?
 ·3 · ·-- w ell, I'll a v oi d st e p pi n g o n l e gi sl ati v e                      ·3 · · · · · · · M· R. D U N N: · O bj e ct t o f or m. · Y o u c a n
 ·4 · ·pri vil e g e, s o l et m e r e p hr a s e.                                      ·4 · ·a n s w er.
 ·5 · · · ·A · ·Pl e a s e d o. · S o m e o n e i s ki c ki n g m e u n d er            ·5 · · · ·A · ·I di d n ot.
 ·6 · ·t h e t a bl e.                                                                  ·6 · · · ·Q · ·( B Y M R. H U D S O N)· Y o u w er e n't o n t h e
 ·7 · · · ·Q · ·All ri g ht. · L et' s g o t o t h e b ott o m of P a g e               ·7 · ·r e di stri cti n g c o m mitt e e f or t h e 2 0 2 1 s e s si o n,
 ·8 · ·6 4.                                                                             ·8 · ·ri g ht ?
 ·9 · · · ·A · ·O k a y.                                                                ·9 · · · ·A · ·C orr e ct.
 1 0 · · · ·Q · ·D o y o u s e e at t h e b ott o m it s a y s r e a s o n              1 0 · · · ·Q · ·A n d w h e n I r ef er t o t h e 2 0 2 1 s e s si o n, y o u
 1 1 · ·f or v ot e.· T hi s i s f or S e n at or J o h n s o n ?                       1 1 · ·u n d er st a n d I' m r ef erri n g t o t h e 8 7t h L e gi sl at ur e ?
 1 2 · · · ·A · ·Y e s.                                                                 1 2 · · · ·A · ·Y e s.
 1 3 · · · ·Q · ·N o w, o n t h e n e xt p a g e it r e a d s, t h e                    1 3 · · · ·Q · ·S o I' m n ot tr yi n g t o b e p e d a nti c, I j u st
 1 4 · ·pr o p o s e d m a p s u n d er C S S B 4 w hi c h i s S B 4 d o e x a ctl y    1 4 · ·w a nt t o m a k e s ur e t h at t h e j u d g e s u n d er st a n d w e'r e
 1 5 · ·w h at t h e y w er e e x p e ct e d t o d o; t h e y m a k e di stri ct s      1 5 · ·t al ki n g a b o ut t h e s a m e t hi n g ?
 1 6 · ·m or e p arti s a n, a n d -- if n ot i n v ali d at e d b y a c o urt          1 6 · · · ·A · ·W e c a n b e s p e cifi c t h at it w a s t h e t hir d
 1 7 · ·c h all e n g e - t h e y eff e cti v el y eli mi n at e a D e m o cr ati c     1 7 · ·s p e ci al s e s si o n.
 1 8 · ·s e at. · Di d I r e a d t h at c orr e ctl y ?                                 1 8 · · · ·Q · ·O k a y. · S o S e n at or J o a n H uff m a n w a s t h e
 1 9 · · · ·A · ·Y e s.                                                                 1 9 · ·c h air i n t h e t hir d c all e d s e s si o n of t h e
 2 0 · · · ·Q · ·N o w, o n e of t h e g o al s of R e p u bli c a n                    2 0 · ·r e di stri cti n g c o m mitt e e ?
 2 1 · ·m e m b er s w a s t o b e n efit R e p u bli c a n s, ri g ht ?                2 1 · · · ·A · ·Y e s.
 2 2 · · · ·A · ·C orr e ct.                                                            2 2 · · · ·Q · ·A n d J u a n C h u y Hi n oj o s a w a s t h e vi c e c h air,
 2 3 · · · ·Q · ·All ri g ht. · S o l o si n g a D e m o cr ati c s e at i s            2 3 · ·ri g ht ?
 2 4 · ·t h e r e s ult of p arti s a n s hi p i n t h e m a p, ri g ht ?               2 4 · · · ·A · ·Y e s.
 2 5 · · · ·A · ·Tr u e.                                                                2 5 · · · ·Q · ·All ri g ht. · Di d y o u h a v e a n y p u bli c

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 ·1 · · · ·Q · ·If y o u g o d o w n t h at p a g e o n 6 5, it h a s                   ·1 · ·c o n v er s ati o n s wit h S e n at or Hi n oj o s a a b o ut t h e
 ·2 · ·r e a s o n f or v ot e a n d t h at i n cl u d e s S e n at or Al v ar a d o,   ·2 · ·r e a s o n s w h y S B 4 w a s dr a w n t h e w a y it w a s ?
 ·3 · ·Bl a n c o, E c k h ar dt, G uti err e z, Hi n oj o s a, J o h n s o n,          ·3 · · · ·A · ·N ot t h at I r e c all, n o.
 ·4 · ·L u ci o, M e n e n d e z, Mil e s, P o w ell, W e st, W hit mir e, a n d        ·4 · · · ·Q · ·S a m e q u e sti o n b ut f or C ar ol Al v ar a d o ?
 ·5 · ·Z affiri ni; i s t h at ri g ht ?                                                ·5 · · · ·A · ·N ot t h at I r e c all, n o.
 ·6 · · · ·A · ·C orr e ct.                                                             ·6 · · · ·Q · ·S a m e q u e sti o n b ut f or P a ul B ett e n c o urt ?
 ·7 · · · ·Q · ·N o w, I'll r e pr e s e nt t o y o u t h at I di d n't                 ·7 · · · ·A · ·N o.
 ·8 · ·s e e a n y ot h er r e a s o n f or v ot e i n t h e S e n at e J o ur n al     ·8 · · · ·Q · ·Di d y o u h a v e a n y p u bli c c o n v er s ati o n s wit h
 ·9 · ·t h at n a m e d y o u a s gi vi n g a r e a s o n f or v ot e o n S B ?         ·9 · ·Bri a n Bir d w ell t h at di s c u s s e d t h e r e a s o n s w h y S B 4
 1 0 · · · ·A · ·C orr e ct.                                                            1 0 · ·w a s dr a w n t h e w a y it w a s ?
 1 1 · · · ·Q · ·All ri g ht. · S o y o u di d n't j oi n i n a n y of                  1 1 · · · ·A · ·N o.
 1 2 · ·t h e r e a s o n s gi v e n b y a n y of t h e D e m o cr ati c m e m b er s   1 2 · · · ·Q · ·W h at a b o ut wit h D o n n a C a m p b ell ?
 1 3 · ·f or v oti n g a g ai n st S B 4, ri g ht ?                                     1 3 · · · ·A · ·N o.
 1 4 · · · ·A · ·I di d n ot.                                                           1 4 · · · ·Q · ·Di d y o u h a v e a n y wit h K ell y H a n c o c k ?
 1 5 · · · ·Q · ·S o y o u di s a gr e e wit h t h e m w h e n, f or                    1 5 · · · ·A · ·N o.
 1 6 · ·i n st a n c e, t h e y r ef er t o i nt e nti o n al di s cri mi n ati o n     1 6 · · · ·Q · ·Di d y o u h a v e a n y c o n v er s ati o n s wit h Br y a n
 1 7 · ·a s a b a si s f or dr a wi n g S B 4, ri g ht ?                                1 7 · ·H u g h e s a b o ut w h y S B 4 w a s dr a w n t h e w a y it w a s ?
 1 8 · · · ·A · ·I d o n't n e c e s s aril y di s a gr e e at all.· If                 1 8 · · · ·A · ·N o.
 1 9 · ·y o u'll a s k t h e q u e sti o n a g ai n.                                    1 9 · · · ·Q · ·W h at a b o ut wit h E d di e L u ci o, J u ni or ?
 2 0 · · · ·Q · ·Di d y o u n ot u n d er st a n d t h e q u e sti o n ?                2 0 · · · ·A · ·N o.
 2 1 · · · ·A · ·W ell, I t h o u g ht I di d, b ut n o w w e' v e g o n e              2 1 · · · ·Q · ·W h at a b o ut R o b ert Ni c h ol s ?
 2 2 · ·s o l o n g I' m n ot s ur e.                                                   2 2 · · · ·A · ·N o.
 2 3 · · · ·Q · ·L et m e a s k it li k e t hi s.                                       2 3 · · · ·Q · ·S a m e q u e sti o n b ut A n g el a P a xt o n ?
 2 4 · · · ·A · ·O k a y.                                                               2 4 · · · ·A · ·N o.
 2 5 · · · ·Q · ·Y o u di d n't j oi n i n a n y r e a s o n f or v ot e f or           2 5 · · · ·Q · ·Di d y o u h a v e a n y c o n v er s ati o n s wit h

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 ·1 · ·C h arl e s P err y a b o ut w h y S B 4 w a s dr a w n t h e w a y it          ·1 · · · ·Q · ·I' m g oi n g t o h a n d y o u w h at I' m g oi n g t o
 ·2 · ·w a s dr a w n ?                                                                ·2 · ·m ar k a s E x hi bit D ef e n d a nt' s 4.
 ·3 · · · · · · · M· R. O PI E L A: · O bj e cti o n, f or m. · Y o u                  ·3 · · · · · · · (· E x hi bit N u m b er 4 m ar k e d.)
 ·4 · ·w er e a s ki n g -- I t hi n k it' s p ot e nti all y c o nf u si n g.         ·4 · · · ·Q · ·( B Y M R. H U D S O N)· H a v e y o u e v er s e e n t h at
 ·5 · ·C a n y o u r e st at e it ?                                                    ·5 · ·d o c u m e nt b ef or e ?
 ·6 · · · ·Q · ·( B Y M R. H U D S O N)· S ur e. · Di d y o u h a v e a n y            ·6 · · · ·A · ·N o.
 ·7 · ·p u bli c c o n v er s ati o n s wit h A n g el a P a xt o n a b o ut w h y     ·7 · · · ·Q · ·W ell, I'll r e pr e s e nt t o y o u if y o u t a k e a
 ·8 · ·S B 4 w a s dr a w n t h e w a y it w a s dr a w n ?                            ·8 · ·l o o k i n t h e b ott o m ri g ht- h a n d c or n er of E x hi bit 4
 ·9 · · · ·A · ·W o ul d y o u d efi n e p u bli c c o n v er s ati o n s ?            ·9 · ·t h at I' v e j u st h a n d e d y o u, ar e y o u f a mili ar wit h
 1 0 · · · ·Q · ·A n yt hi n g o n t h e p u bli c r e c or d.                         1 0 · ·t h at littl e c a pit al i n si d e t h e cir cl e ?
 1 1 · · · ·A · ·N o.                                                                  1 1 · · · ·A · ·I' v e s e e n it b ef or e, y e s.
 1 2 · · · ·Q · ·Di d y o u h a v e a n y p u bli c c o n v er s ati o n s wit h       1 2 · · · ·Q · ·O k a y. · W ell, I'll r e pr e s e nt t o y o u t h at
 1 3 · ·C h arl e s P err y a b o ut w h y S B 4 w a s dr a w n t h e w a y it         1 3 · ·t h at' s t h e T e x a s L e gi sl ati v e C o u n cil' s s y m b ol
 1 4 · ·w a s dr a w n ?                                                               1 4 · ·m ar k e d o n t h e b ott o m ri g ht- h a n d c or n er. · D o y o u
 1 5 · · · ·A · ·N o.                                                                  1 5 · ·h a v e a n y r e a s o n t o di s p ut e t h at ?
 1 6 · · · ·Q · ·S a m e q u e sti o n b ut f or R o y c e W e st ?                    1 6 · · · ·A · ·N o.
 1 7 · · · ·A · ·N o.                                                                  1 7 · · · ·Q · ·I'll al s o r e pr e s e nt t o y o u t h at I p ull e d
 1 8 · · · ·Q · ·S a m e q u e sti o n b ut f or J o h n W hit mir e ?                 1 8 · ·t hi s fr o m t h e T e x a s L e gi sl ati v e C o u n cil' s w e b sit e.
 1 9 · · · ·A · ·N o.                                                                  1 9 · ·It c o n c er n s r e di stri cti n g d at e s of i nt er e st.· D o
 2 0 · · · ·Q · ·Fi n all y wit h J u dit h Z affiri ni, di d y o u                    2 0 · ·y o u s e e t h at h er e ?
 2 1 · ·h a v e a n y p u bli c c o n v er s ati o n s c o n c er ni n g w h y S B 4   2 1 · · · ·A · ·I d o.
 2 2 · ·w a s dr a w n t h e w a y it w a s dr a w n ?                                 2 2 · · · ·Q · ·N o w, I u n d er st a n d t h at y o u' v e w or k e d a s a
 2 3 · · · ·A · ·N o.                                                                  2 3 · ·c o m mitt e e m e m b er f or r e di stri cti n g i n t h e p a st; i s
 2 4 · · · ·Q · ·I n f a ct, a n y c o n v er s ati o n s y o u h a d w o ul d         2 4 · ·t h at ri g ht ?
 2 5 · ·b e s u bj e ct t o l e gi sl ati v e pri vil e g e; w o ul d y o u            2 5 · · · ·A · ·I w a s a c o m mitt e e m e m b er a n d c h air.

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 ·1 · ·a gr e e ?                                                                      ·1 · · · ·Q · ·S o t a k e a l o o k at t h e s e d at e s. · D o y o u
 ·2 · · · ·A · ·I w o ul d, y e s.                                                     ·2 · ·h a v e a n y r e a s o n t o di s a gr e e t h at t hi s w o ul d h a v e
 ·3 · · · ·Q · ·Di d y o u h a v e a n y -- d o y o u k n o w w h o                    ·3 · ·b e e n t h e n or m al c o ur s e h a d t h e s e c e n s u s d at a c o m e
 ·4 · ·S e n at or H uff m a n' s st aff w a s ?                                       ·4 · ·i n ti m el y t o t h e T e x a s L e gi sl at ur e ?
 ·5 · · · ·A · ·Y e s, S e a n O p p er m a n w a s t h e c o m mitt e e               ·5 · · · ·A · ·Y e s, I b eli e v e it i s.
 ·6 · ·dir e ct or.                                                                    ·6 · · · ·Q · ·B eli e v e it i s w h at ?
 ·7 · · · ·Q · ·All ri g ht. · Ar e y o u f a mili ar wit h a p er s o n               ·7 · · · ·A · ·I b eli e v e it i s t h e m a p t h at a n y n or m al
 ·8 · ·b y t h e n a m e of A n n a M a c ki n ?                                       ·8 · ·s e s si o n wit h n or m al r e p ort b y t h e C e n s u s B ur e a u,
 ·9 · · · ·A · ·I mi g ht h a v e m et h er a s a m e m b er of st aff,                ·9 · ·t hi s w o ul d b e i n t h e s c h e d ul e.
 1 0 · ·b ut I d o n't r e c all.                                                      1 0 · · · ·Q · ·I n f a ct, h a vi n g b e e n a f or m er c h air a n d a
 1 1 · · · ·Q · ·O k a y. · A s y o u sit h er e ri g ht n o w, y o u                  1 1 · ·m e m b er of t h e r e di stri cti n g c o m mitt e e, y o u'r e a w ar e
 1 2 · ·d o n't r e c all h a vi n g a n y s p e cifi c c o n v er s ati o n s wit h   1 2 · ·t h at t h e U. S. C e n s u s B ur e a u h a d a n o bli g ati o n t o
 1 3 · ·A n n a M a c ki n a b o ut r e di stri cti n g ?                              1 3 · ·p u bli s h r e di stri cti n g d at a n o l at er t h a n A pril 1 of
 1 4 · · · ·A · ·N o.                                                                  1 4 · ·2 0 2 1, ri g ht ?
 1 5 · · · ·Q · ·S a m e q u e sti o n b ut f or S e a n O p p er m a n ?              1 5 · · · ·A · ·T h at i s m y u n d er st a n di n g.
 1 6 · · · ·A · ·Y e s.                                                                1 6 · · · ·Q · ·I n f a ct, t h at di d n't h a p p e n i n 2 0 2 1; i s
 1 7 · · · ·Q · ·A n d y e s, y o u d o r e c all or n o, y o u d o n't                1 7 · ·t h at ri g ht ?
 1 8 · ·r e c all ?                                                                    1 8 · · · ·A · ·C orr e ct.
 1 9 · · · ·A · ·Y e s, I d o r e c all.                                               1 9 · · · ·Q · ·N o w, y o u'r e a w ar e t h at i n p a st
 2 0 · · · ·Q · ·O k a y. · W er e y o u p er s o n all y i n v ol v e d i n a n y     2 0 · ·r e di stri cti n g c y cl e s a n d c e n s u s d at a w a s r el e a s e d
 2 1 · ·of t h e m a p dr a wi n g wit h S e n at or H uff m a n ?                     2 1 · ·i n ti m e f or t h e T e x a s L e gi sl at ur e t o t a k e t h e
 2 2 · · · ·A · ·E arl y o n I s u b mitt e d a m a p.                                 2 2 · ·m att er d uri n g t h e r e g ul ar s e s si o n, ri g ht ?
 2 3 · · · ·Q · ·All ri g ht. · L et' s -- y o u c a n g o a h e a d a n d             2 3 · · · ·A · ·Y e s.
 2 4 · ·p ut t h at d o w n f or a s e c o n d.                                        2 4 · · · ·Q · ·A n d y o u'r e al s o a w ar e t h at t h e U. S. C e n s u s
 2 5 · · · ·A · ·O k a y.                                                              2 5 · ·d at a h a d b e e n p u bli s h e d o n ti m e i n ' 2 1, t h e T e x a s

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 ·1 · ·L e gi sl at ur e w o ul d h a v e b e e n a bl e t o a d dr e s s                ·1 · · · ·Q · ·A n d a s p e ci al s e s si o n o nl y c o n v e n e s f or 3 0
 ·2 · ·r e di stri cti n g b ef or e t h e 8 7t h r e g ul ar s e s si o n               ·2 · ·d a y s; i s t h at ri g ht ?
 ·3 · ·a dj o ur n e d, ri g ht ?                                                        ·3 · · · ·A · ·Y e s.
 ·4 · · · ·A · ·Y e s.                                                                   ·4 · · · ·Q · ·N o w, 3 0 d a y s i s if it w a s s h ort er t h a n a
 ·5 · · · · · · · M· R. H U D S O N: · A n d m y a p ol o gi e s t o t h e               ·5 · ·r e g ul ar l e gi sl ati v e s e s si o n; i s t h at ri g ht ?
 ·6 · ·r e p ort er.· I'll s e e if I c a n't sl o w d o w n.· T al ki n g               ·6 · · · ·A · ·Y e s.
 ·7 · ·f a st s e e m s t o b e a b a d h a bit of mi n e.                               ·7 · · · ·Q · ·H o w m u c h s h ort er ?
 ·8 · · · ·Q · ·( B Y M R. H U D S O N)· Y o u' d al s o a gr e e t h at t h e           ·8 · · · ·A · ·R e g ul ar s e s si o n i s 1 4 0 d a y s, s p e ci al
 ·9 · ·U. S. C e n s u s B ur e a u di d n ot r el e a s e t h e c e n s u s d at a      ·9 · ·s e s si o n i s 3 0 d a y s, c a n b e c all e d o nl y w h e n a
 1 0 · ·o n ti m e i n 2 0 2 1, ri g ht ?                                                1 0 · ·l e gi sl at ur e i s n ot i n a r e g ul ar s e s si o n.· T h e
 1 1 · · · ·A · ·Y e s.                                                                  1 1 · ·G o v er n or c a n c all a s m a n y s p e ci al s e s si o n s a s h e
 1 2 · · · ·Q · ·A n d t h e c e n s u s d at a w a s i n st e a d d el a y e d          1 2 · ·w o ul d li k e.
 1 3 · ·d u e t o t h e C O VI D- 1 9 p a n d e mi c, ri g ht ?                          1 3 · · · ·Q · ·O k a y. · D o y o u mi n d if I t a k e a s h ort
 1 4 · · · ·A · ·T h at' s w h at t h e y t ol d u s.                                    1 4 · ·br e a k ?
 1 5 · · · ·Q · ·B a s e d o n e v er yt hi n g y o u k n o w, i s t h e o nl y          1 5 · · · ·A · ·T h at' s fi n e.
 1 6 · ·r e a s o n t h at y o u'r e a w ar e of w h y t h e c e n s u s d at a w a s    1 6 · · · · · · · T· H E VI D E O G R A P H E R: · W e ar e off t h e
 1 7 · ·n ot pr o vi d e d o n ti m e t h e C O VI D- 1 9 p a n d e mi c ?               1 7 · ·r e c or d.· T h e ti m e i s 9: 5 5 a. m.
 1 8 · · · · · · · M· R. O PI E L A: · O bj e cti o n, f or m.                           1 8 · · · · · · · (· Off t h e r e c or d.)
 1 9 · · · ·Q · ·( B Y M R. H U D S O N)· O k a y. · L et m e s e e if I                 1 9 · · · · · · · T· H E VI D E O G R A P H E R: · W e ar e b a c k o n t h e
 2 0 · ·c a n a s k it li k e t hi s.                                                    2 0 · ·r e c or d.· T h e ti m e i s 1 0: 0 4 a. m.
 2 1 · · · ·A · ·O k a y.                                                                2 1 · · · ·Q · ·( B Y M R. H U D S O N)· I' m g oi n g t o h a n d y o u
 2 2 · · · ·Q · ·Y o u d o n't h a v e a n y r e a s o n t o di s p ut e t h e           2 2 · ·w h at I' m g oi n g t o m ar k a s D ef e n d a nt' s 5.
 2 3 · ·C e n s u s B ur e a u' s st at e m e nt t h at t h e c e n s u s d at a w a s   2 3 · · · · · · · (· E x hi bit N u m b er 5 m ar k e d.)
 2 4 · ·d el a y e d d u e t o t h e C O VI D- 1 9 p a n d e mi c ?                      2 4 · · · ·Q · ·( B Y M R. H U D S O N)· H a v e y o u e v er s e e n
 2 5 · · · ·A · ·N o.                                                                    2 5 · ·E x hi bit 5 b ef or e ?

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 ·1 · · · ·Q · ·All ri g ht. · T h e C e n s u s B ur e a u di d n ot                    ·1 · · · ·A · ·Y e s.
 ·2 · ·r el e a s e pr eli mi n ar y d at a u ntil A u g u st 1 2t h, 2 0 2 1;           ·2 · · · ·Q · ·W h at i s E x hi bit 5 ?
 ·3 · ·i s t h at ri g ht ?                                                              ·3 · · · ·A · ·It' s a t e xt of -- I g u e s s it w a s a t e xt or
 ·4 · · · ·A · ·T h at i s m y u n d er st a n di n g.                                   ·4 · ·a n e m ail s e nt t o m e b y S e n at or P o w ell.
 ·5 · · · ·Q · ·A n d, i n f a ct, t h e C e n s u s B ur e a u di d n ot                ·5 · · · ·Q · ·A n d t h er e i n t h e mi d dl e of t h e p a g e it
 ·6 · ·d eli v er t h e f ull r e di stri cti n g t o ol kit u ntil                      ·6 · ·s a y s fr o m B e v erl y P o w ell; i s t h at ri g ht ?
 ·7 · ·S e pt e m b er 1 6 of ' 2 1; i s t h at ri g ht ?                                ·7 · · · ·A · ·Y e s.
 ·8 · · · ·A · ·O n c e a g ai n, t h at' s m y u n d er st a n di n g.                  ·8 · · · ·Q · ·A n d t h e d at e w a s N o v e m b er 1 6t h, 2 0 2 1; i s
 ·9 · · · ·Q · ·T h at' s r o u g hl y a fi v e- m o nt h d el a y fr o m                ·9 · ·t h at ri g ht ?
 1 0 · ·w h at' s s et o ut i n t h e di stri cti n g d at e s of i nt er e st           1 0 · · · ·A · ·Y e s.
 1 1 · ·i n E x hi bit 4; i s t h at ri g ht ?                                           1 1 · · · ·Q · ·A n d it s a y s t o K el S eli g er @i Cl o u d. c o m; i s
 1 2 · · · ·A · ·Ri g ht.                                                                1 2 · ·t h at ri g ht ?
 1 3 · · · ·Q · ·A n d f or t hi s r e a s o n t h e l e gi sl at ur e di d              1 3 · · · ·A · ·Y e s.
 1 4 · ·n ot h a v e t h e o p p ort u nit y t o c o n d u ct r e di stri cti n g        1 4 · · · ·Q · ·A n d t h e s u bj e ct i s f oll o w u p, ri g ht ?
 1 5 · ·d uri n g t h e r e g ul ar s e s si o n; i s t h at ri g ht ?                   1 5 · · · ·A · ·Y e s.
 1 6 · · · ·A · ·T h at i s c orr e ct.                                                  1 6 · · · ·Q · ·It s a y s, K el, t h a n k y o u f or vi siti n g wit h
 1 7 · · · ·Q · ·A n d t h e g o v er n or i n st e a d c all e d a s p e ci al          1 7 · ·m e y e st er d a y. · Att a c h e d i s a dr aft d o c u m e nt.
 1 8 · ·s e s si o n, ri g ht ?                                                          1 8 · ·L o o ki n g f or w ar d t o s e ei n g y o u t o m orr o w e v e ni n g i n
 1 9 · · · ·A · ·Y e s.                                                                  1 9 · ·W a c o.
 2 0 · · · ·Q · ·I n f a ct, h e c all e d t hr e e ?                                    2 0 · · · ·A · ·Ri g ht.
 2 1 · · · ·A · ·Y e s.                                                                  2 1 · · · ·Q · ·O k a y. · S o fir st off I u n d er st a n d t h at t h at
 2 2 · · · ·Q · ·O n e of t h e p ur p o s e s of t h e t hir d s p e ci al              2 2 · ·e m ail c a m e wit h a dr aft d e cl ar ati o n att a c h e d t o it;
 2 3 · ·s e s si o n w a s t o e n a ct n e w l e gi sl ati v e m a p s; i s t h at      2 3 · ·i s t h at ri g ht ?
 2 4 · ·ri g ht ?                                                                        2 4 · · · ·A · ·T h at i s m y m e m or y of it, y e s.
 2 5 · · · ·A · ·C orr e ct.                                                             2 5 · · · ·Q · ·S o t h e d e cl ar ati o n t h at s h e s e nt y o u i s

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 ·1 · ·al s o t h e d e cl ar ati o n t h at y o u si g n e d, ri g ht ?             ·1 · ·it, ri g ht ?
 ·2 · · · ·A · ·Y e s.                                                               ·2 · · · ·A · ·Y e s.
 ·3 · · · ·Q · ·A n d t h at' s D ef e n d a nt' s 1; i s t h at c orr e ct ?        ·3 · · · ·Q · ·A n d y o ur t e sti m o n y t o d a y f or t h e j u d g e i s
 ·4 · · · ·A · ·C orr e ct.                                                          ·4 · ·y o u d o n't k n o w w h at y o u di d wit h t hi s d e cl ar ati o n
 ·5 · · · ·Q · ·A n d it l o o k s li k e if w e l o o k at P a g e 3 of             ·5 · ·aft er y o u si g n e d it ?
 ·6 · ·E x hi bit 1 y o u si g n e d it o n N o v e m b er 1 7t h of 2 0 2 1;        ·6 · · · ·A · ·N o.
 ·7 · ·i s t h at ri g ht ?                                                          ·7 · · · ·Q · ·N o w, l et' s g o a h e a d a n d g o t o P ar a gr a p h 2
 ·8 · · · ·A · ·I' m h a vi n g tr o u bl e fi n di n g t h e p a g e. I             ·8 · ·of y o ur d e cl ar ati o n. · It s a y s y o u'r e t h e i n c u m b e nt
 ·9 · ·b eli e v e t h at' s c orr e ct.                                             ·9 · ·R e p u bli c a n st at e s e n at or r e pr e s e nti n g Di stri ct 3 1
 1 0 · · · ·Q · ·It s h o ul d b e t h e l a st p a g e of D ef e n d a nt' s        1 0 · ·i n t h e T e x a s St at e S e n at e.· I h a v e h el d t hi s
 1 1 · ·1.                                                                           1 1 · ·p o siti o n si n c e 2 0 0 4; i s t h at ri g ht ?
 1 2 · · · ·A · ·L et m e g o b a c k a n d fi n d D ef e n d a nt' s 1.             1 2 · · · ·A · ·Y e s.
 1 3 · · · ·Q · ·S e n at or, if y o u l o st t h at e x hi bit, t h e               1 3 · · · ·Q · ·N o w, w h e n B e v erl y P o w ell w a s t al ki n g t o
 1 4 · ·c o urt r e p ort er i s g oi n g t o b e m a d at y o u, n ot m e.          1 4 · ·y o u a b o ut si g ni n g a d e cl ar ati o n f or h er or a s ki n g
 1 5 · · · ·A · ·T h at' s w h y I f o u n d it s o pr o m ptl y. · Y e s,           1 5 · ·y o u h o w y o u c o ul d h el p, d o y o u k n o w if s h e s e nt
 1 6 · ·N o v e m b er 1 7t h.                                                       1 6 · ·d e cl ar ati o n s li k e t hi s t o a n y o n e el s e ?
 1 7 · · · ·Q · ·All ri g ht. · S o t h e d a y aft er y o u r e c ei v e d          1 7 · · · ·A · ·I h a v e n o i d e a.
 1 8 · ·t h e d e cl ar ati o n y o u si g n e d it, ri g ht ?                       1 8 · · · ·Q · ·Di d s h e t ell y o u t h at s h e w a s g oi n g t o
 1 9 · · · ·A · ·Y e s.                                                              1 9 · ·s e n d y o u a d e cl ar ati o n ?
 2 0 · · · ·Q · ·W h at di d y o u d o wit h it ?                                    2 0 · · · ·A · ·Y e s, or I a s k e d f or it, o n e of t h e t w o.
 2 1 · · · ·A · ·I a s s u m e s u b mitt e d it b a c k t o S e n at or             2 1 · · · ·Q · ·A n d b ef or e w e g et m u c h d e e p er i n t hi s, l et
 2 2 · ·P o w ell, b ut I d o n't r e c all.                                         2 2 · ·m e g o b a c k b e c a u s e I f or g ot t o a s k o n D ef e n d a nt' s
 2 3 · · · ·Q · ·H a v e y o u h a d a n y c o n v er s ati o n s wit h a n y of     2 3 · ·5 ?
 2 4 · ·t h e pl ai ntiff s fr o m t h e Br o o k s c a s e ?                        2 4 · · · ·A · ·U h- h u h.
 2 5 · · · ·A · ·N o, o nl y S e n at or P o w ell.                                  2 5 · · · ·Q · ·S h e wr ot e, l o o ki n g f or w ar d t o s e ei n g y o u

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 ·1 · · · ·Q · ·O nl y S e n at or P o w ell ?                                       ·1 · ·t o m orr o w e v e ni n g i n W a c o.· W h at w a s h a p p e ni n g i n
 ·2 · · · ·A · ·Y e s.                                                               ·2 · ·W a c o o n N o v e m b er 1 7t h ?
 ·3 · · · ·Q · ·H a v e y o u h a d a n y c o n v er s ati o n s wit h               ·3 · · · ·A · ·I w a s a m a st er of c er e m o ni e s at a di n n er
 ·4 · ·c o u n s el f or a n y of t h e Br o o k s pl ai ntiff s ?                   ·4 · ·t h at w a s p arti all y s p o n s or e d b y T e x a s P a st or s f or
 ·5 · · · ·A · ·N o.                                                                 ·5 · ·C hil dr e n a n d S e n at or P o w ell w a s r e c ei vi n g a n a w ar d.
 ·6 · · · ·Q · ·H a v e y o u h a d a n y c o n v er s ati o n s wit h a n y o n e   ·6 · · · ·Q · ·W o ul d it b e f air t o s a y t h at y o u'r e
 ·7 · ·a b o ut t h e d e cl ar ati o n a si d e fr o m S e n at or P o w ell or     ·7 · ·fri e n dl y wit h S e n at or P o w ell ?
 ·8 · ·wit h m e h er e t o d a y ?                                                  ·8 · · · ·A · ·Y e s.
 ·9 · · · ·A · ·M y c hi ef of st aff.                                               ·9 · · · ·Q · ·A n d it s o u n d s li k e y o u t w o ar e b ot h
 1 0 · · · ·Q · ·I s y o ur c hi ef of st aff a n att or n e y ?                     1 0 · ·m e m b er s of t h e s a m e or g a ni z ati o n or at l e a st t h e y
 1 1 · · · ·A · ·N o.                                                                1 1 · ·w er e h o n ori n g -- y o ur or g a ni z ati o n w a s h o n ori n g
 1 2 · · · ·Q · ·O b vi o u sl y h e w or k s i n y o ur s e n at e offi c e ?       1 2 · ·h er ?
 1 3 · · · ·A · ·Y e s.                                                              1 3 · · · ·A · ·It' s n ot m y or g a ni z ati o n.· I j u st h a v e
 1 4 · · · ·Q · ·A n d w h at i s y o ur c hi ef of st aff' s n a m e ?              1 4 · ·d o n e s o m e t hi n g s i n p u bli c e d u c ati o n s o I w a s a s k e d
 1 5 · · · ·A · ·H er n a m e i s J o h a n n a Ki m.                                1 5 · ·t o b e t h e M C a n d s h e w a s -- s h e w a s a l o n gti m e
 1 6 · · · ·Q · ·N o w, l et' s g o o v er y o ur d e cl ar ati o n i n a            1 6 · ·s c h o ol b o ar d m e m b er i n F ort W ort h a n d t h e y w er e
 1 7 · ·littl e bit m or e d et ail.· I k n o w w e' v e alr e a d y                 1 7 · ·h o n ori n g h er.
 1 8 · ·c o v er e d P ar a gr a p h 1 0, b ut I w a nt t o g o t hr o u g h t h e   1 8 · · · ·Q · ·A n d y o u d o n't r e c all if y o u h a n d e d t hi s
 1 9 · ·d e cl ar ati o n it s elf.                                                  1 9 · ·d e cl ar ati o n b a c k t o h er i n W a c o o n t h e 1 7t h, ri g ht ?
 2 0 · · · ·A · ·O k a y.                                                            2 0 · · · ·A · ·N o, I d o n't.
 2 1 · · · ·Q · ·N o w, a g ai n, y o u di d n't writ e t hi s                       2 1 · · · ·Q · ·All ri g ht. · L et' s g o b a c k t o P ar a gr a p h 3.
 2 2 · ·y o ur s elf, ri g ht ?                                                      2 2 · ·It s a y s, I w a s t h e C h air of t h e S e n at e S el e ct
 2 3 · · · ·A · ·N o.                                                                2 3 · ·R e di stri cti n g C o m mitt e e s i n 2 0 1 1 a n d 2 0 1 3; i s t h at
 2 4 · · · ·Q · ·T hi s w a s h a n d e d t o y o u b y B e v erl y P o w ell        2 4 · ·ri g ht ?
 2 5 · ·a n d t h e d a y aft er s h e h a n d e d it t o y o u, y o u si g n e d    2 5 · · · ·A · ·Y e s.

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 ·1 · · · ·Q · ·D o y o u h a v e a n y i d e a w h y y o u w er e n't o n             ·1 · ·o n t h e S e n at e R e di stri cti n g C o m mitt e e a n d y o u writ e
 ·2 · ·t h e r e di stri cti n g c o m mitt e e i n t h e 8 7t h                       ·2 · ·t h at S e n at e Di stri ct 1 0 w a s c o m p a ct a n d w h oll y
 ·3 · ·L e gi sl at ur e ?                                                             ·3 · ·c o nt ai n e d wit hi n T arr a nt C o u nt y a n d h a d cl o s e t o
 ·4 · · · · · · · M· R. O PI E L A: · O bj e cti o n, f or m.                          ·4 · ·i d e al p o p ul ati o n; i s t h at ri g ht ?
 ·5 · · · ·A · ·I h a v e a n o pi ni o n, b ut d o I k n o w, n o.                    ·5 · · · ·A · ·T o t h e b e st of m y r e c oll e cti o n, y e s.
 ·6 · · · ·Q · ·( B Y M R. H U D S O N)· W h at i s y o ur o pi ni o n ?               ·6 · · · ·Q · ·A s y o u w er e r e a di n g t hi s d e cl ar ati o n a n d
 ·7 · · · · · · · T· H E WI T N E S S: · C a n I a n s w er t h at ?                   ·7 · ·ulti m at el y b ef or e y o u si g n e d it, di d y o u g o b a c k
 ·8 · · · ·A · ·Aft er 2 0 1 9 I w a s n a m e d t o n o ot h er                       ·8 · ·a n d l o o k at a n y of t h e d at a or m a p s fr o m t h e 2 0 1 1
 ·9 · ·c o m mitt e e s or i nt er e st ar e a s or a n yt hi n g el s e.              ·9 · ·or 2 0 1 3 r e di stri cti n g t o r efr e s h y o ur r e c oll e cti o n
 1 0 · · · ·Q · ·( B Y M R. H U D S O N)· N o w, P ar a gr a p h s 5, 6, 7,            1 0 · ·a b o ut w h et h er t h at w a s tr u e ?
 1 1 · ·a n d 8 t al k a b o ut liti g ati o n r el at e d t o 2 0 1 1 a n d           1 1 · · · ·A · ·I di d n ot.
 1 2 · ·2 0 1 3 r e di stri cti n g; i s t h at ri g ht ?                              1 2 · · · ·Q · ·S o w h e n y o u r e a d t h at a n d si g n e d it, y o u
 1 3 · · · ·A · ·C orr e ct.                                                           1 3 · ·w er e g oi n g b a s e d o n y o ur r e c oll e cti o n j u st c ol d ?
 1 4 · · · ·Q · ·I' m g oi n g t o a s k y o u t hi s b e c a u s e t hi s             1 4 · · · ·A · ·Y e s.
 1 5 · ·c a s e i n v ol v e s all e g ati o n s of i nt e nti o n al                  1 5 · · · ·Q · ·O k a y. · N o w, I w a nt t o cl arif y f or t h e
 1 6 · ·di s cri mi n ati o n s o pl e a s e d o n't t a k e it a s a n i n s ult      1 6 · ·r e c or d.· I k n o w w e t o u c h e d o n it a littl e bit
 1 7 · ·t h at I' m a s ki n g y o u.· I ki n d of h a v e t o.                        1 7 · ·e arli er, b ut wit h S e n at e Di stri ct 3 1, y o u'r e
 1 8 · · · ·A · ·I u n d er st a n d.                                                  1 8 · ·f a mili ar wit h h o w t h at w a s dr a w n i n S B 4, ri g ht ?
 1 9 · · · ·Q · ·Y o u'r e n ot a r a ci st, ri g ht ?                                 1 9 · · · ·A · ·Y e s.
 2 0 · · · ·A · ·N o.                                                                  2 0 · · · ·Q · ·S D 1 0, w er e y o u a s i nti m at el y i n v ol v e d i n
 2 1 · · · ·Q · ·W h e n y o u w er e o n t h e r e di stri cti n g                    2 1 · ·t h e dr a wi n g of S D 1 0 a s y o u w er e S D 3 1 ?
 2 2 · ·c o m mitt e e, y o u di d n't dr a w m a p s b e c a u s e y o u              2 2 · · · ·A · ·N ot at all i n 2 0 2 1.
 2 3 · ·di sli k e d bl a c k p e o pl e, ri g ht ?                                    2 3 · · · ·Q · ·O k a y. · S o y o u d o n't h a v e a n y i nf or m ati o n
 2 4 · · · ·A · ·C ert ai nl y n ot.                                                   2 4 · ·a b o ut h o w S D 1 0 w a s dr a w n i n t h e 8 7t h L e gi sl at ur e ?
 2 5 · · · ·Q · ·Y o u di d n't dr a w m a p s b e c a u s e y o u di sli k e d        2 5 · · · ·A · ·A s k t h at a g ai n.

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 ·1 · ·Hi s p a ni c p e o pl e, ri g ht ?                                             ·1 · · · ·Q · ·L et m e a s k it li k e t hi s. · I s t h er e a n y
 ·2 · · · ·A · ·C ert ai nl y n ot.                                                    ·2 · ·n o n pri vil e g e d i nf or m ati o n t h at y o u c a n pr o vi d e
 ·3 · · · ·Q · ·Y o u w er e n't tr yi n g t o di s a d v a nt a g e                   ·3 · ·a b o ut h o w S D 1 0 w a s dr a w n d uri n g t h e 8 7t h
 ·4 · ·mi n orit y gr o u p s, ri g ht ?                                               ·4 · ·L e gi sl at ur e i n eit h er t h e r e g ul ar s e s si o n or a n y of
 ·5 · · · ·A · ·A b s ol ut el y n ot.                                                 ·5 · ·t h e s p e ci al s e s si o n s ?
 ·6 · · · ·Q · ·Y o u'r e n ot a w ar e a s y o u sit h er e t o d a y of              ·6 · · · ·A · ·It w a s dr a w n v er y s p e cifi c all y t o e n s ur e
 ·7 · ·a n y r a ci al a ni m u s b y t h e 8 7t h L e gi sl at ur e' s                ·7 · ·t h at it w o ul d b e r e pr e s e nt e d b y a R e p u bli c a n.
 ·8 · ·r e di stri cti n g c o m mitt e e, ri g ht ?                                   ·8 · · · ·Q · ·S o p arti s a n r e a s o n s ?
 ·9 · · · ·A · ·N o.                                                                   ·9 · · · ·A · ·Y e s.
 1 0 · · · ·Q · ·O k a y. · All ri g ht. · L et' s g o d o w n t o                     1 0 · · · ·Q · ·I s t h er e a n y i nf or m ati o n t h at i s eit h er
 1 1 · ·P ar a gr a p h 1 0. · T h e 2 0 2 1 s e n at e r e di stri cti n g            1 1 · ·mi s si n g or t h at y o u b eli e v e s h o ul d h a v e b e e n a d d e d
 1 2 · ·pr o c e s s s a w u ntr u e, pr et e xt u al e x pl a n ati o n s. · W e      1 2 · ·t o t hi s d e cl ar ati o n b ef or e y o u si g n e d it h a vi n g n o w
 1 3 · ·t al k e d a b o ut t h at e arli er, ri g ht ?                                1 3 · ·r e a d it a n d h a d it si n c e N o v e m b er of 2 0 2 1 ?
 1 4 · · · ·A · ·Y e s.                                                                1 4 · · · ·A · ·I d o n't t hi n k s o.
 1 5 · · · ·Q · ·Y o u g a v e o n e e x a m pl e i n h er e -- w ell, I               1 5 · · · ·Q · ·A si d e fr o m y o ur c hi ef of st aff a n d B e v erl y
 1 6 · ·g u e s s M s. P o w ell g a v e o n e e x a m pl e i n h er e, ri g ht ?      1 6 · ·P o w ell a n d I mi g ht h a v e a s k e d t hi s, b ut I' m g oi n g
 1 7 · · · ·A · ·Y e a h.                                                              1 7 · ·t o a s k it a g ai n j u st t o m a k e s ur e I di d n't mi s s it,
 1 8 · · · ·Q · ·All ri g ht. · Ar e t h er e a n y ot h er e x a m pl e s             1 8 · ·i s t h er e a n y b o d y el s e t h at y o u t al k e d t o a b o ut t hi s
 1 9 · ·a si d e fr o m t h e e x a m pl e t h at w a s gi v e n i n P ar a gr a p h   1 9 · ·d e cl ar ati o n b ef or e y o u si g n e d it ?
 2 0 · ·1 0 t h at y o u w o ul d i n cl u d e i n t hi s ?                            2 0 · · · ·A · ·N o.
 2 1 · · · ·A · ·N o.                                                                  2 1 · · · ·Q · ·I s t h er e a n y b o d y t h at y o u t al k e d t o ot h er
 2 2 · · · ·Q · ·Ar e t h er e a n y ot h er e x a m pl e s t h at y o u               2 2 · ·t h a n y o ur c hi ef of st aff a n d B e v erl y P o w ell si n c e
 2 3 · ·t hi n k s h o ul d h a v e b e e n i n cl u d e d i n t hi s ?                2 3 · ·y o u si g n e d it e x cl u di n g y o ur c o u n s el ?
 2 4 · · · ·A · ·N o.                                                                  2 4 · · · ·A · ·N o.
 2 5 · · · ·Q · ·P ar a gr a p h 1 1 t al k s a b o ut y o ur e x p eri e n c e        2 5 · · · ·Q · ·B ef or e I m o v e off of y o ur d e cl ar ati o n, I' m

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 ·1 · ·g oi n g t o h a n d y o u w h at I' m g oi n g t o m ar k a s                  ·1 · ·a ct u all y E x hi bit 2 1 fr o m t h e r e s p o n s e t o t h e
 ·2 · ·D ef e n d a nt' s 6.                                                           ·2 · ·pr eli mi n ar y i nj u n cti o n t h at' s b e e n fil e d b y t h e
 ·3 · · · · · · · (· E x hi bit N u m b er 6 m ar k e d.)                              ·3 · ·Br o o k s pl ai ntiff s.
 ·4 · · · ·Q · ·( B Y M R. H U D S O N)· S o I'll j u st r e pr e s e nt t o           ·4 · · · ·A · ·O k a y.
 ·5 · ·y o u t h at t h at' s a pri nt o ut of t h e d e cl ar ati o n t h at          ·5 · · · ·Q · ·T a k e a l o o k at t h at a n d l et m e k n o w w h e n
 ·6 · ·w a s att a c h e d a s a n e x hi bit t h at y o ur c o u n s el s e nt        ·6 · ·y o u'r e fi ni s h e d.
 ·7 · ·m e i n r e s p o n s e t o t h e s u b p o e n a d u c e s t e c u m.          ·7 · · · ·A · ·I' m v er y f a mili ar wit h it.· I' m fi ni s h e d.
 ·8 · · · ·A · ·O k a y.                                                               ·8 · · · ·Q · ·C a n y o u t ell m e w h at t hi s i s ?
 ·9 · · · ·Q · ·D o y o u h a v e a n y r e a s o n t o di s p ut e t h at ?           ·9 · · · ·A · ·It i s a n arti cl e fr o m t h e T e x a s Tri b u n e.
 1 0 · · · ·A · ·I d o n ot.                                                           1 0 · · · ·Q · ·All ri g ht. · S o i n 2 0 1 9, t h e T e x a s Tri b u n e
 1 1 · · · ·Q · ·A s y o u l o o k at t h at d e cl ar ati o n t h at I                1 1 · ·p ut o ut t hi s arti cl e t h at' s titl e d Li e ut e n a nt
 1 2 · ·h a n d e d y o u, if y o u g o b a c k t o P a g e 3, y o u'll s e e          1 2 · ·G o v er n or D a n P atri c k p ull s S e n at or K el S eli g er' s
 1 3 · ·t h at P a g e 3 h a s n o si g n at ur e a n d n o d at e, ri g ht ?          1 3 · ·c h air m a n s hi p aft er S eli g er s u g g e st e d P atri c k ai d e
 1 4 · · · ·A · ·C orr e ct.                                                           1 4 · ·ki s s hi s, q u ot e/ u n q u ot e, b a c k e n d. · Di d I r e a d t h at
 1 5 · · · ·Q · ·Di d y o u h a v e t h e o p p ort u nit y if y o u w a nt e d        1 5 · ·c orr e ctl y ?
 1 6 · ·t o t o m a k e a m e n d m e nt s t o t hi s d e cl ar ati o n b ef or e      1 6 · · · ·A · ·T h at i s c orr e ct.
 1 7 · ·y o u si g n e d it a n d d at e d it ?                                        1 7 · · · ·Q · ·All ri g ht. · W h at i s t h e s u b st a n c e of t hi s
 1 8 · · · ·A · ·Y e s.                                                                1 8 · ·arti cl e ?
 1 9 · · · ·Q · ·A n d y o u c h o s e n ot t o d o s o, ri g ht ?                     1 9 · · · ·A · ·T h e s u bj e ct of t h e arti cl e i s t h e f a ct
 2 0 · · · ·A · ·C orr e ct.                                                           2 0 · ·t h at I h a d b e e n r e m o v e d fr o m t h e c o m mitt e e s
 2 1 · · · ·Q · ·N o w, I b eli e v e y o u m e nti o n e d e arli er a g o            2 1 · ·m e nti o n e d b ef or e a n d n a m e d c h air m a n of t h e
 2 2 · ·-- a n d I di d n't r e all y di s c u s s t h at, b ut I w a nt t o           2 2 · ·A gri c ult ur e C o m mitt e e. · I n a n i nt er vi e w I w a s a s k e d
 2 3 · ·g o b a c k t o it. · Y o u s ai d y o u h a d b e e n r e m o v e d fr o m    2 3 · ·f or m y o pi ni o n a n d I s ai d I di d n ot g et t h e
 2 4 · ·all y o ur c o m mitt e e c h air s i n 2 0 1 9; i s t h at ri g ht ?          2 4 · ·c o m mitt e e s t h at I h a d a s k e d f or or d e sir e d, b ut I
 2 5 · · · ·A · ·C orr e ct.                                                           2 5 · ·t h o u g ht t h e A gri c ult ur e C o m mitt e e w a s a

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 ·1 · · · ·Q · ·W h at' s y o ur o pi ni o n a b o ut w h y t h at                     ·1 · ·p arti c ul arl y i m p ort a nt o n e p arti c ul arl y f or m y
 ·2 · ·h a p p e n e d ?                                                               ·2 · ·di stri ct. · At t h at p oi nt, t h e --
 ·3 · · · ·A · ·I w a s r e m o v e d fr o m -- a s a c h air a n d                    ·3 · · · · · · · T· H E WI T N E S S: · Ar e y o u --
 ·4 · ·m e m b er of t h e Hi g h er E d u c ati o n C o m mitt e e, r e m o v e d     ·4 · · · · · · · M· R. O PI E L A: · N o.
 ·5 · ·fr o m t h e P u bli c E d u c ati o n C o m mitt e e a n d r e m o v e d       ·5 · · · ·A · ·At t h at p oi nt, t h e Li e ut e n a nt G o v er n or' s
 ·6 · ·fr o m fi n a n c e b e c a u s e I v ot e d a g ai n st t w o of t h e         ·6 · ·p oli c y a d vi s or s ai d S e n at or S eli g er d o e s n't li k e
 ·7 · ·Li e ut e n a nt G o v er n or' s 3 0 pri oriti e s.                            ·7 · ·hi s c o m mitt e e a s si g n m e nt s or c h air m a n s hi p, w e c a n
 ·8 · · · ·Q · ·W ell, y o u' d a gr e e wit h m e t h at y o u' v e b e e n           ·8 · ·p ut hi m s o m e w h er e el s e. · I di d n't s a y a n yt hi n g
 ·9 · ·l o si n g f a v or i n R e p u bli c a n cir cl e s i n T e x a s si n c e     ·9 · ·d er o g at or y a b o ut t h at c o m mitt e e or t h at a p p oi nt m e nt
 1 0 · ·at l e a st 2 0 1 9, ri g ht ?                                                 1 0 · ·a n d t h at' s at t h e p oi nt t h at I s ai d s h e c o ul d
 1 1 · · · ·A · ·I d o n't k n o w h o w m u c h R e p u bli c a n cir cl e s.         1 1 · ·c o n si d er att a c hi n g h er li p s t o m y b a c k e n d w hi c h a
 1 2 · ·I d o n't k n o w e x a ctl y w h at t h at m e a n s.                         1 2 · ·p hr a s e w e d o n't u s e i n W e st T e x a s b e c a u s e n or m all y
 1 3 · · · ·Q · ·H o w a b o ut t h e R e p u bli c a n p art y i n T e x a s ?        1 3 · ·it' s u s u all y s h e c o ul d ki s s m y a s s.· T h e Li e ut e n a nt
 1 4 · · · ·A · ·I' v e h a d s o littl e i nt er a cti o n wit h t h e                1 4 · ·G o v er n or s ai d t h e n t h at it w a s l e w d, c all e d m e u p
 1 5 · ·R e p u bli c a n p art y t h at I w o ul d n't k n o w. · I a s s u m e       1 5 · ·aft er a f e w d a y s a n d t ol d m e I w a s t h e n r e m o v e d a s
 1 6 · ·a m o n g s o m e m e m b er s, y e a h. · C ert ai nl y l o si n g f a v or   1 6 · ·c h air m a n of t h e A G C o m mitt e e s a yi n g t h o s e r e m ar k s
 1 7 · ·wit h t h e Li e ut e n a nt G o v er n or, y e s, b ut t h at' s e a s y      1 7 · ·w er e l e w d. · W hil e t h e y m a y h a v e b e e n s o m e w h at
 1 8 · ·t o d o.                                                                       1 8 · ·i n d eli c at e, t h e y w er e n ot l e w d.· L et' s t al k a b o ut
 1 9 · · · ·Q · ·I' m g oi n g t o h a n d y o u w h at I' m m ar ki n g a s           1 9 · ·m y b a c k e n d, n ot h er s, a n d I t hi n k t h at r ef erri n g
 2 0 · ·D ef e n d a nt' s 7.                                                          2 0 · ·t o t h e m a s l e w d I t hi n k s h o w s a littl e bit of
 2 1 · · · · · · · (· E x hi bit N u m b er 7 m ar k e d.)                             2 1 · ·h y st eri a a n d pri g gi s h n e s s o n p art of t h e Li e ut e n a nt
 2 2 · · · ·Q · ·( B Y M R. H U D S O N)· N o w, y o u'll s e e t h at t h e           2 2 · ·G o v er n or.
 2 3 · ·c o v er p a g e t h er e r ef er e n c e s E x hi bit 2 1. · I'll j u st      2 3 · · · ·Q · ·F air t o s a y t h at y o u a n d t h e Li e ut e n a nt
 2 4 · ·r e pr e s e nt t o y o u t h at I' m m ar ki n g t hi s a s E x hi bit 7      2 4 · ·G o v er n or w er e n ot g etti n g al o n g ar o u n d t h e ti m e
 2 5 · ·f or p ur p o s e s of y o ur d e p o siti o n, b ut t hi s i s                2 5 · ·t hi s arti cl e c a m e o ut a n d t h er e aft er ?

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 ·1 · · · ·A · ·W e'r e n ot cl o s e.                                             ·1 · · · ·Q · ·S o e v e n i n 2 0 1 4 y o u w er e dr a wi n g
 ·2 · · · ·Q · ·N o w, e v e n b ef or e t h at h a p p e n e d i n 2 0 1 9,       ·2 · ·c h all e n g e s a n d y o u w o ul d a gr e e wit h m e t h at wit hi n
 ·3 · ·y o u w er e dr a wi n g pri m ar y o p p o n e nt s o ut i n W e st ·3 · ·fi v e p oi nt s of t hi s i s pr ett y cl o s e, ri g ht ?
 ·4 · ·T e x a s; i s t h at ri g ht ?                                             ·4 · · · ·A · ·Y e a h, it' s pr ett y cl o s e.
 ·5 · · · ·A · ·I w a s.                                                           ·5 · · · ·Q · ·F air t o s a y t h at at l e a st h alf t h e
 ·6 · · · ·Q · ·L et m e s h o w y o u w h at I' m g oi n g t o m ar k a s ·6 · ·di stri ct o ut t h er e t h at v ot e d i n t h e pri m ar y w a nt e d
 ·7 · ·D ef e n d a nt' s 8.                                                       ·7 · ·Mi k e C a n o n, ri g ht ?
 ·8 · · · · · · · (· E x hi bit N u m b er 8 m ar k e d.)                          ·8 · · · ·A · ·M or e t h a n h alf w a nt e d m e.
 ·9 · · · · · · · M· R. H U D S O N: · Mr. O pi el a, if y o u d o n't             ·9 · · · ·Q · ·I' m g oi n g t o s h o w y o u w h at I' m g oi n g t o
 1 0 · ·mi n d, I' m a ct u all y g oi n g t o h a n d t h at t o C h a d. · It 1 0 · ·m ar k a s D ef e n d a nt' s 9.
 1 1 · ·l o o k s li k e I o nl y h a v e t hr e e c o pi e s of t h at.           1 1 · · · · · · · (· E x hi bit N u m b er 9 m ar k e d.)
 1 2 · ·E x c u s e m e, I h a v e f o ur.                                         1 2 · · · ·Q · ·( B Y M R. H U D S O N)· A n d f or p ur p o s e s of
 1 3 · · · ·Q · ·( B Y M R. H U D S O N)· N o w, if y o u fli p o v er t o 1 3 · ·i d e ntifi c ati o n o n t h e r e c or d I' m m ar ki n g t hi s f or
 1 4 · ·-- if y o u l o o k at t h e t o p of t h at p a g e a n d a g ai n        1 4 · ·t h e e x hi bit a s D ef e n d a nt' s 9.· T hi s i s al s o E x hi bit
 1 5 · ·j u st f or p ur p o s e s of t h e r e c or d I' m m ar ki n g t hi s a s 1 5 · ·1 5 i n r e s p o n s e t o Br o o k s pl ai ntiff' s pr eli mi n ar y
 1 6 · ·8, b ut t hi s i s al s o E x hi bit 1 4 t o t h e r e s p o n s e t o     1 6 · ·i nj u n cti o n.· T a k e a l o o k at t h at a n d t ell m e w h e n
 1 7 · ·t h e pr eli mi n ar y i nj u n cti o n.· If y o u l o o k at t h e        1 7 · ·y o u'r e fi ni s h e d.
 1 8 · ·c o v er p a g e t h er e j u st s o y o u'r e cl e ar o n w h at it       1 8 · · · ·A · ·I' m d o n e.
 1 9 · ·i s.                                                                       1 9 · · · ·Q · ·T h er e at t h e t o p of t h e fir st p a g e r e a d s
 2 0 · · · ·A · ·O k a y, y e a h.                                                 2 0 · ·Offi c e of t h e S e cr et ar y of St at e. · D o y o u s e e t h at ?
 2 1 · · · ·Q · ·T h at' s al s o i n t h e r e c or d.                            2 1 · · · ·A · ·Y e s.
 2 2 · · · ·A · ·O k a y.                                                          2 2 · · · ·Q · ·A g ai n, t hi s i s a R a c e S u m m ar y R e p ort f or
 2 3 · · · ·Q · ·H a v e y o u e v er s e e n t hi s d o c u m e nt b ef or e ? 2 3 · ·t hi s ti m e fr o m t h e 2 0 1 8 R e p u bli c a n P art y Pri m ar y
 2 4 · · · ·A · ·O h, I' m s ur e I h a v e i n a n e w s p a p er or              2 4 · ·El e cti o n; i s t h at ri g ht ?
 2 5 · ·s o m et hi n g.                                                           2 5 · · · ·A · ·C orr e ct.

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 ·1 · · · ·Q · ·W ell, o n t h e t o p of t h e fir st p a g e it s a y s          ·1 · · · ·Q · ·A n d t h e d at e o n t hi s i s M ar c h 6t h, 2 0 1 8;
 ·2 · ·Offi c e of t h e S e cr et ar y of St at e; d o y o u s e e t h at ?       ·2 · ·i s t h at c orr e ct ?
 ·3 · · · ·A · ·Y e s.                                                             ·3 · · · ·A · ·Y e s.
 ·4 · · · ·Q · ·A n d b el o w t h at it s a y s R a c e S u m m ar y              ·4 · · · ·Q · ·N o w, i n t h e 2 0 1 8 pri m ar y y o u a v oi d e d a
 ·5 · ·R e p ort; i s t h at ri g ht ?                                             ·5 · ·r u n off b y j u st . 4 %, or 3 2 3 v ot e s, wit h a g ai n Mi k e
 ·6 · · · ·A · ·Y e s.                                                             ·6 · ·C a n o n b ei n g t h e r u n n er- u p; i s t h at ri g ht ?
 ·7 · · · ·Q · ·A n d b el o w t h at it r e a d s 2 0 1 4 R e p u bli c a n       ·7 · · · ·A · ·Y e s.
 ·8 · ·P art y Pri m ar y El e cti o n. · Di d I r e a d t h at c orr e ctl y ?    ·8 · · · ·Q · ·G etti n g cl o s er, ri g ht ?
 ·9 · · · ·A · ·C orr e ct.                                                        ·9 · · · ·A · ·Y e a h. · N ot cl o s e e n o u g h.
 1 0 · · · ·Q · ·A n d t h e d at e i s M ar c h 4t h, 2 0 1 4, ri g ht ?          1 0 · · · ·Q · ·S o 2 0 1 4 y o u dr a w a pri m ar y c h all e n g e, 2 0 1 8
 1 1 · · · ·A · ·Y e s.                                                            1 1 · ·y o u dr a w a pri m ar y c h all e n g e, 2 0 1 9 y o u'r e stri p p e d
 1 2 · · · ·Q · ·N o w, if y o u fli p o v er t o t h e n e xt p a g e.            1 2 · ·of y o ur c o m mitt e e s e at s, ri g ht ?
 1 3 · · · ·A · ·H ol d o n j u st o n e s e c o n d. · O k a y.                   1 3 · · · ·A · ·U m- h u m.
 1 4 · · · ·Q · ·O n t h at p a g e fr o m t h e t o p g oi n g d o w n t o        1 4 · · · ·Q · ·Ar e y o u r e a d y t o a gr e e wit h m e t h at y o u'r e
 1 5 · ·t h e t hir d el e cti o n t h er e it s a y s St at e S e n at or         1 5 · ·f alli n g o ut of f a v or a s e arl y a s 2 0 1 4 wit h t h e
 1 6 · ·Di stri ct 3 1. · C orr e ct ? · D o y o u s e e t h at ?                  1 6 · ·R e p u bli c a n p art y i n T e x a s ?
 1 7 · · · ·A · ·Y e s.                                                            1 7 · · · ·A · ·Wit h t h e R e p u bli c a n p art y, b ut m o st
 1 8 · · · ·Q · ·N o w, d o y o u a gr e e wit h m e t h at Mi dl a n d            1 8 · ·pr o n o u n c e dl y wit h t h e T e x a s P u bli c P oli c y
 1 9 · ·M a y or Mi k e C a n o n, a c o n s er v ati v e R e p u bli c a n,       1 9 · ·F o u n d ati o n a n d t h e p o w er T e x a n s w h o fi n a n c e d a l ot
 2 0 · ·c h all e n g e d y o u 2 0 1 4 i n t h e R e p u bli c a n pri m ar y ?   2 0 · ·of t hi s o p p o siti o n.
 2 1 · · · ·A · ·Y e s.                                                            2 1 · · · · · · · T· H E WI T N E S S: · I g et l o st i n t h e s e.
 2 2 · · · ·Q · ·T h e s e n u m b er s s h o w t h at h e c a m e wit hi n        2 2 · ·I' m j u st gl a d y o u'r e h a vi n g a littl e tr o u bl e.
 2 3 · ·fi v e p oi nt s of b e ati n g y o u i n t h e pri m ar y; i s t h at     2 3 · · · · · · · M· R. O PI E L A: · I' m h a p p y t o s h ar e.
 2 4 · ·ri g ht ?                                                                  2 4 · · · ·Q · ·( B Y M R. H U D S O N)· I b eli e v e g o b a c k t o
 2 5 · · · ·A · ·H e di d.                                                         2 5 · ·E x hi bit 7.

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 ·1 · · · ·A · ·All ri g ht.                                                         ·1 · · · ·A · ·U m- h u m.
 ·2 · · · ·Q · ·D o it t hi s w a y. · Y o u w o ul d a gr e e t h at                ·2 · · · · · · · M· R. D U N N: · I s t h at a y e s ?
 ·3 · ·t h er e w er e c ert ai n a g e n d a it e m s of G o v er n or P atri c k   ·3 · · · · · · · T· H E WI T N E S S: · Y e s, I' m s orr y.
 ·4 · ·t h at y o u o p p o s e d i n t h e 2 0 1 9 r e g ul ar s e s si o n; i s    ·4 · · · ·Q · ·( B Y M R. H U D S O N)· I' m g oi n g t o h a n d y o u
 ·5 · ·t h at ri g ht ?                                                              ·5 · ·w h at I' m g oi n g t o m ar k a s D ef e n d a nt' s 1 1.
 ·6 · · · ·A · ·N o, i n t h e 2 0 1 7 r e g ul ar s e s si o n.                     ·6 · · · · · · · (· E x hi bit N u m b er 1 1 m ar k e d.)
 ·7 · · · ·Q · ·2 0 1 7, a n d t h o s e w o ul d b e pr o p ert y t a x             ·7 · · · ·Q · ·( B Y M R. H U D S O N)· T a k e a l o o k at t h at a n d
 ·8 · ·r ef or m, ri g ht ?                                                          ·8 · ·t ell m e w h e n y o u'r e fi ni s h e d.· F or p ur p o s e s of
 ·9 · · · ·A · ·W ell, it w a s t a x c a p s a n d p u bli c --                     ·9 · ·i d e ntifi c ati o n, i n a d diti o n t o m ar ki n g t hi s a s
 1 0 · ·pri v at e s c h o ol v o u c h er s.                                        1 0 · ·E x hi bit 1 1, t hi s i s al s o E x hi bit 2 0 i n t h e r e s p o n s e
 1 1 · · · ·Q · ·A n d b ot h of t h o s e y o u t o o k a p o siti o n              1 1 · ·t o pl ai ntiff' s pr eli mi n ar y i nj u n cti o n m oti o n.· H a v e
 1 2 · ·o p p o sit e t h e Li e ut e n a nt G o v er n or, ri g ht ?                1 2 · ·y o u e v er s e e n t h at d o c u m e nt b ef or e ?
 1 3 · · · ·A · ·I di d a n d b ot h m e a s ur e s p a s s e d t h e s e n at e.    1 3 · · · ·A · ·Y e s.
 1 4 · · · ·Q · ·A n d y o u al s o t o o k a p o siti o n o p p o sit e t h e       1 4 · · · ·Q · ·W h at i s it ?
 1 5 · ·g o v er n or of t h at s e s si o n o n t h o s e pi e c e s, ri g ht ?     1 5 · · · ·A · ·It i s a n arti cl e fr o m T e x a s Tri b u n e,
 1 6 · · · ·A · ·Y e s.                                                              1 6 · ·O ct o b er 7t h, 2 0 2 1.
 1 7 · · · · · · · M· R. H U D S O N: · Mi n d if w e g o off t h e                  1 7 · · · ·Q · ·T o y o ur k n o wl e d g e, i s t h at a tr u e a n d
 1 8 · ·r e c or d f or a f e w mi n ut e s ?                                        1 8 · ·a c c ur at e c o p y of t h e arti cl e e ntitl e d W ei g hi n g
 1 9 · · · · · · · M· R. D U N N: · Fi n e.                                          1 9 · ·r e el e cti o n bi d, G O P T e x a s S e n at or K el S eli g er
 2 0 · · · · · · · T· H E VI D E O G R A P H E R: · W e ar e off t h e               2 0 · ·c o nfr o nt s r e dr a w n di stri ct, Tr u m p e n d or s e m e nt of
 2 1 · ·r e c or d.· T h e ti m e i s 1 0: 2 8 a. m.                                 2 1 · ·pri m ar y c h all e n g er, d at e d O ct o b er 7t h, 2 0 2 1 ?
 2 2 · · · · · · · (· Off t h e r e c or d.)                                         2 2 · · · ·A · ·Y e s.
 2 3 · · · · · · · T· H E VI D E O G R A P H E R: · W e ar e b a c k o n t h e       2 3 · · · ·Q · ·N o w, t h e fir st f ull p ar a gr a p h o n P a g e 2 of
 2 4 · ·r e c or d.· T h e ti m e i s 1 0: 4 0 a. m.                                 2 4 · ·t hi s d o c u m e nt -- f oll o w al o n g wit h m e -- r e a d s,
 2 5 · · · ·Q · ·( B Y M R. H U D S O N)· H a n d y o u w h at I' m g oi n g         2 5 · ·h e a di n g i nt o el e cti o n s e a s o n, A m arill o St at e
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 ·1 · ·t o m ar k a s D ef e n d a nt' s 1 0.                                        ·1 · ·S e n at or K el S eli g er s a y s h e f e el s li k e m e m b er s of
 ·2 · · · · · · · (· E x hi bit N u m b er 1 0 m ar k e d.)                          ·2 · ·hi s o w n p art y mi g ht b e u si n g r e di stri cti n g t o o u st
 ·3 · · · ·Q · ·( B Y M R. H U D S O N)· H a v e y o u e v er s e e n t h at         ·3 · ·hi m aft er y e ar s of t e n si o n wit h Li e ut e n a nt G o v er n or
 ·4 · ·d o c u m e nt b ef or e ?                                                    ·4 · ·D a n P atri c k, a f ell o w R e p u bli c a n. · Di d I r e a d t h at
 ·5 · · · ·A · ·Y e s.                                                               ·5 · ·c orr e ctl y ?
 ·6 · · · ·Q · ·W h at i s t h at d o c u m e nt ?                                   ·6 · · · ·A · ·Y e s.
 ·7 · · · ·A · ·It' s a n arti cl e fr o m t h e A u sti n A m eri c a n             ·7 · · · ·Q · ·S o y o u t h o u g ht p oliti c s w a s at pl a y wit h
 ·8 · ·St at e s m a n.                                                              ·8 · ·p ot e nti all y b ei n g r e dr a w n o ut of y o ur di stri ct; i s
 ·9 · · · ·Q · ·I s t h at a tr u e a n d a c c ur at e c o p y of t h e             ·9 · ·t h at ri g ht ?
 1 0 · ·arti cl e d at e d J a n u ar y 2 4t h, 2 0 1 9, titl e d P atri c k         1 0 · · · ·A · ·N o, n ot b ei n g r e dr a w n o ut of m y di stri ct,
 1 1 · ·criti ci z e s S eli g er' s attit u d e, l a c k of t e a m w or k ?        1 1 · ·n o. · B ei n g r e dr a w n i s s u c h a f a ct or t o m a k e it m or e
 1 2 · · · ·A · ·Y e s.                                                              1 2 · ·diffi c ult f or m e t o g et r e el e ct e d i n t h at s a m e
 1 3 · · · ·Q · ·S o i n a d diti o n t o t h e i s s u e s t h at y o u h a d       1 3 · ·dir e ct.
 1 4 · ·wit h S e n at or P atri c k or e x c u s e m e, Li e ut e n a nt            1 4 · · · ·Q · ·W ell, i n f a ct, t h e arti cl e g o e s o n t o
 1 5 · ·G o v er n or P atri c k i n 2 0 1 9, h e h a d al s o criti ci z e d        1 5 · ·r e a d, S eli g er i s d e ci di n g w h et h er h e will e v e n r u n
 1 6 · ·y o u f or n ot b ei n g a t e a m pl a y er; i s t h at c orr e ct ?        1 6 · ·f or r e el e cti o n, b ut if h e d o e s, h e i s n o w st ari n g
 1 7 · · · ·A · ·Y e s.                                                              1 7 · ·d o w n p er h a p s hi s t o u g h e st pri m ar y y et; i s t h at
 1 8 · · · ·Q · ·A n d t h at, a g ai n, w a s b a s e d o n y o ur 2 0 1 7          1 8 · ·ri g ht ?
 1 9 · ·v ot e s a g ai n st pri oriti e s, ri g ht ?                                1 9 · · · ·A · ·Y e s.
 2 0 · · · ·A · ·Y e s.                                                              2 0 · · · ·Q · ·All ri g ht. · D o y o u a gr e e t h at t h e di stri ct
 2 1 · · · ·Q · ·S o c h all e n g er i n 2 0 1 4, c h all e n g er i n 2 0 1 8,     2 1 · ·w a s r e dr a w n t o b e e v e n m or e R e p u bli c a n m a ki n g it
 2 2 · ·y o u h a d a di s p ut e o v er r e m ar k s m a d e a b o ut               2 2 · ·diffi c ult f or y o u t o wi n a pri m ar y; i s t h at ri g ht ?
 2 3 · ·Li e ut e n a nt G o v er n or P atri c k' s st aff er i n 2 0 1 9,          2 3 · · · ·A · ·B ei n g m or e R e p u bli c a n d o e s n't m a k e it
 2 4 · ·Li e ut e n a nt G o v er n or P atri c k criti ci z e s y o u a s n ot      2 4 · ·diffi c ult f or m e a s a R e p u bli c a n t o wi n a pri m ar y.
 2 5 · ·b ei n g a t e a m pl a y er i n 2 0 1 9, ri g ht ?                          2 5 · · · ·Q · ·S o w h y w er e y o u c o n c er n e d a b o ut b ei n g or

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 ·1 · ·dr a wi n g a t o u g h er r a c e t h at y e ar ?                                   ·1 · ·t o Li b er al R a n ki n g s ?
 ·2 · · · ·A · ·B e c a u s e t h e y w er e t a ki n g c o u nti e s t h at I              ·2 · · · ·A · ·I b eli e v e s o.
 ·3 · ·h a d r e pr e s e nt e d b ef or e a n d t a ki n g t h o s e c o u nti e s         ·3 · · · ·Q · ·If y o u fli p o v er t o p a g e -- I'll c o u nt
 ·4 · ·o ut of t h e di stri ct a n d p utti n g c o u nti e s i n t h e                    ·4 · ·t h e m h er e b e c a u s e t h e p a g e s ar e n't n u m b er e d.
 ·5 · ·di stri ct t h at w er e cl o s er t o Mi dl a n d t hi n ki n g t h at              ·5 · ·T h er e' s o n e f ull p a g e, t w o f ull p a g e s, t hr e e f ull
 ·6 · ·t h e y w o ul d aff e ct t h e v ot e i n f a v or of t h e Mi dl a n d             ·6 · ·p a g e s a n d o n t h e f o urt h f ull p a g e N u m b er 1 it r e a d s
 ·7 · ·c a n di d at e.                                                                     ·7 · ·Br y a n H u g h e s. · D o y o u s e e t h at ?
 ·8 · · · ·Q · ·I n f a ct, t hi s arti cl e g o e s o n t o s a y t h at                   ·8 · · · ·A · ·I' m n ot t h er e y et.
 ·9 · ·o n T u e s d a y, f or m er Pr e si d e nt D o n al d Tr u m p, a cl o s e          ·9 · · · ·Q · ·O k a y.
 1 0 · ·all y of Li e ut e n a nt P atri c k, e n d or s e d S p ar k s a n d               1 0 · · · ·A · ·N o, n o w I h a v e it.
 1 1 · ·b a s h e d S eli g er a s a, q u ot e/ u n q u ot e, RI N O,                       1 1 · · · ·Q · ·N o w, d o y o u s e e i n t h e t o p l eft- h a n d
 1 2 · ·R e p u bli c a n i n n a m e o nl y, i n a r ar e i nt er v e nti o n i n          1 2 · ·c or n er it s a y s 2 0 2 1 r a n k ?
 1 3 · ·a T e x a s l e gi sl ati v e r a c e b y t h e f or m er pr e si d e nt.           1 3 · · · ·A · ·Y e s.
 1 4 · ·Di d I r e a d t h at c orr e ctl y ?                                               1 4 · · · ·Q · ·All ri g ht. · A n d a b o v e t h at t h er e i s a
 1 5 · · · ·A · ·Y e s.                                                                     1 5 · ·di s c u s si o n a b o ut t h e m et h o d ol o g y, b ut t h e 2 0 2 1 r a n k
 1 6 · · · ·Q · ·D o y o u c o n si d er y o ur s elf a RI N O ?                            1 6 · ·i s 1 t hr o u g h 1 8 R e p u bli c a n s ?
 1 7 · · · ·A · ·Of c o ur s e n ot.                                                        1 7 · · · ·A · ·Y e s.
 1 8 · · · ·Q · ·W h at d o e s RI N O m e a n ?                                            1 8 · · · ·Q · ·Y o u w o ul d a gr e e t h at t h er e ar e 1 8
 1 9 · · · ·A · ·R e p u bli c a n i n n a m e o nl y.                                      1 9 · ·R e p u bli c a n s i n t h e T e x a s S e n at e, ri g ht ?
 2 0 · · · ·Q · ·W h at d o e s t h at m e a n ?                                            2 0 · · · ·A · ·I d o.
 2 1 · · · ·A · ·I' m n ot s ur e I k n o w.· It' s w h at p e o pl e o n                   2 1 · · · ·Q · ·F or t h e 8 7t h L e gi sl at ur e ?
 2 2 · ·t h e f ar ri g ht c all p e o pl e w h o ar e n ot o n t h e f ar                  2 2 · · · ·A · ·Y e s.
 2 3 · ·ri g ht.· W h at t h e pr e si d e nt al s o s ai d t h at I w a s a                2 3 · · · ·Q · ·All ri g ht. · N u m b er 1 i s Br y a n H u g h e s,
 2 4 · ·RI N O a n d I w a s li k e Mitt R o m n e y, a n d n e xt t o                      2 4 · ·ri g ht ?
 2 5 · ·pr o b a bl y R o n al d R e a g a n a n d J o h n M c C ai n t h er e w a s        2 5 · · · ·A · ·Ri g ht.

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 ·1 · ·pr o b a bl y n o o n e I w o ul d r at h er b e c o m p ar e d t o t h a n          ·1 · · · ·Q · ·A n d y o u'r e 1 8t h, ri g ht ?
 ·2 · ·Mitt R o m n e y w hi c h g o e s t o s h o w j u st h o w r e all y g o o d         ·2 · · · ·A · ·Ri g ht.
 ·3 · ·t h e o pi ni o n s of t h e f or m er pr e si d e nt ar e.                          ·3 · · · ·Q · ·S o b a s e d o n Ri c e U ni v er sit y' s B a k er
 ·4 · · · ·Q · ·Y o u w o ul d a gr e e y o u'r e t h e m o st li b er al                   ·4 · ·I n stit ut e of P u bli c P oli c y o ut of all t h e m e m b er s
 ·5 · ·R e p u bli c a n i n t h e T e x a s S e n at e, ri g ht ?                          ·5 · ·of t h e R e p u bli c a n p art y i n t h e s e n at e, y o u w er e t h e
 ·6 · · · ·A · ·I a c c e pt n o p art of li b er al.· I a m n ot a                         ·6 · ·l e a st c o n s er v ati v e a m o n g st t h e m ?
 ·7 · ·li b er al.· D o I h a v e a l e s s s o- c all e d c o n s er v ati v e             ·7 · · · ·A · ·Y e s, a n d I w o ul d al s o s a y t h at t h e B a k er
 ·8 · ·v oti n g r e c or d a c c or di n g t o Ri c e U ni v er sit y a n d                ·8 · ·I n stit ut e at Ri c e U ni v er sit y d o e s t erri bl e w or k.
 ·9 · ·T e x a s P u bli c P oli c y t h a n t h e r e st of m y c oll e a g u e s,         ·9 · · · ·Q · ·S o y o u di s a gr e e wit h t h e m fi n di n g t h at
 1 0 · ·I d o, b ut a l ot of t h o s e ar e b a s e d o n f all a ci o u s                 1 0 · ·y o u'r e t h e l e a st c o n s er v ati v e m e m b er of t h e T e x a s
 1 1 · ·m e a s ur e m e nt s a n d a s s u m pti o n s s o m y v oti n g r e c or d i s    1 1 · ·S e n at e ?
 1 2 · ·8 0 s o m e- o d d p er c e nt wit h t h e R e p u bli c a n m aj orit y of         1 2 · · · ·A · ·Y e a h, I d o.
 1 3 · ·t h e s e n at e t h at i s n ot a li b er al v oti n g r e c or d.                 1 3 · · · ·Q · ·W h o d o y o u t hi n k y o u'r e m or e c o n s er v ati v e
 1 4 · · · ·Q · ·I' m g oi n g t o h a n d y o u w h at I' m g oi n g t o                   1 4 · ·t h a n wit h r e g ar d t o R e p u bli c a n s i n t h e T e x a s
 1 5 · ·m ar k a s D ef e n d a nt' s 1 2.                                                  1 5 · ·S e n at e ?
 1 6 · · · · · · · (· E x hi bit N u m b er 1 2 m ar k e d.)                                1 6 · · · ·A · ·I w o ul d n ot n e c e s s aril y m a k e t h at cl ai m of
 1 7 · · · ·Q · ·( B Y M R. H U D S O N)· H a v e y o u e v er s e e n t h at               1 7 · ·a n y b o d y, b ut d o I t hi n k I' m m or e li b er al, n o. · A m I
 1 8 · ·arti cl e b ef or e ?                                                               1 8 · ·l e s s c o n s er v ati v e, pr o b a bl y n ot.
 1 9 · · · ·A · ·I b eli e v e s o.                                                         1 9 · · · ·Q · ·S o w e d o n't li k e Ri c e U ni v er sit y ?
 2 0 · · · ·Q · ·G o a h e a d a n d t a k e a l o o k a n d l et m e k n o w               2 0 · · · ·A · ·I l o v e Ri c e U ni v er sit y.· I t hi n k t h e B a k er
 2 1 · ·w h e n y o u'r e fi ni s h e d.                                                    2 1 · ·I n stit ut e i s p o orl y m a n n e d.
 2 2 · · · ·A · ·Y e a h, I' v e r e a d it at t h e ti m e.                                2 2 · · · ·Q · ·L et' s t a k e a l o o k at D ef e n d a nt' s 1 3.
 2 3 · · · ·Q · ·I s t hi s a tr u e a n d a c c ur at e c o p y of t h e                   2 3 · · · · · · · (· E x hi bit N u m b er 1 3 m ar k e d.)
 2 4 · ·J u n e 1 8t h, 2 0 2 1 arti cl e titl e d T h e B a c k Mi c,                      2 4 · · · ·Q · ·( B Y M R. H U D S O N)· Di d I m ar k t hi s o n e t h at
 2 5 · ·A n al y zi n g t h e 2 0 2 1 T e x a s L e gi sl at ur e' s C o n s er v ati v e   2 5 · ·y o u h a v e i n y o ur h a n d ?

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 ·1 · · · ·A · ·Y e s, y o u di d.                                                        ·1 · ·r e a d t h at c orr e ctl y ?
 ·2 · · · ·Q · ·T a k e a l o o k a n d l et m e k n o w w h e n y o u'r e                ·2 · · · ·A · ·Y e s.
 ·3 · ·fi ni s h e d.                                                                     ·3 · · · ·Q · ·S o t h at' s p art of t h e m et h o d ol o g y. · D o y o u
 ·4 · · · ·A · ·O k a y. · O k a y.                                                       ·4 · ·di s a gr e e wit h t h at ?
 ·5 · · · ·Q · ·N o w, t hi s arti cl e al s o p ull s fr o m Ri c e                      ·5 · · · ·A · ·Y e s.
 ·6 · ·U ni v er sit y a n d if w e l o o k at p a g e -- it l o o k s li k e             ·6 · · · ·Q · ·S o y o u d o n't t hi n k t h at y o ur r oll- c all
 ·7 · ·it di d n't c o m e t hr o u g h o n t h e pri nt o ut -- if y o u g o             ·7 · ·v ot e s s h o ul d b e u s e d t o d et er mi n e w h er e y o u f all i n
 ·8 · ·t o P a g e 2 at t h e t o p, a g ai n it s a y s Br y a n H u g h e s.            ·8 · ·t h e s p e ctr u m b et w e e n C o n s er v ati v e a n d Li b er al ?
 ·9 · ·I will h a v e t o pri nt o ut a c ol or c o p y f or y o u.                       ·9 · · · ·A · ·N ot u n d er t h e g ui s e of b ei n g e m piri c al,
 1 0 · ·A g ai n, i n t h e T e x a s Tri b u n e citi n g t hi s h a s y o u a s         1 0 · ·n o. · J u st b e c a u s e e v er y b o d y v ot e s s o m e w a y --
 1 1 · ·t h e l e a st c o n s er v ati v e m e m b er i n t h e T e x a s                1 1 · ·R e p u bli c a n v ot e s s o m e w a y d o e s n't m a k e t h e i s s u e
 1 2 · ·L e gi sl at ur e.                                                                1 2 · ·it s elf or t h e bill it s elf a c o n s er v ati v e bill.
 1 3 · · · · · · · M· R. O PI E L A: · I s t h er e a q u e sti o n ?                     1 3 · · · ·Q · ·Y o u w o ul d a gr e e wit h m e t h at at a mi ni m u m
 1 4 · · · ·Q · ·( B Y M R. H U D S O N)· C orr e ct ?                                    1 4 · ·t h e s e t w o arti cl e s d e m o n str at e t h at at l e a st o n e
 1 5 · · · ·A · ·Ar e t h e y u si n g t h e Ri c e U ni v er sit y                       1 5 · ·pr o mi n e nt a c a d e mi c u ni v er sit y, w h et h er y o u a gr e e
 1 6 · ·st ati sti c s h er e ?                                                           1 6 · ·wit h t h e m or n ot, h a s p e g g e d y o u a s t h e l e a st
 1 7 · · · ·Q · ·T h at' s m y u n d er st a n di n g.                                    1 7 · ·c o n s er v ati v e m e m b er of t h e T e x a s S e n at e, ri g ht ?
 1 8 · · · ·A · ·I t hi n k -- I t hi n k Ri c e U ni v er sit y i s                      1 8 · · · ·A · ·T h e y h a v e p e g g e d m e t h at w a y f all a ci o u sl y
 1 9 · ·a c a d e mi c all y irr e s p o n si bl e i n t hi s b e c a u s e w h at        1 9 · ·a n d I' m n ot s ur e alt o g et h er a c a d e mi c all y
 2 0 · ·t h e y d o n't d o i s t a k e t h e i s s u e s, m a k e u p t h o s e          2 0 · ·c o m p et e ntl y.
 2 1 · ·v ot e s a n d s a y ar e t h e y tr ul y c o n s er v ati v e i s s u e s,       2 1 · · · ·Q · ·L et m e s h o w y o u w h at I' m g oi n g t o m ar k a s
 2 2 · ·a n d f or t h at I w o ul d dr a w y o ur att e nti o n t o t h e                2 2 · ·D ef e n d a nt' s 1 4.
 2 3 · ·T witt er bill a n d I t hi n k t h at h a s t o d o wit h bi g                   2 3 · · · · · · · (· E x hi bit N u m b er 1 4 m ar k e d.)
 2 4 · ·g o v er n m e nt a n d i s a nti b u si n e s s a n d I t hi n k t h e           2 4 · · · ·Q · ·( B Y M R. H U D S O N)· H a v e y o u e v er s e e n t h at
 2 5 · ·p e o pl e w h o v ot e d f or t h at, t h at i s n ot a g o o d                  2 5 · ·d o c u m e nt b ef or e ?

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 ·1 · ·R e p u bli c a n or c o n s er v ati v e v ot e. · I t hi n k p e o pl e          ·1 · · · ·A · ·I h a v e.
 ·2 · ·w h o v ot e d f or t h e bill t h at r e g ul at e s a cit y' s                   ·2 · · · ·Q · ·T a k e a l o o k a n d w e will t al k a b o ut it.
 ·3 · ·a bilit y t o r e g ul at e t h e n u m b er of g o at s i n p e o pl e' s         ·3 · · · ·A · ·I' v e g ot it.
 ·4 · ·y ar d s i s a bi g g o v er n m e nt bill a n d i s n ot a                        ·4 · · · ·Q · ·I s t hi s -- s o y o u' v e s e e n t hi s b ef or e ?
 ·5 · ·c o n s er v ati v e R e p u bli c a n bill. · I d o n't c o n c e d e t h at      ·5 · · · ·A · ·I h a v e.
 ·6 · ·I' m l e s s c o n s er v ati v e t h a n t h o s e p e o pl e.· S o I             ·6 · · · ·Q · ·T o y o ur k n o wl e d g e, i s t hi s a tr u e a n d
 ·7 · ·t hi n k t h at t h er e -- I t hi n k t h e w a y t h at t h e y                  ·7 · ·a c c ur at e c o p y of t h e O ct o b er 2 0t h, 2 0 2 1 arti cl e
 ·8 · ·a s s e s s i s s u e s i s r e all y fl a w e d a n d a c a d e mi c all y n ot   ·8 · ·fr o m t h e A m arill o Pi o n e er ?
 ·9 · ·a s c o m p et e nt a s it s h o ul d b e f or Ri c e U ni v er sit y.             ·9 · · · ·A · ·It i s.
 1 0 · · · ·Q · ·If y o u fli p o v er t o P a g e 5 of 7, if y o u                       1 0 · · · ·Q · ·C all e d S eli g er c all s it q uit s. · R e p u bli c a n
 1 1 · ·l o o k at t h e b ott o m ri g ht- h a n d c or n er it h a s t h e --           1 1 · ·S e n at or n ot s e e ki n g r e el e cti o n ?
 1 2 · ·T e x a s Tri b u n e w a s ki n d e n o u g h t o p ut t h e p a g e             1 2 · · · ·A · ·Y e s.
 1 3 · ·n u m b er s o n t h eir f or m. · Mi d dl e of t h e p a g e it s a y s          1 3 · · · ·Q · ·W h y di d y o u d e ci d e n ot t o r u n a g ai n ?
 1 4 · ·m et h o d ol o g y, d o y o u s e e t h at ?                                     1 4 · · · ·A · ·E v er y b o d y l e a v e s at s o m e p oi nt a n d it
 1 5 · · · ·A · ·Y e s.                                                                   1 5 · ·s e e m e d li k e a g o o d ti m e aft er w h at will b e 1 9 y e ar s
 1 6 · · · ·Q · ·F oll o w al o n g wit h m e. · T hi s arti cl e r e a d s,              1 6 · ·w h e n I l e a v e offi c e.
 1 7 · ·p oliti c al s ci e nti st s h a v e f or d e c a d e s u s e d                   1 7 · · · ·Q · ·S o y o u w er e n't c o n c er n e d a b o ut y o ur
 1 8 · ·r oll- c all v ot e s c a st b y m e m b er s of U. S. C o n gr e s s t o         1 8 · ·di stri ct b ei n g m or e c o m p etiti v e i n t h e R e p u bli c a n
 1 9 · ·m a p t h e pl a c e s o n t h e Li b er al- C o n s er v ati v e s c al e        1 9 · ·pri m ar y ?
 2 0 · ·al o n g w hi c h m o st l e gi sl ati v e p oliti c s n o w t a k e s            2 0 · · · ·A · ·It' s al w a y s b e e n a c o n c er n.· M or e s o t hi s
 2 1 · ·pl a c e.                                                                         2 1 · ·ti m e, n ot n e c e s s aril y.
 2 2 · · · ·A · ·Y e s.                                                                   2 2 · · · ·Q · ·I s t h at b e c a u s e of t h e w a y t h at S D 3 1 w a s
 2 3 · · · ·Q · ·T hi s r a n ki n g of t h e T e x a s S e n at e d o e s t h e          2 3 · ·dr a w n ?
 2 4 · ·s a m e, b y dr a wi n g o n t h e 9 4 3 n o n-l o p si d e d r oll- c all        2 4 · · · ·A · ·W ell, p artl y e x c e pt f or t h e f a ct t h at t h e
 2 5 · ·v ot e s t a k e n d uri n g t h e 2 0 2 1 r e g ul ar s e s si o n. · Di d I     2 5 · ·n e w c o u nti e s t h at w er e a d d e d ar e r ur al c o u nti e s.

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 ·1 · ·A s a g e n er al r ul e, l o c all y el e ct e d offi ci al s i n                ·1 · ·b ut I h a v e t h e fir st p a g e of t h e S e n at e J o ur n al o n
 ·2 · ·t h o s e r ur al c o u nti e s a n d e d u c at or s d o n ot c ar e f or        ·2 · ·t h er e a n d g ot t h e l a st o n t h e b a c k.
 ·3 · ·T e x a s P u bli c P oli c y F o u n d ati o n a n d t h eir c a n di d at e s   ·3 · · · ·A · ·Ri g ht.
 ·4 · ·a n d t h at' s w h y w h e n e v er y b o d y r u n s f or S e n at e            ·4 · · · ·Q · ·S o I w a nt t o t ur n y o ur att e nti o n d o w n t o
 ·5 · ·Di stri ct 3 1 t h e y r e si g n t h eir p o siti o n s fr o m t h e             ·5 · ·a b o ut t h e l a st t hir d of t h e p a g e w h er e it s a y s
 ·6 · ·T e x a s P u bli c P oli c y F o u n d ati o n. · T h e y ar e pr o b a bl y     ·6 · ·S e n at or W e st. · If y o u d o n't mi n d, I'll m ar k it f or
 ·7 · ·t h e m o st a ntil o c al c o ntr ol a n d a nti p u bli c e d u c ati o n       ·7 · ·y o u s o y o u c a n fi n d it r e al e a s y.
 ·8 · ·or g a ni z ati o n s i n t h e st at e of T e x a s.                             ·8 · · · ·A · ·O k a y.
 ·9 · · · ·Q · ·W a s y o ur d e ci si o n b a s e d i n a n y p art o n t h e           ·9 · · · ·Q · ·T hi s i s ki n d of a n e xt e n si v e d o c u m e nt. · D o
 1 0 · ·f a ct t h at Pr e si d e nt Tr u m p d e cli n e d t o e n d or s e y o u       1 0 · ·y o u s e e t h e hi g hli g ht e d p orti o n ?
 1 1 · ·i n t h e pri m ar y ?                                                           1 1 · · · ·A · ·Y e s, sir.
 1 2 · · · ·A · ·N o, n ot r e all y.                                                    1 2 · · · ·Q · ·S o f oll o w al o n g wit h m e a s I r e a d t h at.
 1 3 · · · ·Q · ·W a s y o ur d e ci si o n n ot t o r u n b a s e d i n p art           1 3 · ·It s a y s, S e n at or W e st:· -- n o, w ell, h ol d o n f or
 1 4 · ·i n a n y w a y o n t h e f a ct t h at Li e ut e n a nt G o v er n or D a n     1 4 · ·o n e s e c o n d. · T hi s i s g oi n g t o b e p art of t h e
 1 5 · ·P atri c k h a d r e m o v e d y o u fr o m y o ur c o m mitt e e s m a ki n g   1 5 · ·r e c or d.· W e k n o w w e'r e g oi n g t o l o s e t hi s
 1 6 · ·y o u a l e s s eff e cti v e s e n at or ?                                      1 6 · ·p arti c ul ar v ot e. · It' s b e e n s ai d t h at S e n at e
 1 7 · · · ·A · ·N o.                                                                    1 7 · ·Di stri ct 1 0 w a s g oi n g t o fli p. · O k a y ? · Di d I r e a d
 1 8 · · · ·Q · ·W a s y o ur d e ci si o n n ot t o r u n b a s e d i n a n y           1 8 · ·t h at c orr e ctl y ?
 1 9 · ·w a y o n t h e f a ct t h at Ri c e U ni v er sit y h a d p e g g e d y o u     1 9 · · · ·A · ·Y e s.
 2 0 · ·t h e l e a st c o n s er v ati v e m e m b er of t h e T e x a s S e n at e ?   2 0 · · · ·Q · ·N o w, S e n at or W e st a D e m o cr at ?
 2 1 · · · ·A · ·I w o ul d n't c o m p o s e a gr o c er y li st b a s e d              2 1 · · · ·A · ·Y e s.
 2 2 · ·u p o n w h at Ri c e U ni v er sit y t hi n k s.                                2 2 · · · ·Q · ·S e n at or P o w ell r e s p o n d s, T h at' s e x a ctl y
 2 3 · · · ·Q · ·S o t h e a n s w er i s n o ?                                          2 3 · ·ri g ht.· Di d I r e a d t h at c orr e ctl y ?
 2 4 · · · ·A · ·N o, y e a h, s orr y.                                                  2 4 · · · ·A · ·Y e s.
 2 5 · · · · · · · M· R. H U D S O N: · L et' s t a k e t e n mi n ut e s                2 5 · · · ·Q · ·S e n at or W e st t h e n s a y s, S o, l et' s g et it
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 ·1 · ·off t h e r e c or d. · I'll t a k e a l o o k at m y n ot e s.· Ar e             ·1 · ·o n t h e r e c or d, d o y o u b eli e v e t h at y o ur di stri ct i s
 ·2 · ·y o u g o o d wit h t h at ?                                                      ·2 · ·b ei n g i nt e nti o n all y t ar g et e d f or eli mi n ati o n a s it
 ·3 · · · · · · · M· R. D U N N: · T h at' s fi n e.                                     ·3 · ·b ei n g a D e m o cr ati c tr e n di n g di stri ct ? · Di d I r e a d
 ·4 · · · · · · · M· R. H U D S O N: · Ar e y o u g u y s g o o d wit h                  ·4 · ·t h at c orr e ctl y ?
 ·5 · ·t h at ?                                                                          ·5 · · · ·A · ·Y e s.
 ·6 · · · · · · · T· H E WI T N E S S: · Y e a h.                                        ·6 · · · ·Q · ·S e n at or P o w ell r e s p o n d s, A b s ol ut el y. · Di d
 ·7 · · · · · · · T· H E VI D E O G R A P H E R: · W e ar e off t h e                    ·7 · ·I r e a d t h at c orr e ctl y ?
 ·8 · ·r e c or d.· T h e ti m e i s 1 0: 5 6 a. m.                                      ·8 · · · ·A · ·Y e s.
 ·9 · · · · · · · (· Off t h e r e c or d.)                                              ·9 · · · ·Q · ·D o y o u di s a gr e e wit h S e n at or P o w ell ?
 1 0 · · · · · · · T· H E VI D E O G R A P H E R: · W e ar e b a c k o n t h e           1 0 · · · ·A · ·N o. · I d o n't k n o w t h at it' s n e c e s s aril y a
 1 1 · ·r e c or d.· T h e ti m e i s 1 1: 1 8 a. m.                                     1 1 · ·D e m o cr ati c tr e n di n g di stri ct. · I h a v e n't s e e n a n y
 1 2 · · · · · · · (· E x hi bit N u m b er 1 5 m ar k e d.)                             1 2 · ·of t h e st ati sti c s, b ut o v er t h e l a st f e w t er m s it' s
 1 3 · · · ·Q · ·( B Y M R. H U D S O N)· I' m g oi n g t o h a n d y o u                1 3 · ·b e e n r e pr e s e nt e d b y S e n at or Ki m Bri m er a n d t h e n
 1 4 · ·w h at I h a v e m ar k e d a s D ef e n d a nt' s 1 5. · F or p ur p o s e s    1 4 · ·S e n at or W e n d y D a vi s a n d t h e n S e n at or C o n ni e B urt o n,
 1 5 · ·of i d e ntifi c ati o n, I b eli e v e t hi s i s E x hi bit 6- K t o           1 5 · ·a R e p u bli c a n, a n d n o w S e n at or P o w ell w h o i s a
 1 6 · ·t h e pr eli mi n ar y i nj u n cti o n m oti o n fil e d b y t h e              1 6 · ·D e m o cr at. · N o w, st ati sti c all y it m a y b e D e m o cr ati c
 1 7 · ·Br o o k s pl ai ntiff s.                                                        1 7 · ·tr e n di n g, b ut t h at' s n ot t h e w a y I' v e s e e n it o v er
 1 8 · · · ·A · ·U m- h u m.                                                             1 8 · ·t h at p eri o d of ti m e.
 1 9 · · · ·Q · ·G o a h e a d a n d t a k e a l o o k at t hi s d o c u m e nt          1 9 · · · · · · · M· R. H U D S O N: · O bj e cti o n, n o nr e s p o n si v e
 2 0 · ·a n d l et m e k n o w w h e n y o u'r e fi ni s h e d.                          2 0 · ·t o e v er yt hi n g aft er y e s.
 2 1 · · · ·A · ·O k a y. · I t hi n k I' m r e a d y.· I h a v e s e e n                2 1 · · · · · · · T· H E WI T N E S S: · O k a y.
 2 2 · ·t hi s b ef or e.                                                                2 2 · · · ·Q · ·( B Y M R. H U D S O N)· C o u pl e of -- f e w t hi n g s
 2 3 · · · ·Q · ·S o I'll j u st r e pr e s e nt t o y o u I di d n't                    2 3 · ·r e m ai ni n g, fir st of w hi c h i s t h a n k y o u f or y o ur
 2 4 · ·pri nt o ut t h e e ntir e S e n at e J o ur n al fr o m t h at d a y.           2 4 · ·ti m e t o d a y.· I' m g oi n g t o t ur n y o u o v er t o C h a d
 2 5 · ·T hi s i s t h e r el e v a nt p orti o n I b eli e v e, P a g e A- 4 9,         2 5 · ·D u n n h er e i n j u st a s e c o n d.


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 ·2 · · · ·Q · ·W o ul d y o u a gr e e t h at I' v e b e e n c o urt e o u s             ·2 · ·y o u r e c all ?
 ·3 · ·a n d at l e a st a p pr o pri at e i n t h e q u e sti o n s t h at I' v e        ·3 · · · ·A · ·Ni n a P er al e s.
 ·4 · ·a s k e d t o d a y ?                                                              ·4 · · · ·Q · ·O k a y. · Y o u s p o k e wit h h er t o d a y d uri n g t h e
 ·5 · · · ·A · ·Y o u h a v e a n d I a p pr e ci at e it.                                ·5 · ·d e p o siti o n ?
 ·6 · · · ·Q · ·O k a y. · I w a nt t o m a k e s ur e t h at y o u'r e n ot              ·6 · · · ·A · ·Y e s.
 ·7 · ·w al ki n g a w a y t hi n ki n g t h at I' v e d o n e a n yt hi n g r u d e      ·7 · · · ·Q · ·H a v e y o u s p o k e n wit h h er pri or t o t h e
 ·8 · ·t o y o u.                                                                         ·8 · ·d e p o siti o n t o d a y ?
 ·9 · · · ·A · ·I a b s ol ut el y a gr e e a n d I h o p e y o u g et t h e              ·9 · · · ·A · ·N o.
 1 0 · ·s a m e i m pr e s si o n a b o ut m e.                                           1 0 · · · ·Q · ·H a v e y o u s p o k e n wit h a n y l a w y er a b o ut y o ur
 1 1 · · · ·Q · ·A b s ol ut el y, sir. · I a p pr e ci at e it.· A n y                   1 1 · ·t e sti m o n y t o d a y ot h er t h a n y o ur o w n ?
 1 2 · ·q u e sti o n s I h a v e n't a s k e d y o u t o d a y t h at y o u t hi n k     1 2 · · · ·A · ·N o.
 1 3 · ·I s h o ul d h a v e ?                                                            1 3 · · · ·Q · ·H o w a b o ut a n y l a w y er s f or t h e st at e ?
 1 4 · · · ·A · ·N o, I d o n't t hi n k s o.                                             1 4 · · · ·A · ·N o.
 1 5 · · · ·Q · ·O k a y. · I'll t e n d er t h e wit n e s s a n d I m a y               1 5 · · · ·Q · ·O k a y. · Y o u r e c ei v e d a s u b p o e n a t o b e h er e
 1 6 · ·h a v e a f e w r e dir e ct aft er Mr. D u n n, b ut I'll t ur n                 1 6 · ·t o d a y; i s t h at tr u e ?
 1 7 · ·t hi s o v er t o hi m.                                                           1 7 · · · ·A · ·I w a s n ot s er v e d.· I' m h er e v ol u nt aril y.
 1 8 · · · ·A · ·O k a y.                                                                 1 8 · · · ·Q · ·O k a y. · I c a n t ell y o u t h at I w a s s er v e d
 1 9 · · · · · · · M· R. D U N N: · L et' s g o off t h e r e c or d.                     1 9 · ·wit h a s u b p o e n a t h at w a s dir e ct e d t o w ar d s y o u, b ut
 2 0 · · · · · · · T· H E VI D E O G R A P H E R: · W e ar e off t h e                    2 0 · ·it s o u n d s li k e y o ur t e sti m o n y i s y o u' v e n e v er s e e n
 2 1 · ·r e c or d.· T h e ti m e i s 1 1: 2 2 a. m.                                      2 1 · ·t h at; i s t h at a f a ct ?
 2 2 · · · · · · · (· Off t h e r e c or d.)                                              2 2 · · · ·A · ·It s e e m s li k e eit h er y o u or t h e st at e s e nt
 2 3 · · · · · · · T· H E VI D E O G R A P H E R: · T hi s m ar k s t h e                 2 3 · ·m e a c o p y of t h e s u b p o e n a or s o m et hi n g li k e t h at,
 2 4 · ·st art of M e di a 2. · W e ar e b a c k o n t h e r e c or d. · T h e            2 4 · ·b ut I di d n't si g n a n yt hi n g a n d I si m pl y t ol d t h e m I
 2 5 · ·ti m e i s 1 1: 2 4 a. m.                                                         2 5 · ·w o ul d b e h er e v ol u nt aril y, j u st gi v e m e a ti m e a n d

                                                                                Page 75                                                                           Page 77
 ·1 · · · · · · · · · · ·E· X A MI N A TI O N                                             ·1 · ·pl a c e.
 ·2 · ·B Y M R. D U N N:                                                                  ·2 · · · ·Q · ·O k a y. · I c a n r e pr e s e nt t o y o u I' v e n e v er
 ·3 · · · ·Q · ·Pl e a s e t ell u s y o ur n a m e.                                      ·3 · ·s e nt y o u a n yt hi n g.
 ·4 · · · ·A · ·K el S eli g er.                                                          ·4 · · · ·A · ·N o.
 ·5 · · · ·Q · ·S e n at or S eli g er, m y n a m e i s C h a d D u n n. I                ·5 · · · ·Q · ·O k a y. · I' m n ot tr yi n g t o tri c k y o u h er e
 ·6 · ·r e pr e s e nt t h e Br o o k s pl ai ntiff s i n t hi s c a s e.· D o            ·6 · ·a b o ut t h e s u b p o e n a. · I g u e s s t h e r e a s o n I bri n g u p
 ·7 · ·y o u u n d er st a n d t h at ?                                                   ·7 · ·t h e s u b p o e n a i s it al s o h a d a r e q u e st i n t h er e t h at
 ·8 · · · ·A · ·Y e s.                                                                    ·8 · ·y o u bri n g i n s o m e d o c u m e nt s. · D o y o u r e c all t h at ?
 ·9 · · · ·Q · ·I b eli e v e t h at y o u a n d I mi g ht h a v e m et at                ·9 · · · ·A · ·Y e s.
 1 0 · ·a c o urt h o u s e a f e w y e ar s b a c k i n t h e e arli er r o u n d        1 0 · · · ·Q · ·I n oti c e t h at t h e st at e a s k e d y o u t o d a y
 1 1 · ·of r e di stri cti n g. · D o e s t h at s o u n d ri g ht t o y o u ?            1 1 · ·a b o ut a n e m ail t h at l o o k s li k e it w a s f or w ar d e d
 1 2 · · · ·A · ·I d o n't r e c all s p e cifi c all y, b ut y e s, I                    1 2 · ·fr o m y o u t o Mr. O pi el a.· I c a n fi n d it h er e i n t h e
 1 3 · ·h a v e i n s o m e.                                                              1 3 · ·r e c or d s.
 1 4 · · · ·Q · ·O k a y. · I h a v e n't h a d a n y c o nt a ct wit h y o u             1 4 · · · ·A · ·Y e a h.
 1 5 · ·i n y e ar s t h o u g h; w o ul d y o u a gr e e ?                               1 5 · · · ·Q · ·Y o u r e c all t h at e m ail ?
 1 6 · · · ·A · ·N o.                                                                     1 6 · · · ·A · ·Y e s, I r e c all t h at.
 1 7 · · · ·Q · ·Al s o r e pr e s e nti n g t h e Br o o k s pl ai ntiff s i s           1 7 · · · ·Q · ·O k a y. · D o y o u k n o w h o w t h e st at e w o ul d
 1 8 · ·a l a w y er n a m e d M ar k G a b er. · A n ot h er o n e n a m e d M oll y     1 8 · ·h a v e c o m e i n p o s s e s si o n of t h at ?
 1 9 · ·D a n a h y. · D o eit h er of t h o s e n a m e s s o u n d f a mili ar ?        1 9 · · · ·A · ·I a s s u m e d Mr. O pi el a g a v e t h e m t o y o u.
 2 0 · · · ·A · ·N o.                                                                     2 0 · ·T h e y w er e t h e o nl y t hi n g s t h at I h a d t h at w er e
 2 1 · · · ·Q · ·P e o pl e y o u' v e s p o k e n wit h ?                                2 1 · ·r e s p o n si v e t o t h e s u b p o e n a a n d I s e nt t h e m t o
 2 2 · · · ·A · ·N o.                                                                     2 2 · ·Mr. O pi el a i m m e di at el y.
 2 3 · · · ·Q · ·H a v e y o u s p o k e n wit h a n y l a w y er s i n t hi s            2 3 · · · ·Q · ·O k a y. · W ell, I h a v e n't r e c ei v e d a n y of
 2 4 · ·c a s e pri or t o t o d a y ?                                                    2 4 · ·y o ur d o c u m e nt s y et a n d, a g ai n, I' m n ot f u s si n g
 2 5 · · · ·A · ·N ot si n c e 2 0 1 2, 2 0 1 3.                                          2 5 · ·a b o ut it. · I j u st w a nt t o m a k e s ur e I u n d er st a n d

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 ·1 · ·w h at t h e y ar e.                                                                  ·1 · ·of y o ur d e cl ar ati o n; i s t h at ri g ht ?
 ·2 · · · ·A · ·O k a y.                                                                     ·2 · · · ·A · ·Y e s.
 ·3 · · · ·Q · ·S o t h e s u b p o e n a a s k e d y o u t o bri n g t h e                  ·3 · · · ·Q · ·A n d t h at' s e v er yt hi n g y o u pr o d u c e d; i s
 ·4 · ·d o c u m e nt s t o d a y. · Ar e y o u s a yi n g t h er e' s n o n e ot h er       ·4 · ·t h at ri g ht ?
 ·5 · ·t h a n t h at e m ail t h at w a s di s c u s s e d ?                                ·5 · · · ·A · ·Y e s.
 ·6 · · · ·A · ·T h er e w a s o n e ot h er d o c u m e nt I t hi n k.                      ·6 · · · ·Q · ·O k a y. · Y o u' v e l o o k e d f or a n yt hi n g el s e i n
 ·7 · · · · · · · M· R. O PI E L A: · J u st t o h el p. · C h a d, I                        ·7 · ·t h e s u b p o e n a a n d y o u h a v e n ot hi n g el s e r e s p o n si v e ?
 ·8 · ·s e nt t h e m t o t h e st at e.                                                     ·8 · · · ·A · ·N o.
 ·9 · · · · · · · M· R. D U N N: · O k a y.                                                  ·9 · · · ·Q · ·O k a y. · N o w, I j u st w a nt t o t a k e a st e p
 1 0 · · · · · · · M· R. O PI E L A: · I di d n't k n o w y o u w er e                       1 0 · ·b a c k f or a mi n ut e b e c a u s e t h e c o urt m a y ulti m at el y
 1 1 · ·g oi n g t o b e h er e t o d a y s o ot h er wi s e I w o ul d h a v e              1 1 · ·w at c h t hi s vi d e o t o g et y o ur t e sti m o n y. · S o j u st a
 1 2 · ·s e nt t h e m t o y o u. · I w o ul d b e h a p p y t o f or w ar d t h e m         1 2 · ·littl e bit a b o ut y o ur s elf, o k a y, w h er e y o u gr e w u p,
 1 3 · ·t o y o u if y o u w a nt t o t a k e a br e a k a n d d o t h at.                   1 3 · ·w h er e y o u'r e fr o m, t h at s ort of t hi n g. · C a n y o u d o
 1 4 · · · · · · · M· R. D U N N: · I n all h o n e st y I' m n ot                           1 4 · ·t h at f or u s ?
 1 5 · ·f u s si n g, b ut I d o w a nt t o s e e t h e m.                                   1 5 · · · ·A · ·Y e a h. · I gr e w u p i n t h e t o w n of B or g er,
 1 6 · · · · · · · T· H E WI T N E S S: · I' m s orr y.· I a s s u m e d                     1 6 · ·T e x a s, a n d f or t h e l a st l ot s of y e ar s, 4 0 s o m e- o d d
 1 7 · ·wit h m y c o u n s el t h at it w a s d o n e.                                      1 7 · ·y e ar s h a v e li v e d i n A m arill o, T e x a s, w h er e at o n e
 1 8 · · · · · · · M· R. O PI E L A: · L et m e s e e if -- I t hi n k                       1 8 · ·ti m e I w a s cit y c o u n cil m a n a n d m a y or.· A n d I' v e
 1 9 · ·I br o u g ht a g o o d d e al of t h e m t o d a y.· If y o u w a nt                1 9 · ·b e e n a m e m b er of t h e st at e s e n at e si n c e 2 0 0 4.
 2 0 · ·t o t a k e a br e a k.                                                              2 0 · · · ·Q · ·H o w l o n g h a v e y o u b e e n i n p u bli c s er vi c e ?
 2 1 · · · · · · · M· R. D U N N: · L et' s g o a h e a d a n d d o t h at                   2 1 · · · ·A · ·Si n c e 1 9 8 9, w h e n I w a s fir st el e ct e d t o
 2 2 · ·t h e n.                                                                             2 2 · ·cit y c o u n cil.
 2 3 · · · · · · · M· R. O PI E L A: · B e c a u s e I w a nt y o u t o                      2 3 · · · ·Q · ·H a v e y o u e v er l o st a n el e cti o n c o nt e st ?
 2 4 · ·b e --                                                                               2 4 · · · ·A · ·N o, I h a v e n't.
 2 5 · · · · · · · M· R. D U N N: · S ur e.                                                  2 5 · · · ·Q · ·O k a y. · N o w, y o u m e nti o n e d e arli er i n y o ur

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 ·1 · · · · · · · T· H E VI D E O G R A P H E R: · W e ar e off t h e                        ·1 · ·t e sti m o n y t h at y o u' v e d o n e s o m e ot h er, y o u k n o w,
 ·2 · ·r e c or d.· T h e ti m e i s 1 1: 2 7 a. m.                                          ·2 · ·b u si n e s s w or k a n d I t hi n k y o u s ai d st e el
 ·3 · · · · · · · (· Off t h e r e c or d.)                                                  ·3 · ·er e cti o n/f a bri c ati o n ?
 ·4 · · · · · · · T· H E VI D E O G R A P H E R: · W e ar e b a c k o n t h e                ·4 · · · ·A · ·N o er e cti o n a n d f a bri c ati o n, b a si c all y a
 ·5 · ·r e c or d.· T h e ti m e i s 1 1: 3 1 a. m.                                          ·5 · ·st e el s u p pli er, w h at' s c all e d a st e el s er vi c e
 ·6 · · · ·Q · ·( B Y M R. D U N N)· S e n at or, o n a br e a k w e                         ·6 · ·c e nt er.
 ·7 · ·l o o k e d at s o m e of t h e d o c u m e nt s t h at y o u pr o d u c e d          ·7 · · · ·Q · ·B ut y o u' v e s ol d t h at b u si n e s s n o w ?
 ·8 · ·t hr o u g h y o ur c o u n s el; i s t h at tr u e ?                                 ·8 · · · ·A · ·Y e s.
 ·9 · · · ·A · ·Y e s.                                                                       ·9 · · · ·Q · ·W e al s o h a d a di s c u s si o n I t hi n k w hil e w e
 1 0 · · · · · · · M· R. D U N N: · A n d, Mr. O pi el a, y o u' v e                         1 0 · ·w er e w aiti n g at t h e s e c urit y st a n d a b o ut y o ur pl a n s
 1 1 · ·l o o k e d at t h e s u b p o e n a.· C a n y o u t ell u s w h at                  1 1 · ·n e xt w e e k. · D o y o u r e c all t h at ?
 1 2 · ·r e q u e st s y o u' v e h a d d o c u m e nt s r e s p o n si v e t o a n d        1 2 · · · ·A · ·Y e s.
 1 3 · ·w hi c h y o u di d n't ?                                                            1 3 · · · ·Q · ·O k a y. · It' s m y u n d er st a n di n g y o u'r e g oi n g
 1 4 · · · · · · · M· R. O PI E L A: · S o S e n at or S eli g er h a d                      1 4 · ·t o b e i n C alif or ni a n e xt w e e k ?
 1 5 · ·it e m s r e s p o n si v e t o r e q u e st 1 a n d 4.· T h er e w er e n o         1 5 · · · ·A · ·C orr e ct.
 1 6 · ·d o c u m e nt s i n hi s p o s s e s si o n r e s p o n si v e t o r e q u e st 2   1 6 · · · ·Q · ·H a v e y o u h a d a n y di s c u s si o n s wit h a n y b o d y
 1 7 · ·a n d 3.                                                                             1 7 · ·a b o ut y o ur t e sti m o n y i n t hi s c a s e ? · E arli er I a s k e d
 1 8 · · · · · · · M· R. D U N N: · O k a y.                                                 1 8 · ·y o u if y o u h a d a n y di s c u s si o n a b o ut y o ur t e sti m o n y
 1 9 · · · ·Q · ·( B Y M R. D U N N)· I n t h e i nt er e st of cl arit y,                   1 9 · ·t o d a y i n t h e d e p o siti o n.· I' m a s ki n g h a v e y o u h a d
 2 0 · ·y o u ulti m at el y pr o d u c e d f o ur d o c u m e nt s; i s t h at              2 0 · ·a n y di s c u s si o n wit h a n y b o d y a b o ut y o ur t e sti m o n y ?
 2 1 · ·ri g ht ?                                                                            2 1 · · · ·A · ·N o.
 2 2 · · · ·A · ·I b eli e v e t h at' s c orr e ct, y e s.                                  2 2 · · · ·Q · ·R el at e d t o t hi s c a s e ?
 2 3 · · · ·Q · ·T w o of t h e m w er e e m ail s r el at e d t o y o ur                    2 3 · · · ·A · ·N o, n o o n e.
 2 4 · ·d e cl ar ati o n. · T h er e w a s t h e W or d d o c u m e nt of y o ur            2 4 · · · ·Q · ·O k a y. · I j u st w a nt t o b e cl e ar i n li g ht of
 2 5 · ·d e cl ar ati o n a n d t h e n t h er e i s a P D F si g n e d v er si o n          2 5 · ·s o m e of t h e St at e' s q u e sti o n of y o u. · H a s a n y b o d y

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 ·1 · ·tri e d t o i nfl u e n c e y o u i n t er m s of w h at y o ur               ·1 · · · ·Q · ·I n t h e c o ur s e of t h at y o u h a d o p p ort u nit y
 ·2 · ·r e c oll e cti o n s w er e t o d a y ?                                      ·2 · ·t o t al k a b o ut y o ur l e gi sl ati v e pri vil e g e ?
 ·3 · · · ·A · ·W ell, n o, b ut S e n at or P o w ell di d a s k m e t o            ·3 · · · ·A · ·Y e s.
 ·4 · ·si g n t h e affi d a vit, b ut t h at' s t h e o nl y p er s o n I' v e      ·4 · · · ·Q · ·At l e a st w h at y o u u n d er st a n d i s t h e s c o p e ?
 ·5 · ·t al k e d t o a b o ut t h e i s s u e.                                      ·5 · · · ·A · ·Ri g ht.
 ·6 · · · ·Q · ·W h e n s h e a s k e d y o u t o si g n t h e affi d a vit,         ·6 · · · ·Q · ·Y o u r e ali z e t h at' s y o ur pri vil e g e ?
 ·7 · ·di d s h e g et i nt o, y o u k n o w, w h at y o u b eli e v e or            ·7 · · · ·A · ·Ri g ht.
 ·8 · ·w h at y o u t hi n k or w h at y o u r e c all ?                             ·8 · · · ·Q · ·It' s n ot s o m e b o d y el s e' s; i s t h at tr u e ?
 ·9 · · · ·A · ·N o.                                                                 ·9 · · · ·A · ·I t hi n k s o.
 1 0 · · · ·Q · ·Di d s h e tr y t o pl a nt a n y ki n d of s e e d s i n           1 0 · · · ·Q · ·Y o u c a n d e ci d e o n y o ur o w n w h et h er or n ot
 1 1 · ·y o ur m e m or y a b o ut t h o u g ht s or e v e nt s or f a ct s t h at   1 1 · ·y o u w a nt t o di s cl o s e a c o n v er s ati o n ?
 1 2 · ·y o u mi g ht t e stif y t o ?                                               1 2 · · · ·A · ·Ri g ht.
 1 3 · · · ·A · ·N o. · I f e el c ert ai n -- ri g ht aft er t h e m a p            1 3 · · · ·Q · ·N o w, i n t h e p a st y o u w er e r e pr e s e nt e d b y
 1 4 · ·c a m e o ut, I w e nt o v er t o h er d e s k a n d e x pr e s s e d m y    1 4 · ·t h e Att or n e y G e n er al' s offi c e ?
 1 5 · ·s y m p at h y f or it a n d w e t al k e d a b o ut it bri efl y a n d      1 5 · · · ·A · ·C orr e ct.
 1 6 · ·w h at s h e t h o u g ht it di d, b ut t h at' s t h e o nl y               1 6 · · · ·Q · ·I n f a ct, s o m e of t h e s a m e l a w y er s i n t hi s
 1 7 · ·di s c u s si o n I' v e h a d wit h a n y b o d y, j u st wit h h er.       1 7 · ·c a s e t o d a y w er e y o ur l a w y er s i n t h e pr e vi o u s
 1 8 · · · ·Q · ·T h at w a s ri g ht t h er e o n t h e fl o or aft er              1 8 · ·d e c a d e; i s t h at n ot tr u e ?
 1 9 · ·t h e pl a n h a d p a s s e d ?                                             1 9 · · · ·A · ·It m a y b e.· I t hi n k y o u w er e still i n hi g h
 2 0 · · · ·A · ·Y e s.                                                              2 0 · ·s c h o ol s o.
 2 1 · · · ·Q · ·W a s s h e tr yi n g t o i nfl u e n c e y o ur                    2 1 · · · ·Q · ·L o o ki n g at Mr. H u d s o n, I t hi n k t h e m ai n
 2 2 · ·r e c oll e cti o n s t h e n d o y o u t hi n k ?                           2 2 · ·l a w y er h er e i s Mr. S w e et e n ?
 2 3 · · · ·A · ·N o.                                                                2 3 · · · ·A · ·I t hi n k I r e c all hi m, y e s.
 2 4 · · · ·Q · ·W a s t h at c o n v er s ati o n a n yt hi n g ot h er t h a n     2 4 · · · ·Q · ·A n d I a s s u m e i n t h e c o ur s e of m e eti n g wit h
 2 5 · ·h er c o nfi di n g i n s o m e b o d y i n t h e s e n at e t h at s h e    2 5 · ·t h e l a w y er s at t h e Att or n e y G e n er al' s offi c e t h e y

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 ·1 · ·h a d c o nfi d e n c e i n ?                                                 ·1 · ·t al k e d t o y o u a b o ut t elli n g t h e tr ut h a n d t h e
 ·2 · · · ·A · ·N o, t h at' s all it w a s.                                         ·2 · ·i m p ort a n c e of d oi n g t h at i n a d e p o siti o n; i s t h at
 ·3 · · · ·Q · ·S o ot h er t h a n t h at di s c u s si o n i m m e di at el y      ·3 · ·c orr e ct ?
 ·4 · ·aft er t h e v ot e, h a v e y o u e v er h a d a n y di s c u s si o n       ·4 · · · ·A · ·Y e s.
 ·5 · ·wit h S e n at or P o w ell o n t h e m erit s of t h e                       ·5 · · · ·Q · ·A n d t h e y o b vi o u sl y t al k e d t o y o u a b o ut
 ·6 · ·r e di stri cti n g pl a n or h er o pi ni o n s or y o ur                    ·6 · ·y o ur l e gi sl ati v e pri vil e g e a n d w h at y o ur ri g ht s ar e
 ·7 · ·o pi ni o n s, a n yt hi n g of t h at s ort ?                                ·7 · ·t h er e ?
 ·8 · · · ·A · ·N ot at all. · I' m s orr y.                                         ·8 · · · ·A · ·Y e s.
 ·9 · · · · · · · M· R. O PI E L A: · W ell, w e w er e g etti n g                   ·9 · · · ·Q · ·O k a y. · H o w w o ul d y o u d e s cri b e t h e gi st if
 1 0 · ·cl o s e t o t hi s. · I w a nt t o b e c o n si st e nt h er e a n d        1 0 · ·y o u w o ul d of t h e q u e sti o ni n g of t h e Att or n e y
 1 1 · ·o bj e ct t o a n y pri vil e g e d c o n v er s ati o n s.                  1 1 · ·G e n er al' s offi c e of y o u t o d a y ?
 1 2 · · · ·Q · ·( B Y M R. D U N N)· S o if y o u h a v e t o -- it' s              1 2 · · · · · · · M· R. O PI E L A: · O bj e cti o n, f or m.
 1 3 · ·-- l et m e a s k y o u t hi s.· Y o u'r e f a mili ar wit h                 1 3 · · · ·A · ·I d o n't k n o w w h at t o s a y b e c a u s e I d o n't
 1 4 · ·l e gi sl ati v e pri vil e g e, I a s s u m e ?                             1 4 · ·k n o w w h y s o m e q u e sti o n s w er e a s k e d.
 1 5 · · · ·A · ·Y e s.                                                              1 5 · · · ·Q · ·( B Y M R. D U N N)· S ur e.
 1 6 · · · ·Q · ·I k n o w y o u'r e n ot a l a w y er.· I' m n ot                   1 6 · · · ·A · ·B ut I t h o u g ht it w a s i n ci si v e q u e sti o n s
 1 7 · ·a s ki n g y o u -- I' m n ot tr yi n g t o b o x y o u i nt o l a w y er    1 7 · ·a n d I a s s u m e d t h e y w er e a s k e d t o g et t h e
 1 8 · ·p o siti o n s h er e, b ut y o u w er e o n t h e S e n at e                1 8 · ·i nf or m ati o n t h at t h e y n e e d e d t o h a v e.· Ot h er t h a n
 1 9 · ·R e di stri cti n g C o m mitt e e b a c k i n 2 0 1 1; i s t h at           1 9 · ·t h at, I d o n't h a v e a n y r e al i m pr e s si o n.
 2 0 · ·ri g ht ?                                                                    2 0 · · · ·Q · ·Di d y o u g et t h e s e n s e t h at y o ur
 2 1 · · · ·A · ·Y e s.                                                              2 1 · ·tr ut hf ul n e s s a s a wit n e s s w a s c h all e n g e d ?
 2 2 · · · ·Q · ·A n d y o u h a v e gi v e n l ot s of t e sti m o n y i n          2 2 · · · ·A · ·N o.
 2 3 · ·v ari o u s pl a c e s a b o ut r e di stri cti n g; w o ul d t h at b e     2 3 · · · ·Q · ·Ar e y o u t elli n g t h e tr ut h t o d a y ?
 2 4 · ·f air t o s a y ?                                                            2 4 · · · ·A · ·Y e s.
 2 5 · · · ·A · ·Y e s.                                                              2 5 · · · ·Q · ·O k a y. · I w o ul d li k e t o t a k e y o u t o y o ur

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 ·1 · ·d e cl ar ati o n w hi c h y o u s h o ul d h a v e t h er e i n fr o nt of     ·1 · · · ·Q · ·D o y o u r e c all t h e l e gi sl at ur e i n 2 0 1 3
 ·2 · ·y o u.                                                                          ·2 · ·a d o pti n g a r e m e d y m a p f or t h e s e n at e ?
 ·3 · · · ·A · ·I d o.                                                                 ·3 · · · ·A · ·I d o n't r e c all t h at w ell.
 ·4 · · · ·Q · ·T h at' s att a c h e d a s E x hi bit 1 t o d a y. · D o              ·4 · · · ·Q · ·O k a y. · D o y o u r e c all t h e U. S. F e d er al
 ·5 · ·y o u h a v e t h at t h er e, sir ?                                            ·5 · ·C o urt p a s si n g or i s s ui n g a n o pi ni o n o n t h e S e n at e
 ·6 · · · ·A · ·I d o, a n d I h a v e t h e c o p y I br o u g ht t o o.              ·6 · ·Di stri ct 1 0 p art of t h e s e n at e m a p ? · I t hi n k t h at
 ·7 · · · ·Q · ·N o w, t hi s d e cl ar ati o n w a s si g n e d b y y o u i n         ·7 · ·d e ci si o n c a m e o ut i n 2 0 1 2 i n P ar a gr a p h 5 of y o ur
 ·8 · ·y o ur h a n d; i s t h at tr u e ?                                             ·8 · ·d e cl ar ati o n ?
 ·9 · · · ·A · ·Y e s, sir.                                                            ·9 · · · ·A · ·I di d n ot r e m e m b er t h at u ntil I r e a d
 1 0 · · · ·Q · ·A n d o n t h e l a st p a g e of it, P a g e 3, t h at               1 0 · ·P ar a gr a p h 5 a n d d o n ot r e c all t h e s u b st a n c e of t h at
 1 1 · ·c o nt ai n s y o ur a ct u al ori gi n al si g n at ur e ?                    1 1 · ·di s c u s si o n.
 1 2 · · · ·A · ·It d o e s.                                                           1 2 · · · ·Q · ·O k a y. · D o y o u r e c all b a c k i n 2 0 1 2 b ei n g
 1 3 · · · ·Q · ·A n d it w a s si g n e d o n N o v e m b er t h e 1 7t h; i s        1 3 · ·bri ef e d o n t h at d e ci si o n ?
 1 4 · ·t h at a f a ct ?                                                              1 4 · · · ·A · ·I' m s ur e I w a s, b ut I d o n't r e c all it.
 1 5 · · · ·A · ·C orr e ct.                                                           1 5 · · · ·Q · ·O k a y. · I n P ar a gr a p h 6 y o u s a y t h at m e m b er s
 1 6 · · · ·Q · ·T h e -- y o u w er e gi v e n a n y o p p ort u nit y y o u          1 6 · ·of t h e c o m mitt e e r e c ei v e d c o pi e s of t h e f e d er al
 1 7 · ·w a nt e d t o m a k e a dj u st m e nt s t o t hi s d e cl ar ati o n; i s    1 7 · ·d e ci si o n ?
 1 8 · ·t h at tr u e ?                                                                1 8 · · · ·A · ·I c a n o nl y s p e a k f or m y s elf.
 1 9 · · · ·A · ·Y e s.                                                                1 9 · · · ·Q · ·Di d y o u r e c ei v e it ?
 2 0 · · · ·Q · ·It' s n ot t h e c a s e t h at t hi s w a s j a m m e d              2 0 · · · ·A · ·T o t h e b e st of m y r e c oll e cti o n, y e s, b ut I
 2 1 · ·d o w n y o ur t hr o at a n d t hi s i s t h e l a n g u a g e y o u h a d    2 1 · ·d o n't r e c all it.
 2 2 · ·t o a d o pt ?                                                                 2 2 · · · ·Q · ·I s it f air t o s a y y o u r eli e d o n t h e
 2 3 · · · ·A · ·A b s ol ut el y n ot.                                                2 3 · ·Att or n e y G e n er al' s offi c e i n i nt er pr eti n g t h at
 2 4 · · · ·Q · ·I a s s u m e y o u r e a d it c ar ef ull y ?                        2 4 · ·d e ci si o n ?
 2 5 · · · ·A · ·Y e s.                                                                2 5 · · · ·A · ·Y e s.

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 ·1 · · · ·Q · ·A n d i s t h er e a n yt hi n g i n it t h at y o u t hi n k          ·1 · · · ·Q · ·O k a y. · A n d i n 2 0 1 3 it s a y s t h e n Att or n e y
 ·2 · ·i s, y o u k n o w, w or d e d i n c orr e ctl y or sli g htl y wr o n g        ·2 · ·G e n er al A b b ott a d vi s e d t h e S e n at e S el e ct
 ·3 · ·or t h at y o u w o ul d r e p hr a s e t o d a y ?                             ·3 · ·R e di stri cti n g C o m mitt e e t h at it w a s o ur d ut y t o
 ·4 · · · ·A · ·I d o n't t hi n k s o.                                                ·4 · ·c orr e ct t h e r a ci al di s cri mi n ati o n t h at t h e f e d er al
 ·5 · · · ·Q · ·O k a y. · I' d j u st li k e t o w al k t hr o u g h, y o u           ·5 · ·c o urt h a d f o u n d i n S e n at e Di stri ct 1 0. · I s t h at
 ·6 · ·k n o w, s o m e of t h e d e cl ar ati o n. · G o t o P a g e 1. · It          ·6 · ·w h at y o u s ai d, sir ?
 ·7 · ·s a y s y o u'r e o v er t h e a g e of 1 8 a n d c o m p et e nt t o           ·7 · · · ·A · ·Y e s.
 ·8 · ·t e stif y.· I a s s u m e t h at' s tr u e ?                                   ·8 · · · ·Q · ·A n d i s t h at w h at y o u r e c all ?
 ·9 · · · ·A · ·I h o p e s o.                                                         ·9 · · · ·A · ·Y e s.
 1 0 · · · ·Q · ·O k a y. · A n d y o u h a v e alr e a d y t e stifi e d              1 0 · · · ·Q · ·T h e c o m mitt e e h el d a s eri e s of h e ari n g s
 1 1 · ·y o u'r e t h e i n c u m b e nt S e n at or i n S e n at e Di stri ct 3 1     1 1 · ·a n d di s c u s s e d t h e f e d er al c o urt' s r uli n g t h at t h e
 1 2 · ·a n d y o u w er e el e ct e d t o t h at p o siti o n i n 2 0 0 4; i s        1 2 · ·di s m a ntli n g of S e n at e Di stri ct 1 0 w a s r a ci all y
 1 3 · ·t h at ri g ht ?                                                               1 3 · ·di s cri mi n at or y.
 1 4 · · · ·A · ·Y e s.                                                                1 4 · · · ·A · ·Y e s.
 1 5 · · · ·Q · ·O k a y. · A n d y o u w er e t h e c h air of t h e                  1 5 · · · ·Q · ·A n d y o u r e c all at l e a st h a vi n g t h o s e
 1 6 · ·S e n at e R e di stri cti n g C o m mitt e e s i n 2 0 1 1 a n d ' 1 3 ?      1 6 · ·h e ari n g s i n r e s p o n s e t o t h e f e d er al c o urt' s or d er ?
 1 7 · · · ·A · ·Y e s.                                                                1 7 · · · ·A · ·I d o.
 1 8 · · · ·Q · ·W h e n y o u w er e t h e c h air of t h o s e --                    1 8 · · · ·Q · ·A n d y o u w o ul d h a v e b e e n t h e c h air ?
 1 9 · · · ·A · ·L et m e cl arif y, pl e a s e.                                       1 9 · · · ·A · ·Y e s.
 2 0 · · · ·Q · ·S ur e.                                                               2 0 · · · ·Q · ·O k a y. · T h e n e xt s e nt e n c e i n y o ur
 2 1 · · · ·A · ·T h er e w a s n o s e n at e s el e ct c o m mitt e e o n            2 1 · ·d e cl ar ati o n s a y s, t o r e m e d y t h e r a ci al
 2 2 · ·r e dir e cti n g i n 2 0 1 3 b e c a u s e w e h a d n o bill t o             2 2 · ·di s cri mi n ati o n, t h e c o m mitt e e a d o pt e d Pl a n S 1 7 2,
 2 3 · ·c o n si d er b e c a u s e t h at' s w h e n w e w er e i n t h e mi d dl e   2 3 · ·w hi c h r e st or e d S e n at e Di stri ct 1 0 t o it s b e n c h m ar k
 2 4 · ·of liti g ati o n s o I w a s t h er e r e pr e s e nti n g t h e              2 4 · ·c o nfi g ur ati o n. · D o y o u r e c all t h at ?
 2 5 · ·c o m mitt e e a n d t h e s e n at e.                                         2 5 · · · ·A · ·I d o.

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 ·1 · · · ·Q · ·A n d t h at' s y o ur t e sti m o n y ?                           ·1 · ·t hi n k w e h a d dr a w n a g o o d m a p, b ut t h e c o urt s ai d
 ·2 · · · ·A · ·Y e s.                                                             ·2 · ·w e h a d t o d o it a n d I' m s ati sfi e d t h at w e m et t h e
 ·3 · · · ·Q · ·D o y o u r e c all i n 2 0 1 1 t h at S e n at e Di stri ct       ·3 · ·r e q uir e m e nt s of t h e c o urt.
 ·4 · ·1 0 w a s n ot o ut of d e vi ati o n ?                                     ·4 · · · ·Q · ·A n d t h e Att or n e y G e n er al at t h e ti m e t ol d
 ·5 · · · ·A · ·I d o n't r e c all t h at s p e cifi c all y.                     ·5 · ·y o u t h at y o u h a d t o; i s t h at c orr e ct ?
 ·6 · · · ·Q · ·O k a y. · D o y o u k n o w t h at t o b e t h e c a s e          ·6 · · · ·A · ·Y e s.
 ·7 · ·t o d a y wit h r e g ar d t o t hi s c y cl e of r e di stri cti n g ?     ·7 · · · ·Q · ·A n d i n t h e n e xt P ar a gr a p h N u m b er 8 y o ur
 ·8 · · · ·A · ·N o, I d o n't k n o w t h at.                                     ·8 · ·d e cl ar ati o n s a y s, t h e c o m mitt e e m e m b er s all k n e w it
 ·9 · · · ·Q · ·A n d ulti m at el y y o u s a y, t h e pl a n w a s               ·9 · ·w a s n e c e s s ar y t o r e st or e S e n at e Di stri ct 1 0 t o it s
 1 0 · ·p a s s e d b y t h e l e gi sl at ur e a n d si g n e d b y t h e         1 0 · ·b e n c h m ar k c o nfi g ur ati o n i n or d er t o c o m pl y wit h t h e
 1 1 · ·G o v er n or; i s t h at ri g ht ?                                        1 1 · ·V oti n g Ri g ht s A ct a n d t h e U. S. C o n stit uti o n w hi c h
 1 2 · · · ·A · ·Y e s.                                                            1 2 · ·pr o hi bit s r a ci al di s cri mi n ati o n; i s t h at y o ur
 1 3 · · · ·Q · ·I s it f air t o s a y t h at t h e n i n 2 0 1 3 y o u a s       1 3 · ·t e sti m o n y ?
 1 4 · ·c h air m a n of t h e c o m mitt e e a n d t h e s e n at e a n d t h e   1 4 · · · ·A · ·Y e s, it i s.
 1 5 · ·r e st of t h e l e gi sl at ur e p a s s e d a r e m e d y pl a n f or    1 5 · · · ·Q · ·I s t h at w h at y o u r e c all t h e pl a n di d i n
 1 6 · ·S e n at e Di stri ct 1 0 t o a d dr e s s t h e f e d er al c o urt' s    1 6 · ·2 0 1 0, r e st or e ?
 1 7 · ·or d er t h at t h e di stri ct h a d b e e n i nt e nti o n all y         1 7 · · · ·A · ·Y e s.
 1 8 · ·di s m a ntl e d i n vi ol ati o n of t h e V oti n g Ri g ht s A ct ?     1 8 · · · ·Q · ·A n d at t h e ti m e of t h e dr a wi n g of t h e
 1 9 · · · ·A · ·It w a s n ot d o n e i nt e nti o n all y t o d o t h at.        1 9 · ·r e m e d y m a p i n 2 0 1 3, c a n y o u r e c all, y o u k n o w, I
 2 0 · ·T h e c o urt f o u n d t h at it di d, b ut it w a s n ot                 2 0 · ·d o n't w a nt t o p ut y o u t hr o u g h a m e m or y t e st, b ut
 2 1 · ·i nt e nti o n al o n o ur p art.                                          2 1 · ·w h at ar e t h e m e m b er s of t h e c o m mitt e e y o u c a n
 2 2 · · · ·Q · ·A n d I u n d er st a n d y o u t e stifi e d t o t h at,         2 2 · ·r e c all, t h e ot h er m e m b er s ?· I k n o w y o u m a y n ot g et
 2 3 · ·ri g ht, f or t h e st at e ?                                              2 3 · ·t h e m all.
 2 4 · · · ·A · ·Y e s.                                                            2 4 · · · ·A · ·O h, I w o n't g et t h e m all. · S e n at or W e st,
 2 5 · · · ·Q · ·A n d y o u t e stifi e d i n S a n A nt o ni o i n t h at        2 5 · ·S e n at or Z affiri ni, S e n at or Fr a s er, S e n at or

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 ·1 · ·c o urt; i s t h at tr u e ?                                                ·1 · ·W e nt w ort h, S e n at or H uff m a n a n d I d o n't r e c all
 ·2 · · · ·A · ·Y e s.                                                             ·2 · ·e x a ctl y w h o el s e w a s o n it.
 ·3 · · · ·Q · ·A n d y o u t e stifi e d i n W a s hi n gt o n, D. C. ?           ·3 · · · ·Q · ·A n d, a g ai n, f air e n o u g h. · B ut S e n at or
 ·4 · · · ·A · ·I di d.                                                            ·4 · ·H uff m a n n o w i s t h e -- w a s t h e c h air of t h e
 ·5 · · · ·Q · ·A n d t h er e w er e t hr e e f e d er al j u d g e s t h er e    ·5 · ·c o m mitt e e i n t hi s m o st r e c e nt --
 ·6 · ·a s w ell, ri g ht ?                                                        ·6 · · · ·A · ·Y e s.
 ·7 · · · ·A · ·T h er e w er e.                                                   ·7 · · · ·Q · ·A n d a s y o u j u st n ot e d, s h e w a s o n t h e
 ·8 · · · ·Q · ·A n d it w a s y o ur o pi ni o n t h at it w a s n ot             ·8 · ·c o m mitt e e i n 2 0 1 3 ?
 ·9 · ·i nt e nti o n all y di s cri mi n at or y ?                                ·9 · · · ·A · ·I b eli e v e t h at' s ri g ht.
 1 0 · · · ·A · ·A b s ol ut el y.                                                 1 0 · · · ·Q · ·I t hi n k it' s al s o tr u e t h at s h e w a s o n t h e
 1 1 · · · ·Q · ·B ut ulti m at el y t h e c o urt f o u n d t h at ?              1 1 · ·c o m mitt e e i n 2 0 1 1; d o e s t h at s o u n d ri g ht ?
 1 2 · · · ·A · ·Ri g ht.                                                          1 2 · · · ·A · ·I b eli e v e t h at' s c orr e ct.
 1 3 · · · ·Q · ·A n d t h e n y o u a c c e pt e d it; i s t h at tr u e ?        1 3 · · · ·Q · ·I n t er m s of w h at y o u' v e l ai d o ut h er e i n
 1 4 · · · ·A · ·W ell, y e a h.                                                   1 4 · ·t h e s e pri or p ar a gr a p h s of y o ur d e cl ar ati o n a n d w h at
 1 5 · · · ·Q · ·O k a y. · A n d s o i n r e s p o n s e t o it y o u l e d       1 5 · ·t h e c o m mitt e e w a s t ol d b y t h e Att or n e y G e n er al w h at
 1 6 · ·t h e c o m mitt e e i n p a s si n g a pl a n t h at t h e c o urt        1 6 · ·t h e f e d er al c o urt d e ci si o n s ai d, t h at i nf or m ati o n
 1 7 · ·w o ul d a p pr o v e ?                                                    1 7 · ·w a s s h ar e d wit h S e n at or H uff m a n a n d t h e r e st of t h e
 1 8 · · · ·A · ·Y e s.                                                            1 8 · ·c o m mitt e e; w o ul d y o u a gr e e ?
 1 9 · · · ·Q · ·Y o u d o n't h a v e a n y r e gr et a b o ut t h at ?           1 9 · · · ·A · ·Y e s.
 2 0 · · · ·A · ·I' m s orr y ?                                                    2 0 · · · ·Q · ·O k a y. · N o w, y o u ar e f a mili ar wit h
 2 1 · · · ·Q · ·Y o u d o n't h a v e a n y r e gr et a b o ut t h at ?           2 1 · ·r e di stri cti n g wit h r a ci all y p ol ari z e d v oti n g ? I
 2 2 · · · ·A · ·A b o ut dr a wi n g t h e fir st m a p ?                         2 2 · ·u n d er st a n d y o u m a y n ot b e a n e x p ert i n it, b ut
 2 3 · · · ·Q · ·N o, a b o ut dr a wi n g t h e r e m e d y pl a n i n            2 3 · ·y o u' v e h e ar d t h at p hr a s e ?
 2 4 · ·r e s p o n s e t o t h e c o urt ?                                        2 4 · · · ·A · ·I' v e c ert ai nl y h e ar d t h e p hr a s e.
 2 5 · · · ·A · ·Y e a h, I r e gr et t h at w e h a d t o b e c a u s e I         2 5 · · · ·Q · ·O k a y. · Y o u k n o w it' s a n i m p ort a nt i s s u e

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 ·1 · ·t h at c o urt s r e s ol v e i n v oti n g ri g ht s c a s e s ?                ·1 · · · · · · · M· R. O PI E L A: · I d o n't h a v e a n y
 ·2 · · · ·A · ·Y e s.                                                                  ·2 · ·o bj e cti o n t o t h at. · It' s y o ur pri vil e g e t o w ai v e or
 ·3 · · · ·Q · ·O k a y. · A n d s o y o u s ai d h er e i n P ar a gr a p h            ·3 · ·n ot.
 ·4 · ·9, t h e c o m mitt e e m e m b er s al s o k n e w t h at v oti n g i n         ·4 · · · · · · · T· H E WI T N E S S: · I' m n ot g oi n g t o w ai v e.
 ·5 · ·T e x a s a n d T arr a nt C o u nt y i s r a ci all y p ol ari z e d; i s       ·5 · · · ·Q · ·( B Y M R. D U N N)· S o y o u'r e g oi n g t o t a k e t h e
 ·6 · ·t h at ri g ht ?                                                                 ·6 · ·dir e cti o n of t h e Att or n e y G e n er al' s offi c e a n d n ot
 ·7 · · · ·A · ·Y e s.                                                                  ·7 · ·a n s w er q u e sti o n s a b o ut a n y a d vi c e or di s c u s si o n s
 ·8 · · · ·Q · ·A n d t h at' s s o m et hi n g t h at y o u I' m a s s u mi n g        ·8 · ·t h e y h a d wit h y o u ?
 ·9 · ·s a w h o ur s of t e sti m o n y o n i n t h e c o urt pr o c e e di n g s ?    ·9 · · · ·A · ·I h a v e t o t hi s p oi nt, b ut t h at' s n o
 1 0 · · · ·A · ·A s a wit n e s s I di d n ot g o -- c o ul d n't g o                  1 0 · ·c o m mit m e nt t o f ut ur e i n p ut.
 1 1 · ·i n a n d s e e t h o s e c o urt pr o c e e di n g s, b ut y e a h, I          1 1 · · · ·Q · ·I u n d er st a n d.· If y o u d o n't mi n d, l et m e
 1 2 · ·b eli e v e t h at w a s s u bj e ct -- t h at w a s a bi g, bi g               1 2 · ·fi ni s h m y q u e sti o n s s o w e h a v e a r e c or d.
 1 3 · ·s u bj e ct i n t h er e b e c a u s e w e t al k e d a b o ut it i n m y       1 3 · · · ·A · ·O k a y.
 1 4 · ·d e p o siti o n s pri or t o t h o s e c o urt pr o c e e di n g s.            1 4 · · · ·Q · ·Y o u'r e g oi n g t o t a k e t h e Att or n e y
 1 5 · · · ·Q · ·O k a y. · S etti n g a si d e t h e liti g ati o n t h e n            1 5 · ·G e n er al' s offi c e dir e cti o n a n d n ot a n s w er a n y
 1 6 · ·f or a m o m e nt, w h e n y o u w er e c h air of t h e c o m mitt e e,        1 6 · ·q u e sti o n s a b o ut t h e c o m m u ni c ati o n s y o u h a d or
 1 7 · ·w er e y o u bri ef e d, y o u k n o w, w h et h er i n p u bli c or            1 7 · ·a d vi c e y o u r e c ei v e d fr o m t h e Att or n e y G e n er al' s
 1 8 · ·pri v at e b y e x p ert s o n r a ci all y p ol ari z e d v oti n g ?          1 8 · ·offi c e i n t h e 2 0 1 1 a n d ' 1 3 liti g ati o n; i s t h at
 1 9 · · · ·A · ·Y e s.                                                                 1 9 · ·ri g ht ?
 2 0 · · · · · · · M· R. O PI E L A: · I w a s g oi n g t o -- w ell,                   2 0 · · · ·A · ·D e p e n di n g u p o n t h e a d vi c e of m y c o u n s el.
 2 1 · ·g o a h e a d.                                                                  2 1 · · · ·Q · ·A s y o ur att or n e y n ot e d t o d a y it' s y o ur
 2 2 · · · ·Q · ·( B Y M R. D U N N)· W er e t h o s e p u bli c bri efi n g s          2 2 · ·pri vil e g e t o d e ci d e w h et h er y o u w a nt t o i n v o k e or
 2 3 · ·or pri v at e or b ot h ?                                                       2 3 · ·n ot. · I' m r e all y n ot tr yi n g t o b e diffi c ult wit h
 2 4 · · · ·A · ·T h o s e w er e pri v at e bri efi n g s a n d all wit h              2 4 · ·y o u.
 2 5 · ·c o u n s el.                                                                   2 5 · · · · · · · M· R. H U D S O N: · I' m g oi n g t o o bj e ct t o

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 ·1 · · · ·Q · ·O k a y. · A n d t h e c o u n s el y o u'r e r ef erri n g t o         ·1 · ·t h at li n e of q u e sti o ni n g.· Y o u' v e s u g g e st e d t o t h e
 ·2 · ·t h er e i s t h e Att or n e y G e n er al' s offi c e ?                        ·2 · ·wit n e s s a f e w ti m e s t h at h e h a s t h e a bilit y t o
 ·3 · · · ·A · ·B ot h t h e Att or n e y G e n er al' s offi c e a n d                 ·3 · ·w ai v e t h e pri vil e g e. · It' s g etti n g a wf ul cl o s e t o
 ·4 · ·Pr of e s s or s G ui n n a n d M orri s o n of B a yl or U ni v er sit y.       ·4 · ·s u g g e sti n g t h at h e s h o ul d a n d hi s att or n e y f or
 ·5 · · · ·Q · ·All ri g ht. · T h o s e w er e t w o pr of e s s or s t h at           ·5 · ·p ur p o s e s of 2 0 1 1 or 2 0 1 3 w a s t h e Att or n e y G e n er al' s
 ·6 · ·t h e st at e h a d hir e d t o h el p a d vi s e y o ur c o m mitt e e;         ·6 · ·offi c e, n ot Eri c O pi el a. · A n d s o t o t h e e xt e nt t h at
 ·7 · ·i s t h at ri g ht ?                                                             ·7 · ·y o u'r e tr yi n g t o e n cr o a c h o n att or n e y- cli e nt
 ·8 · · · ·A · ·C orr e ct.                                                             ·8 · ·pri vil e g e a n d att or n e y w or k pr o d u ct fr o m pri or
 ·9 · · · ·Q · ·B ut h a d y o u al s o r e c ei v e d a d vi c e o n r a ci al         ·9 · ·c a s e s, Mr. O pi el a i s n ot h er e t o d a y t o a d vi s e hi m.
 1 0 · ·p ol ari z e d v oti n g fr o m t h e Att or n e y G e n er al' s               1 0 · ·A n d s o I w o ul d a s k t h at y o u pl e a s e st o p s u g g e sti n g
 1 1 · ·offi c e ?                                                                      1 1 · ·t o t h e wit n e s s t h at, y o u k n o w, h e c a n a n d --
 1 2 · · · · · · · M· R. H U D S O N: · I o bj e ct b a s e d o n                       1 2 · ·i m pl yi n g t h at h e s h o ul d w ai v e hi s pri vil e g e t o
 1 3 · ·att or n e y- cli e nt pri vil e g e, att or n e y w or k pr o d u ct.          1 3 · ·att or n e y- cli e nt pri vil e g e a n d att or n e y w or k
 1 4 · · · · · · · M· R. D U N N: · W ell, o ur p o siti o n i s si n c e               1 4 · ·pr o d u ct.
 1 5 · ·t h e Att or n e y G e n er al' s offi c e i s cr o s s- e x a mi ni n g        1 5 · · · ·Q · ·( B Y M R. D U N N)· All I' m tr yi n g t o e st a bli s h
 1 6 · ·t h eir f or m er cli e nt t h at w e ar e e ntitl e d t o a n y of             1 6 · ·i s y o u'r e g oi n g t o t a k e Mr. H u d s o n' s dir e cti o n a n d
 1 7 · ·t h at di s c u s si o n.                                                       1 7 · ·n ot a n s w er a n y q u e sti o n s a b o ut y o ur c o m m u ni c ati o n s
 1 8 · · · · · · · M· R. H U D S O N: · W ell, o ur p o siti o n i s w e                1 8 · ·wit h t h e Att or n e y G e n er al' s offi c e d uri n g t h e 2 0 1 1
 1 9 · ·ar e i n str u cti n g y o u n ot t o a n s w er a n d w e d o n't              1 9 · ·a n d 2 0 1 3 liti g ati o n a b o ut r e di stri cti n g ?
 2 0 · ·t hi n k t h at y o u'r e w ai vi n g pri vil e g e b y t e stif yi n g         2 0 · · · ·A · ·Y e s, I a m, u nl e s s ot h er wi s e a d vi s e d b y m y
 2 1 · ·t o d a y s o t o t h e e xt e nt t h at t h e y ar e e n cr o a c hi n g o n   2 1 · ·att or n e y.
 2 2 · ·att or n e y- cli e nt pri vil e g e or att or n e y w or k pr o d u ct,        2 2 · · · ·Q · ·O k a y. · N o w, i n t er m s of g oi n g b a c k t o t h e
 2 3 · ·t h e Att or n e y G e n er al' s offi c e p o siti o n i s y o u               2 3 · ·r a ci all y p ol ari z e d v oti n g ?
 2 4 · ·s h o ul d n ot a n s w er t h at q u e sti o n.                                2 4 · · · ·A · ·U m- h u m.
 2 5 · · · · · · · T· H E WI T N E S S: · O k a y.                                      2 5 · · · ·Q · ·T ell u s a n d I u n d er st a n d y o u'r e n ot a n

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 ·1 · ·e x p ert i n it, b ut t ell u s w h at y o ur ki n d of                           ·1 · · · ·Q · ·Y o u g a v e s o m e c o m m e nt s o n t h e s e n at e fl o or
 ·2 · ·u n d er st a n di n g of r a ci all y p ol ari z e d v oti n g i s ?              ·2 · ·a b o ut t h e m a p ar o u n d t h e v ot e ?
 ·3 · · · · · · · M· R. H U D S O N: · I' m g oi n g t o o bj e ct b a s e d              ·3 · · · ·A · ·I di d.
 ·4 · ·o n att or n e y- cli e nt pri vil e g e a n d att or n e y w or k                 ·4 · · · ·Q · ·A n d t h at i nf or m ati o n of c o ur s e i s
 ·5 · ·pr o d u ct. · If y o u c a n a n s w er t h at q u e sti o n wit h o ut           ·5 · ·a v ail a bl e t o a n y o n e t o g et a s e n s e of w h at y o u
 ·6 · ·e n cr o a c hi n g o n eit h er of t h o s e pri vil e g e s fr o m               ·6 · ·t h o u g ht a b o ut t h e pl a n; i s t h at tr u e ?
 ·7 · ·pri or i n str u cti o n a n d pri or c a s e s y o u'r e fr e e t o               ·7 · · · ·A · ·Y e a h.
 ·8 · ·a n s w er, b ut if y o u c a n't, I' m i n str u cti n g y o u n ot               ·8 · · · ·Q · ·I' m n ot a s ki n g y o u -- I k n o w y o u d o n't
 ·9 · ·t o a n s w er.                                                                    ·9 · ·h a v e it m e m ori z e d, b ut w h at ar e s o m e of t h e
 1 0 · · · ·A · ·I c a n't.· I c a n't r e all y d efi n e it.                            1 0 · ·c o m m e nt s y o u r e c all h a vi n g m a d e o n t h e fl o or ?
 1 1 · · · ·Q · ·( B Y M R. D U N N)· O k a y.                                            1 1 · · · ·A · ·T h at t h e a s s erti o n --
 1 2 · · · ·A · ·It' s j u st b e e n a l o n g ti m e.                                   1 2 · · · · · · · M· R. O PI E L A: · G o a h e a d.
 1 3 · · · ·Q · ·S ur e. · N o. · F air e n o u g h. · S o I will                         1 3 · · · ·A · ·T h at t h e a s s erti o n t h at it w a s d o n e t o
 1 4 · ·r e pr e s e nt t o y o u t h at r a ci all y p ol ari z e d v oti n g            1 4 · ·s ort of c o n c e ntr ati o n of a g i n Di stri ct 2 8, i n oil
 1 5 · ·t y pi c all y i s off er e d a s e vi d e n c e t o s h o w t h at               1 5 · ·a n d g a s i n Di stri ct 3 1, t h at t h o s e ar g u m e nt s w er e
 1 6 · ·c ert ai n r a ci al gr o u p s pr ef er o n e t y p e of c a n di d at e         1 6 · ·s p e ci o u s a n d u ntr u e a n d I t h o u g ht it w a s c o ntri v e d.
 1 7 · ·a n d ot h er r a ci al gr o u p s pr ef er ot h er t y p e s of                  1 7 · · · ·Q · ·( B Y M R. D U N N)· Y o u s ai d t h at t h e n ?
 1 8 · ·c a n di d at e s ?                                                               1 8 · · · ·A · ·Y e a h.
 1 9 · · · ·A · ·Ri g ht.                                                                 1 9 · · · ·Q · ·O k a y. · A n d s o i n t h at s e n s e w h at y o u h a v e
 2 0 · · · ·Q · ·A n d it r eli e s o n el e cti o n d at a t o r e a c h                 2 0 · ·s ai d t o d a y o n t h at s u bj e ct i s c o n si st e nt wit h w h at
 2 1 · ·t h e s e c o n cl u si o n s a n d t h er e ar e a p pr o pri at e e x p ert s   2 1 · ·y o u s ai d t h e n ?
 2 2 · ·t o t e stif y a b o ut t h at.· Y o u'r e a w ar e of all t h at                 2 2 · · · ·A · ·Y e s.
 2 3 · ·g e n er all y ?                                                                  2 3 · · · ·Q · ·H a v e y o u h a d --
 2 4 · · · ·A · ·Y e s.                                                                   2 4 · · · ·A · ·M ali ci o u s a n d m ali ci o u s.
 2 5 · · · ·Q · ·O k a y. · A n d t h at' s t e sti m o n y or e vi d e n c e             2 5 · · · ·Q · ·D o y o u -- w h at m a k e s y o u b eli e v e it w a s

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 ·1 · ·t h at y o u h a v e s e e n o v er t h e c o ur s e of y o ur c ar e er           ·1 · ·m ali ci o u s ?
 ·2 · ·i n t h e r e di stri cti n g c o m mitt e e, I m e a n, w o ul d y o u            ·2 · · · ·A · ·I t hi n k b e c a u s e t h e str ai n e d r el ati o n s hi p
 ·3 · ·h a v e e v er s e e n a r a ci all y p ol ari z e d v oti n g                     ·3 · ·wit h Li e ut e n a nt G o v er n or a n d S e n at or H uff m a n.
 ·4 · ·a n al y si s ?                                                                    ·4 · · · ·Q · ·W a s t h e -- y o u w er e a s k e d a n u m b er of
 ·5 · · · ·A · ·O h, I' m s ur e I s a w a n al y si s at s o m e p oi nt.                ·5 · ·q u e sti o n s t o d a y a b o ut y o ur, y o u k n o w, r el ati o n s hi p
 ·6 · · · ·Q · ·O k a y.                                                                  ·6 · ·wit h t h e R e p u bli c a n p art y a n d s u p p ort a n d t hi n g s of
 ·7 · · · · · · · M· R. O PI E L A: · G o a h e a d.                                      ·7 · ·t h at.· D o y o u r e c all t h at g e n er all y ?
 ·8 · · · ·Q · ·( B Y M R. D U N N)· S o t h at' s ulti m at el y h o w                   ·8 · · · ·A · ·Y e s.
 ·9 · ·y o u k n o w t h at i n T arr a nt C o u nt y t h e v oti n g i s                 ·9 · · · ·Q · ·N o w, di d y o u vi e w w h at w a s d o n e t o y o ur
 1 0 · ·r a ci all y p ol ari z e d a s y o u s a y i n P ar a gr a p h 9 of              1 0 · ·di stri ct a s a p u ni s h m e nt ?
 1 1 · ·y o ur d e cl ar ati o n ?                                                        1 1 · · · · · · · T· H E WI T N E S S: · W h e n e v er y o u cl e ar y o ur
 1 2 · · · ·A · ·U m- h u m.                                                              1 2 · ·t hr o at or s o m et hi n g, I t hi n k y o u'r e g oi n g t o s a y
 1 3 · · · ·Q · ·I s t h at a y e s ?                                                     1 3 · ·s o m et hi n g.
 1 4 · · · ·A · ·It' s y e s.· T h at w a s t h e d e ci si o n of t h e                  1 4 · · · · · · · M· R. O PI E L A: · N o, I' m tr yi n g t o pr o c e s s
 1 5 · ·c o urt. · I d o n't c o n c e d e it.                                            1 5 · ·w h at h e' s a s ki n g a n d t h e w a y h e' s a s ki n g.
 1 6 · · · ·Q · ·I s e e.· O k a y. · B ut t h at' s w h at t h e c o urt                 1 6 · · · ·A · ·W a s n't p u ni s h m e nt s o m u c h a s it w a s
 1 7 · ·t ol d i n it s o pi ni o n a n d t h at' s w h at w a s s h ar e d wit h         1 7 · ·d e si g n e d t o b e a d v er s e t o m e; m or e t h at w a y.
 1 8 · ·y o u a n d t h e r e st of t h e c o m mitt e e m e m b er s ?                   1 8 · · · ·Q · ·( B Y M R. D U N N)· I s t h at t h e -- I m e a n,
 1 9 · · · ·A · ·Ri g ht.                                                                 1 9 · ·s o m e b o d y t h at' s b e e n i n t h e s e n at e all t h e s e y e ar s,
 2 0 · · · ·Q · ·N o w, y o u w er e a s k e d q uit e a f e w q u e sti o n s            2 0 · ·i s t h at t h e s e n s e of h o w t hi n g s s o m eti m e s g o, y o u
 2 1 · ·fr o m Mr. H u d s o n o n P ar a gr a p h 1 0 a n d t h er e y o u s a y,        2 1 · ·f all o ut of li n e wit h l e a d er s hi p a n d t h er e' s a
 2 2 · ·t h e 2 0 2 1 s e n at e r e di stri cti n g pr o c e s s s a w u ntr u e,        2 2 · ·r e a cti o n ?
 2 3 · ·pr et e xt u al e x pl a n ati o n s gi v e n f or w h y t h e li n e s           2 3 · · · ·A · ·A b s ol ut el y.
 2 4 · ·w er e dr a w n a s t h e y w er e. · D o y o u s e e t h at ?                    2 4 · · · ·Q · ·Y o u w er e a s k e d a n u m b er of q u e sti o n s a b o ut
 2 5 · · · ·A · ·Y e s.                                                                   2 5 · ·h o w y o u v ot e a n d di d y o u v ot e, y o u k n o w,

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 ·1 · ·c o n s er v ati v el y e n o u g h a n d d o y o u r e c all t h o s e             ·1 · · · ·A · ·I n 2 0 -- I f or g et t h e y e ar, b ut it w a s t h e
 ·2 · ·q u e sti o n s g e n er all y ?                                                    ·2 · ·y e ar t h e m e a s ur e w a s b ef or e t h e c a u c u s of t h e
 ·3 · · · ·A · ·Y e s.                                                                     ·3 · ·s e n at e t o t a k e o ur t hr e s h ol d fr o m 2 1 v ot e s t o 1 9
 ·4 · · · ·Q · ·W a s t h at -- w a s it y o ur e x p eri e n c e t h at                   ·4 · ·v ot e s r e q uir e d t o bri n g a m e a s ur e t o t h e fl o or
 ·5 · ·w h e n y o u di d n't v ot e wit h t h e pri oriti e s of t h e                    ·5 · ·aft er it c a m e o ut of c o m mitt e e. · O n e R e p u bli c a n
 ·6 · ·Li e ut e n a nt G o v er n or t h er e w a s a r e a cti o n a n d it w a s        ·6 · ·v ot e d a g ai n st -- a n d t hi s i s a r ul e s c h a n g e, n ot a
 ·7 · ·s wift ?                                                                            ·7 · ·pi e c e of l e gi sl ati o n -- Cr ai g E st e s of Wi c hit a
 ·8 · · · ·A · ·I d o n't k n o w w h at y o u c all s wift.· W a s it                     ·8 · ·F all s w h o v ot e d a g ai n st t h at r ul e s c h a n g e a n d hi s
 ·9 · ·pr of o u n d a n d vi n di cti v e, y e s, it w a s.                               ·9 · ·n e xt s e s si o n w a s t a k e n off a s c h air m a n I t hi n k of
 1 0 · · · ·Q · ·All ri g ht. · A n d w o ul d t h at h a v e b e e n tr u e               1 0 · ·t h e A gri c ult ur e C o m mitt e e a n d w a s t a k e n off t h e
 1 1 · ·i n t er m s of v oti n g a g ai n st a r e di stri cti n g bill ?                 1 1 · ·Fi n a n c e C o m mitt e e.
 1 2 · · · ·A · ·T h er e' s n ot m u c h el s e t h at t h e Li e ut e n a nt             1 2 · · · ·Q · ·D o y o u r e c all a n y ot h er e x a m pl e s ?
 1 3 · ·G o v er n or c a n t a k e fr o m m e s o n ot n e c e s s aril y. · S o          1 3 · · · ·A · ·N o.
 1 4 · ·t h at' s j u st t h e a n s w er.                                                 1 4 · · · ·Q · ·Ot h er t h a n y o ur o w n ?
 1 5 · · · ·Q · ·I u n d er st a n d, b ut i n t er m s of t h e ot h er                   1 5 · · · ·A · ·M y o w n.
 1 6 · ·m e m b er s of t h e s e n at e w h o still h a d t h eir c o m mitt e e          1 6 · · · ·Q · ·S o w a s it y o ur i m pr e s si o n t h at if y o u
 1 7 · ·a s si g n m e nt s a n d ot h er t hi n g s t h at, y o u k n o w, t h e          1 7 · ·di d n't v ot e f or t h e l e a d er s hi p' s r e di stri cti n g bill
 1 8 · ·ot h er ki n d of a s si g n m e nt s t h at a s e n at or u s u all y             1 8 · ·t h at t h er e w o ul d h a v e b e e n a r e a cti o n ?
 1 9 · ·r e c ei v e s, b a s e d o n y o ur e x p eri e n c e i s it r e a s o n a bl e   1 9 · · · ·A · ·T h at' s a n a b s ol ut e c o n vi cti o n, b ut li k e I
 2 0 · ·t o b eli e v e t h at v oti n g a g ai n st a r e di stri cti n g bill            2 0 · ·s ai d, t h er e' s n ot m u c h m or e t h e y c a n t a k e fr o m m e.
 2 1 · ·mi g ht c o n c er n a n ot h er m e m b er of t h e m l o si n g s o m e of       2 1 · · · ·Q · ·Ri g ht, b ut t h er e w er e ot h er t hi n g s t h at
 2 2 · ·t h eir e m ol u m e nt i nt o offi c e ?                                          2 2 · ·ot h er R e p u bli c a n m e m b er s c o ul d h a v e t a k e n fr o m t h e m
 2 3 · · · ·A · ·N o q u e sti o n.                                                        2 3 · ·at t h at ti m e ?
 2 4 · · · · · · · M· R. O PI E L A: · O bj e ct t o f or m o n t h at.                    2 4 · · · ·A · ·C h air m a n s hi p s a n d I w a s t h e s e ni or
 2 5 · · · · · · · T· H E WI T N E S S: · J u st t o f or m ?                              2 5 · ·R e p u bli c a n wit h o ut a c h air.

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 ·1 · · · · · · · M· R. O PI E L A: · Y e s, y o u h a v e t o a n s w er.                 ·1 · · · ·Q · ·All t h e ot h er s e n at or s, of c o ur s e, s a w t h e
 ·2 · · · ·A · ·B e c a u s e i n tr ut h, y e s, it di d h a p p e n. · A n d             ·2 · ·tr e at m e nt t h at y o u h a d s uff er e d ?
 ·3 · ·t h e 8 7t h Di stri ct j u st p a s s e d, S e n at or H a n c o c k --            ·3 · · · ·A · ·Y e s.
 ·4 · ·o n t h e bill s h a vi n g t o d o wit h el e ctri c al gri d,                     ·4 · · · ·Q · ·T h e y h a d s e e n -- t h o s e w h o h a d b e e n t h er e
 ·5 · ·S e n at or H a n c o c k di d a l ot of r e s e ar c h a n d w or k o n            ·5 · ·s a w S e n at or E st e s' s tr e at m e nt aft er hi s v ot e; i s
 ·6 · ·t h e i s s u e.· A n d t h e Li e ut e n a nt G o v er n or -- w h o e v er        ·6 · ·t h at ri g ht ?
 ·7 · ·wit h t h e Li e ut e n a nt G o v er n or, I a s s u m e S e n at or               ·7 · · · ·A · ·Y e s.
 ·8 · ·S c h w ert n er b ut I d o n't k n o w t h at -- di d a l ot of                    ·8 · · · ·Q · ·D o y o u t hi n k o b s er vi n g t h at h a d a r e a cti o n
 ·9 · ·w or k o n t h e t hi n g a n d t h e y h a d bill s t h at w er e                  ·9 · ·i n t h e c h a m b er i n t er m s of h o w t h e y s a w t hi n g s ?
 1 0 · ·s u b st a nti all y diff er e nt. · W h e n S e n at or H a n c o c k --          1 0 · · · · · · · M· R. O PI E L A: · O bj e cti o n, f or m.
 1 1 · ·t hi s tr a n s pir e d o n t h e fl o or s o I c a n -- w h e n                   1 1 · · · · · · · M· R. H U D S O N: · O bj e cti o n, f or m.
 1 2 · ·S e n at or H a n c o c k v ot e d i n f a v or of hi s w or k pr o d u ct         1 2 · · · ·A · ·Y e s, I d o, a n d I' m t ol d t h at t h er e' s a
 1 3 · ·-- a n d it s h o ul d b e n ot e d t h at I v ot e d a g ai n st                  1 3 · ·t er m t h at g o e s ar o u n d t h e R e p u bli c c a u c u s of b ei n g
 1 4 · ·S e n at or H a n c o c k' s p o siti o n a n d wit h t h e Li e ut e n a nt       1 4 · ·S eli g er e d a n d t h at' s w h e n t h e r e cri mi n ati o n s c o m e.
 1 5 · ·G o v er n or' s -- h e w a s s u m m aril y di s c h ar g e d a s t h e           1 5 · · · ·Q · ·( B Y M R. D U N N)· Si n c e t h er e i s a n
 1 6 · ·c h air m a n of t h e b u si n e s s a n d c o m m er c e c o m mitt e e a n d    1 6 · ·o bj e cti o n, I' m g oi n g t o a s k y o u a diff er e nt w a y.
 1 7 · ·I t hi n k t a k e n off t h e c o m mitt e e alt o g et h er.· S o                1 7 · ·W h at i s b ei n g S eli g er e d ?
 1 8 · ·y e a h, v ot e a g ai n st l e a d er s hi p a n d it' s g oi n g t o b e         1 8 · · · ·A · ·N ot v oti n g wit h l e a d er s hi p a n d l o si n g
 1 9 · ·s wift a n d s ur e.                                                               1 9 · ·c h air m a n s hi p or ot h er c o m mitt e e a s si g n m e nt s.
 2 0 · · · ·Q · ·( B Y M R. D U N N)· S o w e' v e h a d a n o bj e cti o n                2 0 · · · ·Q · ·H a v e y o u h e ar d t h at u s e d b y ot h er s ?
 2 1 · ·s o I h a v e t o g o b a c k a n d a s k q u e sti o n s a g ai n w h e n         2 1 · · · ·A · ·I h a v e b e e n t ol d --
 2 2 · ·w e h a v e o bj e cti o n s s o l et m e a s k y o u t hi s, w h at               2 2 · · · · · · · M· R. O PI E L A: · O bj e cti o n, a s t o a n y
 2 3 · ·e x a m pl e s d o y o u r e c all of ot h er s e n at or s b ei n g               2 3 · ·n o n p u bli c c o m m u ni c ati o n s.
 2 4 · ·p u ni s h e d b y l e a d er s hi p f or n ot v oti n g f or a                    2 4 · · · ·A · ·Y e a h, it' s n ot a n o n p u bli c c o m m u ni c ati o n.
 2 5 · ·p arti c ul ar m e a s ur e ?                                                      2 5 · · · ·Q · ·( B Y M R. D U N N)· I s e e.· H o w w o ul d y o u

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 ·1 · ·d e s cri b e t h e t er m b ei n g S eli g er e d ?                               ·1 · ·or d er t o cr e at e di sti n cti v e a gri c ult ur e v er s u s oil
 ·2 · · · ·A · ·V oti n g a g ai n st Li e ut e n a nt G o v er n or' s                   ·2 · ·a n d g a s di stri ct s b et w e e n S D 3 1 a n d S D 2 8; i s t h at
 ·3 · ·p o siti o n a n d l o si n g a c h air m a n s hi p or ot h er                    ·3 · ·y o ur t e sti m o n y ?
 ·4 · ·c o m mitt e e a s si g n m e nt s.                                                ·4 · · · ·A · ·T h at i s.
 ·5 · · · ·Q · ·A n d t h e ot h er e x a m pl e y o u c a n t hi n k of                  ·5 · · · ·Q · ·A n d I' m r e a di n g t h at w a y s o t h at it' s
 ·6 · ·t h at i s t h e S e n at or E st e s cir c u m st a n c e y o u                   ·6 · ·e a si er f or h er t o t a k e it d o w n.
 ·7 · ·d e s cri b e d e arli er ?                                                        ·7 · · · ·A · ·O k a y.
 ·8 · · · ·A · ·S e n at or E st e s a n d t h e e x a m pl e of S e n at or              ·8 · · · ·Q · ·N o w, y o u w er e -- y o u h a d st art e d t o s a y a
 ·9 · ·H a n c o c k.                                                                     ·9 · ·bit d uri n g Mr. H u d s o n' s q u e sti o n e x pl ai ni n g t h at.
 1 0 · · · ·Q · ·W h at w a s t h e e x a m pl e of S e n at or H a n c o c k ?           1 0 · ·B ut c a n y o u e x pl ai n w h at y o u m e a nt b y t h e
 1 1 · · · ·A · ·S e n at or H a n c o c k al m o st i n t h e mi d dl e of               1 1 · ·a gri c ult ur e v er s u s t h e oil a n d g a s di stri ct s a n d
 1 2 · ·s e s si o n l o st hi s c h air m a n s hi p of t h e B u si n e s s a n d       1 2 · ·w h at y o u u n d er st o o d S e n at or H uff m a n' s e x pl a n ati o n
 1 3 · ·C o m m er c e C o m mitt e e i n w hi c h h e w a s d oi n g a v er y            1 3 · ·a n d w h at y o u t h o u g ht w a s i n c orr e ct a b o ut it ?
 1 4 · ·ni c e j o b a n d I t hi n k t h at h e w a s t a k e n off t h e                1 4 · · · ·A · ·S e n at e Di stri ct 2 8 h a s tr e m e n d o u s
 1 5 · ·B u si n e s s a n d C o m m er c e C o m mitt e e alt o g et h er. · It' s a     1 5 · ·c o n c e ntr ati o n of a gri c ult ur e pri m aril y b uilt ar o u n d
 1 6 · ·v er y i m p ort a nt c o m mitt e e. · It' s a v er y i m p ort a nt             1 6 · ·t h e c ott o n i n d u str y ar o u n d L u b b o c k.· T h er e' s al s o a
 1 7 · ·c h air m a n s hi p. · A n d j u st ri g ht i n s e s si o n t a k e n off.      1 7 · ·g o o d d e al of oil a n d g a s i n si d e of S e n at e Di stri ct
 1 8 · · · ·Q · ·W a s it y o ur o pi ni o n a s a m e m b er y o u di d n't              1 8 · ·2 8 b e c a u s e it g o e s w a y d o w n s o ut h. · At t h e s a m e
 1 9 · ·h a v e t h e fr e e d o m t o v ot e y o ur c o n s ci o u s ?                   1 9 · ·ti m e, t h e Di stri ct 3 1, t h e o n e t h at I r e pr e s e nt h a s
 2 0 · · · · · · · M· R. O PI E L A: · I' m g oi n g t o o bj e ct a s t o                2 0 · ·a tr e m e n d o u s a m o u nt of a gri c ult ur e, b ot h b e ef a n d
 2 1 · ·t h e c o nt e m pl ati o n s t h at h e h a s w h e n h e' s v oti n g o n       2 1 · ·c or n a n d p e a n ut s a n d all t h o s e t hi n g s, it' s v er y
 2 2 · ·bill s u n d er l e gi sl ati v e pri vil e g e.                                  2 2 · ·a gri c ult ur e. · It h a p p e n s t o b e a di v er sifi e d
 2 3 · · · · · · · M· R. D U N N: · Ar e y o u i n str u cti n g hi m n ot                2 3 · ·e c o n o m y a n d i s t h er e a l ot of oil a n d g a s, y e s,
 2 4 · ·t o a n s w er ?                                                                  2 4 · ·m o st of t h e oil a n d g a s i n t h e st at e of T e x a s
 2 5 · · · · · · · M· R. O PI E L A: · I a m.                                             2 5 · ·pr o b a bl y i s i n t h e P er mi a n B a si n, b ut a l ot of t h e

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 ·1 · · · · · · · T· H E WI T N E S S: · O k a y.                                         ·1 · ·P a n h a n dl e. · D o e s t h at m e a n t h at oil a n d g a s i s n ot
 ·2 · · · ·Q · ·( B Y M R. D U N N)· Di d y o u f e el fr e e t o v ot e                  ·2 · ·i m p ort a nt f or S e n at e Di stri ct 2 8, a b s ol ut el y n ot.
 ·3 · ·y o ur c o n s ci o u s a s a s e n at or ?                                        ·3 · ·T h e a s s erti o n w a s s p e ci o u s a n d u ntr u e a n d it' s j u st
 ·4 · · · · · · · M· R. O PI E L A: · I'll r e st or e t h at                             ·4 · ·t h e b e st t h at s h e c o ul d d o.
 ·5 · ·o bj e cti o n a s w ell.                                                          ·5 · · · ·Q · ·A n d y o u s ai d t h at at t h e ti m e ?
 ·6 · · · · · · · M· R. D U N N: · A g ai n, i n str u ct hi m n ot t o                   ·6 · · · ·A · ·Y e s.
 ·7 · ·a n s w er.                                                                        ·7 · · · ·Q · ·W h y d o y o u t hi n k, if y o u h a v e a n o pi ni o n,
 ·8 · · · · · · · M· R. O PI E L A: · I n str u ct hi m n ot t o                          ·8 · ·a s t o s h e w a s gi vi n g y o u a s p e ci o u s a n s w er ?
 ·9 · ·a n s w er b e c a u s e it' s g oi n g t o t h e s u b st a n c e of hi s         ·9 · · · ·A · ·T o tr y a n d t a k e t h o s e f o ur c o u nti e s i n t h e
 1 0 · ·d e ci si o n- m a ki n g w hil e h e' s a l e gi sl at or.                       1 0 · ·P a n h a n dl e, t h o s e b ei n g Gr a y, W h e el er, D o nl e y a n d
 1 1 · · · ·Q · ·( B Y M R. D U N N)· Ar e t h er e a n y ot h er s ort of                1 1 · ·C olli n g s w ort h, o ut of t h e di stri ct a n d a d di n g
 1 2 · ·r e a cti o n s t h at y o u h a v e o b s er v e d t h at l e a d er s hi p      1 2 · ·c o u nti e s t h at g o al m o st all t h e w a y t o t h e b or d er
 1 3 · ·h a s h a d w h e n it' s b e e n di s s ati sfi e d wit h a m e m b er' s        1 3 · ·li k e S c hl ei c h er a n d U pt o n a n d R e a g a n.· G o o d
 1 4 · ·v ot e ?                                                                          1 4 · ·c o u nti e s. · I h a v e n o o bj e cti o n t o r e pr e s e nti n g t h e m
 1 5 · · · ·A · ·N ot j u st off h a n d b e c a u s e t h e r e a cti o n i s            1 5 · ·b e c a u s e cl e arl y I w a s g oi n g t o h a v e t o r e pr e s e nt
 1 6 · ·pr ett y s wift a n d f or s ur e it i s u n mi st a k a bl e.                    1 6 · ·m or e t h a n t h e 3 7 c o u nti e s, b ut it w a s d e si g n e d t o
 1 7 · · · ·Q · ·R et ur ni n g b a c k t o y o ur d e cl ar ati o n i n                  1 7 · ·c o n c e ntr at e t h e v ot e t o t h e d e gr e e p o s si bl e i n t h e
 1 8 · ·P ar a gr a p h 1 0, i s it f air t o s a y t h at P ar a gr a p h 1 0            1 8 · ·ar e a cl o s e t o Mi dl a n d t o h el p Mr. S p ar k s.
 1 9 · ·l ar g el y s u m m ari z e s t h e c o m m e nt s t h at y o u m a d e o n       1 9 · · · ·Q · ·I s t h at w h er e Mr. S p ar k s i s fr o m ?
 2 0 · ·t h e fl o or d uri n g t h e d e b at e ?                                        2 0 · · · ·A · ·Y e s.
 2 1 · · · ·A · ·I t hi n k s o.                                                          2 1 · · · ·Q · ·W h y n ot j u st t ell y o u t h at ?
 2 2 · · · ·Q · ·A n d y o u s ai d i n t h e n e xt s e nt e n c e, f or                 2 2 · · · ·A · ·I d o n't k n o w, b e c a u s e e v er y b o d y i n si st s
 2 3 · ·e x a m pl e, I w a s t ol d b y S e n at or H uff m a n t h at m y               2 3 · ·t h e y ar e i n n o c e nt of a n y s u s p e ct m oti v e.
 2 4 · ·di stri ct w a s b ei n g c h a n g e d t o a d d m a n y n e w c o u nti e s     2 4 · · · ·Q · ·I d o n't w a nt t o -- I k n o w t h at y o ur
 2 5 · ·ar o u n d Mi dl a n d a n d r e m o v e P a n h a n dl e c o u nti e s i n       2 5 · ·l a w y er s ar e g oi n g t o i n str u ct y o u n ot t o a n s w er s o

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 ·1 · ·t h at' s w h y I' m g oi n g t o tr y t o a s k t hi s c ar ef ull y.            ·1 · ·g oi n g t o b e f or t h e c o urt t o d e ci d e w h et h er y o u c a n
 ·2 · · · ·A · ·O k a y.                                                                 ·2 · ·t e stif y a b o ut it s o d o n't t ell u s t h e s u b st a n c e
 ·3 · · · ·Q · ·H a v e y o u h a d a n y pri v at e c o n v er s ati o n s              ·3 · ·n o w, b ut w h at e v er y o u w er e t ol d i n s u b st a n c e, di d
 ·4 · ·wit h S e n at or H uff m a n a b o ut h er m oti v ati o n f or y o ur           ·4 · ·it i nf or m y o ur o pi ni o n a s t o w h et h er y o u w er e
 ·5 · ·p art of t h e pl a n ?                                                           ·5 · ·v oti n g f or t h e bill or n ot ?
 ·6 · · · · · · · M· R. O PI E L A: · Y e a h, y o u c a n't j u st a s k                ·6 · · · · · · · M· R. O PI E L A: · I' m g oi n g t o o bj e ct t o
 ·7 · ·t h e q u e sti o n a n ot h er w a y.· I' m g oi n g t o o bj e ct               ·7 · ·t h at o n e b e c a u s e t h at' s g oi n g t o g o u n d er t h e
 ·8 · ·a g ai n.                                                                         ·8 · ·l e gi sl ati v e pri vil e g e.
 ·9 · · · · · · · M· R. D U N N: · I' m e ntitl e d t o k n o w                          ·9 · · · · · · · M· R. D U N N: · O k a y.
 1 0 · ·w h et h er t h e c o n v er s ati o n e xi st e d, n ot w h at s h e s ai d     1 0 · · · · · · · T· H E WI T N E S S: · O k a y.
 1 1 · ·u n d er y o ur o bj e cti o n.                                                  1 1 · · · ·Q · ·( B Y M R. D U N N)· All ri g ht. · S o di d y o u h a v e
 1 2 · · · · · · · M· R. O PI E L A: · C orr e ct.                                       1 2 · ·a n y ot h er di s c u s si o n s wit h, y o u k n o w, w h at I w o ul d
 1 3 · · · · · · · M· R. D U N N: · I' m j u st a s ki n g w h et h er t h e             1 3 · ·c all I g u e s s s e n at e l e a d er s hi p a b o ut t h e s e n at e
 1 4 · ·c o n v er s ati o n h a p p e n e d. · T h e c o urt n e e d s t o k n o w      1 4 · ·di stri ct m a p i n pri v at e ?
 1 5 · ·t h at s o t h e y c a n r ul e o n t h e i s s u e.· If it di d n't             1 5 · · · · · · · M· R. H U D S O N: · O bj e cti o n, f or m.
 1 6 · ·h a p p e n, w e'r e all g oi n g t o s pi n o ur w h e el s.                    1 6 · · · · · · · M· R. O PI E L A: · I' m c o nf u s e d.· W h at' s t h e
 1 7 · · · · · · · M· R. O PI E L A: · O k a y.                                          1 7 · ·q u e sti o n ?
 1 8 · · · ·A · ·I d o n't mi n d a n s w eri n g if i n y o ur o pi ni o n              1 8 · · · ·Q · ·( B Y M R. D U N N)· S ur e. · W h at ot h er m e m b er s
 1 9 · ·it d o e s n ot hi n g t o c o m pr o mi s e pri vil e g e.                      1 9 · ·of t h e s e n at e di d y o u h a v e pri v at e c o n v er s ati o n s
 2 0 · · · · · · · M· R. O PI E L A: · S o c a n w e t a k e a littl e                   2 0 · ·a b o ut t h e s e n at e di stri ct m a p ?
 2 1 · ·br e a k h er e ?                                                                2 1 · · · ·A · ·I c a n't r e m e m b er, b ut t h er e w er e pr o b a bl y
 2 2 · · · · · · · M· R. D U N N: · I' m h a p p y t o t a k e a br e a k.               2 2 · ·a f e w di s c u s si o n s li k e t h at.
 2 3 · · · · · · · T· H E VI D E O G R A P H E R: · W e ar e off t h e                   2 3 · · · ·Q · ·B ut n o n e t h at y o u r e c all ?
 2 4 · ·r e c or d.· T h e ti m e i s 1 2: 0 2 p. m.                                     2 4 · · · ·A · ·N o.
 2 5 · · · · · · · (· Off t h e r e c or d.)                                             2 5 · · · ·Q · ·All ri g ht. · G oi n g b a c k t o y o ur d e cl ar ati o n

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 ·1 · · · · · · · T· H E VI D E O G R A P H E R: · W e ar e b a c k o n t h e            ·1 · ·i n P ar a gr a p h 1 1 y o u s a y -- w ell, a ct u all y l et m e
 ·2 · ·r e c or d.· T h e ti m e i s 1 2: 1 6 p. m.                                      ·2 · ·a s k y o u j u st a littl e bit m or e a b o ut 1 0.
 ·3 · · · ·Q · ·( B Y M R. D U N N)· O k a y, S e n at or, b ef or e t h e               ·3 · · · ·A · ·O k a y.
 ·4 · ·br e a k I h a d a s k e d y o u I d o n't w a nt t o k n o w t h e               ·4 · · · ·Q · ·T h e fi n al t hi n g y o u s a y h er e i s i n st e a d,
 ·5 · ·c o nt e xt of t h e di s c u s si o n or w h at w a s s ai d, b ut w a s         ·5 · ·it w a s o b vi o u s t h at t h e p ur p o s e of t h e s e c h a n g e s
 ·6 · ·t h er e e v er a n y di s c u s si o n s b et w e e n y o u a n d S e n at or    ·6 · ·w a s t o b e n efit a p ot e nti al R e p u bli c a n pri m ar y
 ·7 · ·H uff m a n a b o ut pri v at e di s c u s si o n s a b o ut t h e                ·7 · ·c h all e n g er fr o m Mi dl a n d pr ef err e d b y t h e Li e ut e n a nt
 ·8 · ·m oti v ati o n b e hi n d t h e s e n at e m a p ?                               ·8 · ·G o v er n or. · H o w di d y o u k n o w a b o ut t hi s R e p u bli c a n
 ·9 · · · ·A · ·N o, I di d h a v e a c o n v er s ati o n wit h h er.                   ·9 · ·pri m ar y c h all e n g er ? · W a s it i n t h e n e w s p a p er ?
 1 0 · ·It di d n't g et i nt o m oti v ati o n.                                         1 0 · · · ·A · ·H e h a d alr e a d y fil e d.
 1 1 · · · ·Q · ·O k a y. · W a s t h e c o n v er s ati o n a b o ut t h e              1 1 · · · ·Q · ·O k a y. · A n d h a d y o u e v er h a d a n y c o nt a ct
 1 2 · ·s e n at e m a p ?                                                               1 2 · ·wit h t h e c h all e n g er at all ?
 1 3 · · · ·A · ·Y e s.                                                                  1 3 · · · ·A · ·Y e s, b e c a u s e I r e pr e s e nt Mi dl a n d o v er t h e
 1 4 · · · ·Q · ·O k a y. · H a v e y o u at a n y p oi nt h a d a                       1 4 · ·y e ar s, n ot i n a s u b st a nti al a m o u nt.
 1 5 · ·c o n v er s ati o n wit h t h e Li e ut e n a nt G o v er n or a b o ut t h e   1 5 · · · ·Q · ·O k a y. · A n d w h at w a s hi s n a m e ?
 1 6 · ·s e n at e m a p a n d h o w it w a s cr aft e d ?                               1 6 · · · ·A · ·K e vi n S p ar k s.
 1 7 · · · ·A · ·N o.                                                                    1 7 · · · ·Q · ·W h at g a v e y o u t h e s e n s e t h at Mr. S p ar k s
 1 8 · · · ·Q · ·P u bli c or pri v at e ?                                               1 8 · ·w a s -- i n t al ki n g t o t h e Li e ut e n a nt G o v er n or or
 1 9 · · · ·A · ·P u bli c or pri v at e.                                                1 9 · ·S e n at or H uff m a n ?
 2 0 · · · ·Q · ·O k a y. · All ri g ht. · T h e di s c u s si o n y o u di d            2 0 · · · · · · · M· R. O PI E L A: · O bj e cti o n, f or m.
 2 1 · ·h a v e wit h S e n at or H uff m a n w a s i n a d v a n c e of t h e           2 1 · · · ·A · ·I d o n't k n o w t h at h e h a d.
 2 2 · ·v ot e or aft er w ar d s ?                                                      2 2 · · · ·Q · ·( B Y M R. D U N N)· O k a y. · L et m e a s k y o u t hi s.
 2 3 · · · ·A · ·I n a d v a n c e.                                                      2 3 · ·E arli er w h e n Mr. H u d s o n w a s a s ki n g y o u q u e sti o n s
 2 4 · · · ·Q · ·A n d di d -- a g ai n, I d o n't w a nt t o k n o w t h e              2 4 · ·t h at s ai d t h at y o u t h o u g ht Li e ut e n a nt G o v er n or h a d
 2 5 · ·c o nt e xt, w ell, I m e a n, I d o, b ut ulti m at el y it' s                  2 5 · ·t ol d S e n at or H uff m a n g et ri d of m y di stri ct i s w h at

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 ·1 · ·I wr ot e d o w n ?· D o y o u r e c all t h at t e sti m o n y ?                ·1 · ·u n d er st a n di n g of w h at y o ur r e c oll e cti o n i s s o at
 ·2 · · · ·A · ·I di d n't s a y g et ri d of m y di stri ct, b ut                      ·2 · ·t hi s p oi nt y o u h a v e n ot e x a mi n e d w h et h er t h er e ar e
 ·3 · ·d o I t hi n k t h e Li e ut e n a nt G o v er n or pl a y e d a r ol e,         ·3 · ·u ntr u e r e a s o n s off er e d f or ot h er di stri ct s i n t h e
 ·4 · ·a b s ol ut el y I d o.                                                          ·4 · ·s e n at e pl a n ?
 ·5 · · · ·Q · ·O k a y. · W h at m a k e s y o u t hi n k t h at ?                     ·5 · · · ·A · ·N o.
 ·6 · · · ·A · ·I t hi n k h e w a s i nti m at el y i n v ol v e d i n t h e           ·6 · · · ·Q · ·A n d y o u'r e n ot t e stif yi n g t o d a y w h et h er
 ·7 · ·w h ol e pr o c e s s. · I t hi n k t h e Tr u m p e n d or s e m e nt           ·7 · ·u ntr u e r e a s o n s w er e or w er e n ot off er e d f or ot h er
 ·8 · ·e s s e nti all y w a s r e q u e st e d of t h e f or m er pr e si d e nt       ·8 · ·di stri ct s i n t h e s e n at e pl a n s ?
 ·9 · ·b y t h e Li e ut e n a nt G o v er n or. · D o n al d Tr u m p d o e s n't      ·9 · · · ·A · ·I a m n ot.
 1 0 · ·sit ar o u n d a n d w orr y a l ot a b o ut l o c al el e ct e d               1 0 · · · ·Q · ·N o w, fi n all y i n P ar a gr a p h 1 2 of y o ur
 1 1 · ·offi ci al s i n W e st T e x a s.                                              1 1 · ·d e cl ar ati o n y o u s ai d, I v ot e d i n f a v or of a n
 1 2 · · · ·Q · ·S o h a v e y o u -- d o y o u h a v e a n y i nf or m ati o n         1 2 · ·a m e n d m e nt off er e d b y S e n at or P o w ell t o r e st or e
 1 3 · ·t h at Mr. S p ar k s h a d dir e ct c o nt a ct wit h S e n at or              1 3 · ·S e n at e Di stri ct 1 0 t o it s b e n c h m ar k c o nfi g ur ati o n.
 1 4 · ·H uff m a n ?                                                                   1 4 · ·D o y o u s e e t h at ?
 1 5 · · · ·A · ·N o.                                                                   1 5 · · · ·A · ·Y e s.
 1 6 · · · ·Q · ·D o y o u k n o w w h et h er h e h a d a n y dir e ct                 1 6 · · · ·Q · ·D o e s t h at m at c h y o ur t e sti m o n y ?
 1 7 · ·c o nt a ct wit h t h e Li e ut e n a nt G o v er n or or Li e ut e n a nt      1 7 · · · ·A · ·Y e s, I' m s orr y.
 1 8 · ·G o v er n or' s st aff ?                                                       1 8 · · · ·Q · ·A n d t h e r e c or d r efl e ct s t h at y o u v ot e d f or
 1 9 · · · ·A · ·N o. · I s u s p e ct t h at h e di d.                                 1 9 · ·S e n at or P o w ell' s a m e n d m e nt ?
 2 0 · · · ·Q · ·N o w, g oi n g t o P ar a gr a p h 1 1 of t h e                       2 0 · · · ·A · ·I di d.
 2 1 · ·d e cl ar ati o n. · Y o u s a y, gi v e n m y e x p eri e n c e o n t h e      2 1 · · · ·Q · ·D o y o u r e c all a n d a g ai n, w e ar e n ot
 2 2 · ·S e n at e R e di stri cti n g C o m mitt e e i n 2 0 1 1 a n d 2 0 1 3,        2 2 · ·g etti n g i nt o t h e di s c u s si o n, b ut d o y o u r e c all
 2 3 · ·t h e f e d er al c o urt' s or d er r e g ar di n g S e n at e Di stri ct      2 3 · ·h a vi n g a n y c o n v er s ati o n wit h S e n at or P o w ell a b o ut
 2 4 · ·1 0, t h e f a ct t h at t h e b e n c h m ar k di stri ct w a s                2 4 · ·h er a m e n d m e nt b ef or e s h e off er e d it ?
 2 5 · ·c o m p a ct, w h oll y c o nt ai n e d wit hi n T arr a nt C o u nt y,         2 5 · · · · · · · M· R. O PI E L A: · W o ul d y o u r e p hr a s e t h at

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 ·1 · ·a n d h a d cl o s e t o i d e al p o p ul ati o n, I c a n n ot a c c e pt      ·1 · ·t o li mit t o p u bli c c o n v er s ati o n ?
 ·2 · ·t h e s u g g e sti o n t h at a n y of t h e st at e d r e di stri cti n g      ·2 · · · · · · · M· R. D U N N: · I' m j u st a s ki n g t h e
 ·3 · ·crit eri a, s u c h a s e q u ali zi n g p o p ul ati o n,                       ·3 · ·e xi st e n c e of a pri v at e c o n v er s ati o n.
 ·4 · ·c o m p a ct n e s s, c o m m u niti e s of i nt er e st or i n c u m b e nt     ·4 · · · ·Q · ·( B Y M R. D U N N)· Di d y o u h a v e a pri v at e
 ·5 · ·pr ot e cti o n c o m p ell e d t h e s u b st a nti al c h a n g e t o          ·5 · ·c o n v er s ati o n wit h S e n at or P o w ell a b o ut h er
 ·6 · ·S e n at e Di stri ct 1 0' s b o u n d ari e s. · I s t h at w h at y o ur       ·6 · ·a m e n d m e nt b ef or e s h e off er e d it ?
 ·7 · ·t e sti m o n y i s ?                                                            ·7 · · · ·A · ·Y e s.
 ·8 · · · ·A · ·Y e s.                                                                  ·8 · · · ·Q · ·O k a y. · A n d I a s s u m e t h at y o u will i n v o k e
 ·9 · · · ·Q · ·A n d y o u s a y I b eli e v e t hi s e x pl a n ati o n i s           ·9 · ·l e gi sl ati v e pri vil e g e o v er t h at ?
 1 0 · ·pr et e xt ?                                                                    1 0 · · · ·A · ·I will.
 1 1 · · · ·A · ·Y e s.                                                                 1 1 · · · ·Q · ·Di d y o u h a v e a p u bli c c o n v er s ati o n wit h
 1 2 · · · ·Q · ·S o wit h r e g ar d t o P ar a gr a p h 1 0 a n d 1 1, y o u          1 2 · ·S e n at or P o w ell o v er h er a m e n d m e nt r el at e d t o S e n at e
 1 3 · ·h a v e pr o vi d e d t e sti m o n y t o d a y a b o ut t w o e x a m pl e s   1 3 · ·Di stri ct 1 0 ?
 1 4 · ·t h at y o u t hi n k t h e p u bli c e x pl a n ati o n t h at S e n at or     1 4 · · · ·A · ·H el p m e wit h t h e di sti n cti o n b et w e e n t h e
 1 5 · ·H uff m a n g a v e f or t h e s e n at e m a p w er e pr et e xt at            1 5 · ·p u bli c a n d pri v at e c o n v er s ati o n. · W h e n I w e nt a n d
 1 6 · ·l e a st wit h r e s p e ct t o t w o di stri ct s ?                            1 6 · ·t al k e d t o h er o n t h e fl o or ?
 1 7 · · · ·A · ·Y e s.                                                                 1 7 · · · ·Q · ·Y e s.
 1 8 · · · ·Q · ·N o w, y o u t e stifi e d -- at t hi s p oi nt                        1 8 · · · ·A · ·I s t h at p u bli c or pri v at e ?
 1 9 · ·sitti n g h er e t o d a y, I d o n't w a nt t o g et i nt o                    1 9 · · · ·Q · ·T h at' s b et w e e n y o u a n d y o ur l a w y er t o
 2 0 · ·s u bj e ct s o ut si d e of o ur sti p ul ati o n, e v er y b o d y h a s      2 0 · ·a d vi s e.
 2 1 · ·a gr e e d w e ar e g oi n g t o t al k t o d a y a b o ut t h e m att er s     2 1 · · · · · · · M· R. O PI E L A: · P u bli c i s s o m et hi n g
 2 2 · ·r el ati v e t o t h e pr eli mi n ar y i nj u n cti o n.                       2 2 · ·t h at' s p art of t h e p u bli c r e c or d.
 2 3 · · · ·A · ·O k a y.                                                               2 3 · · · ·A · ·It' s n ot p art of t h e p u bli c r e c or d.· It
 2 4 · · · ·Q · ·B ut I j u st w a nt t o m a k e s ur e i n r e s p o n s e            2 4 · ·w a s a pri v at e c o n v er s ati o n.
 2 5 · ·t o q u e sti o n s b y Mr. H u d s o n t h at t h er e' s a n                  2 5 · · · ·Q · ·( B Y M R. D U N N)· Di d y o u h a v e a p u bli c

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 ·1 · ·c o n v er s ati o n wit h S e n at or P o w ell a b o ut it ?                ·1 · · · ·Q · ·A n d if y o u h a d s a w a n yt hi n g at all t h at
 ·2 · · · ·A · ·N o.                                                                 ·2 · ·y o u t h o u g ht w a s i n c orr e ct, y o u w o ul d h a v e c h a n g e d
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 ·4 · · · · · · · M· R. O PI E L A: · T h at I' m g oi n g t o o bj e ct             ·4 · · · ·A · ·I b eli e v e I w o ul d.
 ·5 · ·t o t h at b e c a u s e t h at g o e s dir e ctl y t o hi s                  ·5 · · · ·Q · ·O k a y. · A n d y o u s ai d s o m et hi n g e arli er
 ·6 · ·l e gi sl ati v e pri vil e g e.                                              ·6 · ·a b o ut t h e -- w ell, w e' v e h a d a littl e bit of
 ·7 · · · ·A · · I' m n ot g oi n g t o g o t o it.                                  ·7 · ·di s c u s si o n a b o ut t h e d e vi ati o n i n t h e m a p. · A n d I' m
 ·8 · · · ·Q · ·( B Y M R. D U N N)· S o t h e n r et ur ni n g t o                  ·8 · ·g oi n g t o s h o w y o u t h e m a p t h at' s b e e n pr e vi o u sl y
 ·9 · ·P ar a gr a p h 1 2 of y o ur d e cl ar ati o n, it s a y s, h a vi n g       ·9 · ·m ar k e d a s Br o o k s pr eli mi n ar y i nj u n cti o n 1 7.
 1 0 · ·p arti ci p at e d i n t h e 2 0 1 1 a n d 2 0 1 3 S e n at e S el e ct      1 0 · · · · · · · M· R. D U N N: · I'll gi v e y o u a c o p y,
 1 1 · ·R e di stri cti n g C o m mitt e e pr o c e e di n g s, a n d h a vi n g     1 1 · ·Mr. H u d s o n. · I c o ul d n't pri nt it i n c ol or, b ut t h e
 1 2 · ·r e a d t h e pri or f e d er al c o urt d e ci si o n r e g ar di n g       1 2 · ·c ol or i s n ot g oi n g t o m att er f or t h e q u e sti o n I' m
 1 3 · ·S e n at e Di stri ct 1 0, it w a s o b vi o u s t o m e t h at t h e        1 3 · ·g oi n g t o a s k.
 1 4 · ·r e n e w e d eff ort t o di s m a ntl e S e n at e Di stri ct 1 0           1 4 · · · ·Q · ·( B Y M R. D U N N)· I' m g oi n g t o u s e t h e
 1 5 · ·vi ol at e d t h e V oti n g Ri g ht s A ct a n d U. S.                      1 5 · ·c o m p ut er v er si o n b e c a u s e w e n e e d t o b e a bl e t o z o o m
 1 6 · ·C o n stit uti o n a n d t h at' s y o ur t e sti m o n y ?                  1 6 · ·i n o n s o m e n u m b er s.
 1 7 · · · ·A · ·Y e s, it i s.                                                      1 7 · · · ·A · ·O k a y.
 1 8 · · · ·Q · ·A n d y o u dr a w o n t h at fr o m y o ur                         1 8 · · · ·Q · ·A n d m y c o m p ut er pri nti n g s kill s w er e n't
 1 9 · ·e x p eri e n ci n g of h a vi n g b e e n r e di stri cti n g c h air ?     1 9 · ·g o o d e n o u g h t o g et t h e n u m b er s.
 2 0 · · · ·A · ·I di d.                                                             2 0 · · · · · · · M· R. O PI E L A: · S o j u st n u m b er s- wi s e,
 2 1 · · · ·Q · ·I n t h e pri or c y cl e ?                                         2 1 · ·w o ul d it b e 1 6 or w h at ?
 2 2 · · · ·A · ·I di d.                                                             2 2 · · · · · · · M· R. D U N N: · I d o n't i nt e nt t o att a c h
 2 3 · · · ·Q · ·A n d t e stif yi n g a n d r e a di n g t h e c o urt              2 3 · ·it.· It' s pl ai ntiff' s pr eli mi n ar y i nj u n cti o n,
 2 4 · ·d e ci si o n s ?                                                            2 4 · ·E x hi bit 1 7, t h at' s i n t h e c o urt r e c or d.
 2 5 · · · ·A · ·Y e s.                                                              2 5 · · · · · · · M· R. O PI E L A: · S o pr o c e d ur all y h o w ar e

                                                                     Page 119                                                                                 Page 121
 ·1 · · · ·Q · ·O k a y. · N o w, t hi s d e cl ar ati o n t h at w e h a v e        ·1 · ·w e gi vi n g t h e c o urt a r e c or d of w h at h e' s l o o ki n g
 ·2 · ·g o n e t hr o u g h h er e w a s pr o vi d e d t o y o u I t hi n k fr o m   ·2 · ·at ?
 ·3 · ·y o ur d o c u m e nt s i n a W or d f or m; i s t h at ri g ht ?             ·3 · · · · · · · M· R. D U N N: · T hi s i s alr e a d y fil e d
 ·4 · · · ·A · ·Y e s.                                                               ·4 · ·b ef or e t h e c o urt.
 ·5 · · · ·Q · ·A n d di d y o u pr o vi d e it t o y o ur st aff at                 ·5 · · · · · · · M· R. O PI E L A: · O k a y.
 ·6 · ·a n y p oi nt, y o ur s e n at e st aff ?                                     ·6 · · · · · · · M· R. D U N N: · It w a s fil e d wit h t h e
 ·7 · · · ·A · ·T hi s d e cl ar ati o n ?                                           ·7 · ·pr eli mi n ar y i nj u n cti o n m oti o n.
 ·8 · · · ·Q · ·Y e s, sir.                                                          ·8 · · · · · · · M· R. O PI E L A: · O k a y.
 ·9 · · · ·A · ·M y c hi ef of st aff mi g ht h a v e r e a d it                     ·9 · · · · · · · M· R. H U D S O N: · I' m g oi n g t o l o o k o v er
 1 0 · ·b e c a u s e s h e r e a d s al m o st e v er yt hi n g t h at c o m e s    1 0 · ·y o ur s h o ul d er s o I c a n a ct u all y s e e.
 1 1 · ·a cr o s s m y d e s k, b ut n o o n e el s e.                               1 1 · · · ·Q · ·( B Y M R. D U N N)· I h a v e z o o m e d i nt o T arr a nt
 1 2 · · · ·Q · ·O k a y. · I g u e s s I' m c uri o u s a n d y o u m a y n ot      1 2 · ·C o u nt y t h er e ?
 1 3 · ·r e m e m b er, b ut w h et h er y o u s h ar e d t h e W or d v er si o n   1 3 · · · ·A · ·O k a y.
 1 4 · ·wit h y o ur st aff b ef or e y o u si g n e d t h e d e cl ar ati o n ?     1 4 · · · ·Q · ·S o y o u d o n't t hi n k I' m tri c ki n g y o u, I
 1 5 · · · ·A · ·N o. · Ot h er t h a n h er, b ut n o.                              1 5 · ·will z o o m o ut s o y o u c a n s e e t hi s w h ol e t hi n g.
 1 6 · · · ·Q · ·A n d y o u k n e w w h e n y o u si g n e d t hi s w a s           1 6 · ·T hi s i s t h e T e x a s l e gi sl ati v e c o u n s el d e v el o p e d a
 1 7 · ·g oi n g t o b e fil e d i n t h e U nit e d St at e s Di stri ct            1 7 · ·m a p of t h e pl a n t h at p a s s e d or of t h e b e n c h m ar k
 1 8 · ·C o urt ?                                                                    1 8 · ·pl a n, w o ul d y o u a gr e e ?
 1 9 · · · ·A · ·Y e s.                                                              1 9 · · · ·A · ·Y e a h.
 2 0 · · · ·Q · ·A n d t h at t h e j u d g e s a n d t h e l a w y er s w er e      2 0 · · · ·Q · ·It h a s t h e v ari o u s di stri ct s i n it a n d it
 2 1 · ·g oi n g t o r el y o n y o ur t e sti m o n y ?                             2 1 · ·s h o w s t h eir p o p ul ati o n d e vi ati o n s; i s t h at ri g ht ?
 2 2 · · · ·A · ·Y e s.                                                              2 2 · · · ·A · ·Y e s.
 2 3 · · · ·Q · ·Di d y o u t a k e t h e ti m e t o b e c ar ef ul a b o ut         2 3 · · · ·Q · ·A n d y o ur di stri ct h er e t h at y o u h a v e
 2 4 · ·it ?                                                                         2 4 · ·di s c u s s e d i s S e n at e Di stri ct 3 1. · D o y o u s e e t h at ?
 2 5 · · · ·A · ·I r e a d it I t h o u g ht f airl y t h or o u g hl y.             2 5 · · · ·A · ·Y e s.

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 ·1 · · · ·Q · ·It w a s u n d er p o p ul at e d b y 7. 5 % ?                           ·1 · ·c o u nt y ?
 ·2 · · · ·A · ·Ri g ht.                                                                 ·2 · · · · · · · T· H E WI T N E S S: · W ell, D o nl e y C o u nt y t o
 ·3 · · · ·Q · ·T o t h e s o ut h of y o ur di stri ct i n t h e                        ·3 · ·t h e n ort h a n d s o m e of t h e c o u nti e s t h at w er e a d d e d
 ·4 · ·P a n h a n dl e i s S e n at e Di stri ct 2 8 w hi c h w a s                     ·4 · ·b y S e n at or H uff m a n.
 ·5 · ·u n d er p o p ul at e d b y 1 5. 3 % ?                                           ·5 · · · ·Q · ·( B Y M R. D U N N)· A n d c a n y o u r e c all s o m e of
 ·6 · · · ·A · ·Ri g ht.                                                                 ·6 · ·t h o s e ?
 ·7 · · · ·Q · ·N o w g oi n g o v er t o T arr a nt C o u nt y, t h e                   ·7 · · · ·A · ·Y e a h, R e e v e s, Cr a n e, Wi n kl er, W ar d,
 ·8 · ·di stri ct S e n at or P o w ell s er v e s i n w a s                             ·8 · ·b e c a u s e t h e y ar e all ri g ht b y e xi sti n g c o u nti e s.
 ·9 · ·u n d er p o p ul at e d b y . 6 %; i s t h at ri g ht ?                          ·9 · ·T h e y ar e c o nti g u o u s wit h t h e di stri ct.
 1 0 · · · ·A · ·Y e s.                                                                  1 0 · · · ·Q · ·O k a y. · S o w h e n y o u t a k e t h o s e o ut of
 1 1 · · · ·Q · ·S o b a s e d o n t hi s, t h er e di d n't h a v e t o b e             1 1 · ·S e n at e Di stri ct 2 8, w hi c h i s alr e a d y al s o
 1 2 · ·at l e a st f or e q u ali z ati o n p ur p o s e s a n y c h a n g e s t o      1 2 · ·u n d er p o p ul at e d, t h e n I a s s u m e S e n at e Di stri ct 2 8
 1 3 · ·S e n at e Di stri ct 1 0 ?                                                      1 3 · ·h a s t o t a k e o n s o m e s p a c e ?
 1 4 · · · · · · · M· R. H U D S O N: · O bj e cti o n, f or m.                          1 4 · · · ·A · ·Y e s.
 1 5 · · · ·A · ·T h at' s m y i m pr e s si o n.                                        1 5 · · · ·Q · ·W h at w a s y o ur t h o u g ht o n w h er e t h at w o ul d
 1 6 · · · ·Q · ·( B Y M R. D U N N)· N o w, t o t h e n ort h of t h e                  1 6 · ·c o m e fr o m ?
 1 7 · ·D all a s- F ort W ort h ar e a, s a y t h e n ort h w e st, t h er e i s        1 7 · · · ·A · ·T a yl or C o u nt y s p e cifi c all y b e c a u s e i n 2 0 1 1
 1 8 · ·S e n at e Di stri ct 3 0 t h at w a s o v er p o p ul at e d b y 9. 3 % ?       1 8 · ·w e p ut s o m e of t h e p o p ul ati o n i n n ort h T a yl or
 1 9 · · · ·A · ·Ri g ht.                                                                1 9 · ·C o u nt y w hi c h i s A bil e n e i nt o t h at di stri ct. · T h at
 2 0 · · · ·Q · ·S o fr o m y o ur st a n d p oi nt a n d I g u e s s s o y o u          2 0 · ·l e a v e s a b u n c h m or e p e o pl e t h er e i n T a yl or C o u nt y
 2 1 · ·c a n s e e it all, S e n at e Di stri ct 1 4 w hi c h i s t o t h e             2 1 · ·a n d C al h o u n C o u nt y, S h a c k elf or d C o u nt y.
 2 2 · ·s o ut h of T arr a nt C o u nt y w a s u n d er p o p ul at e d b y 1. 4 % ?    2 2 · · · ·Q · ·A n d i n e q u ali zi n g t h o s e t w o di stri ct s, w a s
 2 3 · · · ·A · ·D o y o u m e a n 2 4 ?                                                 2 3 · ·it n e c e s s ar y t o g o i nt o S e n at e Di stri ct 1 0 at all ?
 2 4 · · · ·Q · ·I' m s orr y, 2 4.· I mi s s p o k e.· W a s                            2 4 · · · · · · · M· R. H U D S O N: · O bj e cti o n, f or m.
 2 5 · ·u n d er p o p ul at e d b y 1. 4 %; i s t h at ri g ht ?                        2 5 · · · ·A · ·W a s it n e c e s s ar y t o g o ?

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 ·1 · · · ·A · ·Ri g ht.                                                                 ·1 · · · ·Q · ·( B Y M R. D U N N)· I n or d er t o m a k e t h e
 ·2 · · · ·Q · ·A n d t h e n S e n at e Di stri ct 2 2, t h e ot h er o n e             ·2 · ·P a n h a n dl e di stri ct s t h at w er e u n d er p o p ul at e d wit hi n
 ·3 · ·i n t h e r e gi o n w a s . 4 % o v er si z e d; i s t h at ri g ht ?            ·3 · ·d e vi ati o n u n d er t h e n e w c e n s u s fi g ur e s, w a s t h er e
 ·4 · · · ·A · ·Y e s.                                                                   ·4 · ·a n y n e e d t o m e s s wit h S e n at e Di stri ct 1 0 ?
 ·5 · · · ·Q · ·All ri g ht. · S o fr o m y o ur st a n d p oi nt, y o u                 ·5 · · · · · · · M· R. H U D S O N: · O bj e cti o n, f or m, c all s
 ·6 · ·k n o w, if y o u h a v e a n o pi ni o n, w h at w a s t h e l o gi c al         ·6 · ·f or s p e c ul ati o n; o bj e cti o n, f or m, i m pr o p er
 ·7 · ·w a y t o d e al wit h t h e u n d er p o p ul ati o n of y o ur                  ·7 · ·h y p ot h eti c al; o bj e cti o n, f o u n d ati o n. · S e n at or
 ·8 · ·di stri ct ?                                                                      ·8 · ·S eli g er i s n ot b ei n g off er e d a s a n e x p ert.
 ·9 · · · · · · · M· R. H U D S O N: · O bj e cti o n, f or m, c all s                   ·9 · · · ·A · ·M y i m pr e s si o n i s Di stri ct 1 0' s c o m p o siti o n
 1 0 · ·f or s p e c ul ati o n; o bj e cti o n, f or m, i m pr o p er                   1 0 · ·t o Di stri ct 1 0 h a d n ot hi n g w h at s o e v er t o d o wit h
 1 1 · ·h y p ot h eti c al; a n d o bj e cti o n, f or m, f o u n d ati o n.            1 1 · ·t h e P a n h a n dl e.
 1 2 · ·S e n at or S eli g er i s n ot b ei n g off er e d a s a n e x p ert.           1 2 · · · ·Q · ·( B Y M R. D U N N)· I s t hi s -- di d y o u
 1 3 · ·Y o u c a n a n s w er if y o u c a n.                                           1 3 · ·e s s e nti all y gi v e s u c h a n o pi ni o n o n t h e fl o or at
 1 4 · · · · · · · M· R. O PI E L A: · Y o u c a n a n s w er.                           1 4 · ·t h e ti m e of t h e v ot e ?
 1 5 · · · ·A · ·A s k a g ai n, pl e a s e.                                             1 5 · · · ·A · ·I m a d e n o c o m m e nt o n Di stri ct 1 0.
 1 6 · · · ·Q · ·( B Y M R. D U N N)· S ur e. · Fr o m y o ur st a n d p oi nt           1 6 · · · ·Q · ·A n d i n t er m s of t h e c h a n g e s t h at y o u
 1 7 · ·a s t h e i n c u m b e nt S e n at or i n S e n at e Di stri ct 3 1,            1 7 · ·t h o u g ht c o ul d b e m a d e t o W e st T e x a s, w er e t h o s e
 1 8 · ·w h at w a s t h e -- w h at w a s y o ur pr ef err e d m et h o d f or          1 8 · ·t hi n g s y o u t al k e d a b o ut o n t h e fl o or ?
 1 9 · ·b al a n ci n g t h e p o p ul ati o n i n y o ur di stri ct ?                   1 9 · · · ·A · ·N ot s p e cifi c all y, n o. · I m e nti o n e d s o m e of
 2 0 · · · · · · · M· R. H U D S O N: · S a m e o bj e cti o n s.                        2 0 · ·t h e c o u nti e s i n t h e c o nt e xt of a g v er s u s oil a n d
 2 1 · · · ·A · ·T o a d d c o u nti e s i n t h e ar e a n ot -- t h at                 2 1 · ·g a s, t h at' s all.
 2 2 · ·ar e n o w i n Di stri ct 2 8. · T h o s e w er e t h e o nl y                   2 2 · · · ·Q · ·A n d w h y di d y o u m e nti o n t h o s e t hi n g s ?
 2 3 · ·o pti o n s. · A d di n g t hi n g s li k e Cl ar e n d o n C o u nt y t o       2 3 · · · ·A · ·T o p oi nt o ut --
 2 4 · ·t h e n ort h --                                                                 2 4 · · · · · · · M· R. O PI E L A: · I' m g oi n g t o o bj e ct t o
 2 5 · · · · · · · T· H E C O U R T R E P O R T E R: · I' m s orr y, w h at              2 5 · ·t h at i n t er m s of hi s t h o u g ht pr o c e s s e s, h o w h e g o e s

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 ·1 · ·a b o ut m a ki n g a d e ci si o n a s l e gi sl ati v e pri vil e g e.       ·1 · ·r ef err e d t o i n t h e s e n at e; i s t h at ri g ht ?
 ·2 · · · ·Q · ·( B Y M R. D U N N)· Di d y o u h a v e a n y r e a s o n s           ·2 · · · ·A · ·C orr e ct.
 ·3 · ·t h at -- I d o n't w a nt y o u t o di s cl o s e t h e m at t h e            ·3 · · · ·Q · ·A n d t h at h a s g o n e t hr o u g h s o m e c h a n g e s i n
 ·4 · ·m o m e nt, I j u st w a nt t o k n o w if t h e y e xi st.                    ·4 · ·t h e l a st d e c a d e or s o; i s t h at ri g ht ?
 ·5 · · · ·A · ·O k a y.                                                              ·5 · · · ·A · ·C orr e ct.
 ·6 · · · ·Q · ·Di d y o u h a v e a n y r e a s o n s t h at y o u v ot e d          ·6 · · · ·Q · ·W h at w er e t h o s e c h a n g e s ?
 ·7 · ·a g ai n st t h e s e n at e pl a n ot h er t h a n w h at y o u s ai d o n    ·7 · · · ·A · ·I n -- t h e r ul e w a s t h at it r e q uir e d
 ·8 · ·t h e fl o or p u bli cl y ?                                                   ·8 · ·t w o-t hir d s v ot e of t h e s e n at e or 2 1 v ot e s f or a
 ·9 · · · ·A · ·Y e s.                                                                ·9 · ·bill t h at h a s c o m e o ut of c o m mitt e e t o e v e n g o t o
 1 0 · · · ·Q · ·O k a y. · H a v e y o u -- ar e t h o s e ot h er r e a s o n s     1 0 · ·t h e fl o or f or d e b at e.· S e v er al y e ar s a g o t h at r ul e
 1 1 · ·t h at y o u h a v e, h a v e y o u e v er e x pr e s s e d t h e m           1 1 · ·c a m e u p a n d t h e Li e ut e n a nt G o v er n or w a nt e d it
 1 2 · ·p u bli cl y el s e w h er e ?                                                1 2 · ·c h a n g e d t o 1 9 b e c a u s e t h e R e p u bli c a n m aj orit y w a s
 1 3 · · · ·A · ·P u bli cl y, n o.                                                   1 3 · ·er o di n g i n t h e s e n at e. · A n d t h e r ul e w a s c h a n g e d
 1 4 · · · ·Q · ·T o a n e w s p a p er or c o n stit u e nt s or a n yt hi n g       1 4 · ·a n d t h at w a s t h e i n st a n c e I t al k e d a b o ut w h e n
 1 5 · ·of t h at s ort ?                                                             1 5 · ·S e n at or E st e s v ot e d a g ai n st t h e r ul e c h a n g e. · T h e n
 1 6 · · · ·A · ·N o.                                                                 1 6 · ·I t hi n k it w a s t h e 8 7t h or 8 6t h s e s si o n o n c e a g ai n
 1 7 · · · ·Q · ·S o I a s s u m e y o u t a k e l e gi sl ati v e                    1 7 · ·a s o ur m aj orit y er o d e d w h e n B e v erl y P o w ell w o n
 1 8 · ·pri vil e g e s o n y o ur ot h er b a si s f or v oti n g a g ai n st        1 8 · ·Di stri ct 1 0, P et e F or e st l o st hi s el e cti o n i n hi s
 1 9 · ·t h e s e n at e pl a n ?                                                     1 9 · ·di stri ct t o S e n at or G uti err e z t h at t h e Li e ut e n a nt
 2 0 · · · ·A · ·Y e a h. · I w o ul d li k e t o t ell y o u, b ut h e               2 0 · ·G o v er n or w a nt e d t h e n u m b er c h a n g e d t o 1 8 a n d s o it
 2 1 · ·w o ul d n ot a p pr o v e.                                                   2 1 · ·w a s. · B ut e v e n wit h t h at r ul e c h a n g e, wit h 1 8 v ot e s
 2 2 · · · ·Q · ·O k a y. · H e i s y o ur l a w y er.                                2 2 · ·t o g o, if t h e Li e ut e n a nt G o v er n or d o e s n't w a nt t h e
 2 3 · · · ·A · ·H e i s.                                                             2 3 · ·bill t o c o m e t o t h e fl o or, it d o e s n't c o m e t o t h e
 2 4 · · · ·Q · ·I s a y t h at f or o ur r e c or d.· It d o e s n't                 2 4 · ·fl o or.
 2 5 · ·k n o w w h o h e i s.                                                        2 5 · · · ·Q · ·I s t h at b e c a u s e t h e Li e ut e n a nt G o v er n or

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 ·1 · · · ·A · ·O k a y.                                                              ·1 · ·h a s t h e a ut h orit y t o j u st p ull a bill or i s it
 ·2 · · · ·Q · ·I s it t h e c a s e t h at i n t h e T e x a s S e n at e            ·2 · ·b e c a u s e h e c a n g et t h e v ot e s h e n e e d s ?
 ·3 · ·t h er e' s s o m eti m e s w h at' s s ai d i n p u bli c a b o ut t h e      ·3 · · · ·A · ·I w o ul d ar g u e t h at t h er e i s n o s u c h
 ·4 · ·m oti v ati o n s b e hi n d l e gi sl ati v e a cti vit y a n d t h er e' s   ·4 · ·a ut h orit y b e c a u s e t h e s e n at e m a k e s t h e r ul e s a n d
 ·5 · ·s o m et hi n g diff er e nt i n pri v at e ?                                  ·5 · ·t h e s e n at e h a s n ot d o n e t h at.· B ut h e d o e s it a n d
 ·6 · · · ·A · ·All t h e ti m e.                                                     ·6 · ·h e' s t h e o n e w h o r e c o g ni z e s s e n at or s o n t h e fl o or.
 ·7 · · · ·Q · ·W o ul d y o u s a y m or e oft e n t h a n n ot t h at' s            ·7 · · · ·Q · ·S o it' s b e e n y o ur e x p eri e n c e t h at t h e
 ·8 · ·t h e c a s e ?                                                                ·8 · ·Li e ut e n a nt G o v er n or will j u st d e ci d e a bill will
 ·9 · · · ·A · ·N ot n e c e s s aril y, n o.                                         ·9 · ·n ot b e t a k e n u p ?
 1 0 · · · ·Q · ·W o ul d y o u s a y m or e oft e n t h a n n ot t h at' s           1 0 · · · ·A · ·A b s ol ut el y.
 1 1 · ·t h e c a s e o n t h e bi g it e m s ?                                       1 1 · · · ·Q · ·Wit h o ut a v ot e ?
 1 2 · · · · · · · M· R. H U D S O N: · O bj e cti o n, f or m, c all s               1 2 · · · ·A · ·A b s ol ut el y.
 1 3 · ·f or s p e c ul ati o n; o bj e cti o n, f o u n d ati o n.                   1 3 · · · ·Q · ·T h at' s a tr e m e n d o u s p o w er, w o ul d y o u
 1 4 · · · ·A · ·I w o ul d s a y t h at' s oft e n t h e c a s e.                    1 4 · ·a gr e e ?
 1 5 · · · ·Q · ·( B Y M R. D U N N)· D o y o u t hi n k it' s oft e n t h e          1 5 · · · ·A · ·Y e s, a n d it' s al s o n ot i n t h e r ul e s of t h e
 1 6 · ·c a s e wit h r e g ar d t o r e di stri cti n g ?                            1 6 · ·s e n at e or t h e C o n stit uti o n.
 1 7 · · · · · · · M· R. H U D S O N: · S a m e o bj e cti o n s.                     1 7 · · · ·Q · ·A n d ulti m at el y t h e Li e ut e n a nt G o v er n or' s
 1 8 · · · ·A · ·I t hi n k it' s oft e n t h e c a s e o n a l ot of                 1 8 · ·a bilit y t o wit h dr a w or r e m o v e a n y bill aff e ct s
 1 9 · ·i s s u e s p arti c ul arl y m or e c o ntr o v er si al o n e s.            1 9 · ·e v er y s e n at or b ei n g a bl e t o p ur s u e t h eir a g e n d a,
 2 0 · · · ·Q · ·( B Y M R. D U N N)· I n cl u di n g r e di stri cti n g ?           2 0 · ·w o ul d y o u a gr e e ?
 2 1 · · · · · · · M· R. H U D S O N: · S a m e o bj e cti o n s.                     2 1 · · · · · · · M· R. H U D S O N: · O bj e cti o n, f or m,
 2 2 · · · ·A · ·Y e s.                                                               2 2 · ·f o u n d ati o n; o bj e cti o n, f or m, c all s f or s p e c ul ati o n.
 2 3 · · · ·Q · ·( B Y M R. D U N N)· Y o u m e nti o n e d i n r e s p o n s e       2 3 · · · ·A · ·Y e s. · Y o u d o t al k r e all y f a st.
 2 4 · ·t o Mr. H u d s o n -- w ell, l et m e a s k it t hi s w a y.                 2 4 · · · ·Q · ·( B Y M R. D U N N)· I w a nt t o g o b a c k a n d o n
 2 5 · ·T h er e u s e d t o b e a t w o-t hir d s r ul e a s it w a s                2 5 · ·t h e fir st v ot e t h at y o u d e s cri b e d S e n at or E st e s

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 ·1 · ·v oti n g a g ai n st t h e fir st v ot e t o c h a n g e t h e r ul e s ?      ·1 · ·dir e ct or.
 ·2 · · · ·A · ·Y e s.                                                                 ·2 · · · · · · · M· R. O PI E L A: · B ut h e' s a l e gi sl ati v e
 ·3 · · · ·Q · ·H o w di d y o u v ot e ?                                              ·3 · ·st aff.
 ·4 · · · ·A · ·I v ot e d t o c h a n g e t h e r ul e.                               ·4 · · · ·Q · ·( B Y M R. D U N N)· S o all I' m a s ki n g i s w a s
 ·5 · · · ·Q · ·A n d w h at w a s t h e n e w n u m b er of s e n at or s             ·5 · ·t h er e a c o n v er s ati o n b et w e e n y o u a n d Mr. O p p er m a n
 ·6 · ·t h at w er e n e e d e d aft er t h e fir st r ul e c h a n g e ?              ·6 · ·a b o ut t h e s e n at e pl a n, wit h o ut g etti n g i nt o t h e
 ·7 · · · ·A · ·Ni n et e e n.                                                         ·7 · ·d et ail s of it ?
 ·8 · · · ·Q · ·O k a y. · A n d l at er t h e r ul e w a s c h a n g e d              ·8 · · · · · · · M· R. O PI E L A: · Y o u c a n a n s w er t h at.
 ·9 · ·a g ai n, w h at w a s t h e n e w n u m b er ?                                 ·9 · · · ·A · ·Y e s.
 1 0 · · · ·A · ·Ei g ht e e n.                                                        1 0 · · · ·Q · ·( B Y M R. D U N N)· W a s t h er e m or e t h a n o n e ?
 1 1 · · · ·Q · ·A n d h o w di d y o u v ot e o n t h at ?                            1 1 · · · ·A · ·I t hi n k o nl y o n e t h at I r e c all.
 1 2 · · · ·A · ·I v ot e d i n f a v or.                                              1 2 · · · ·Q · ·W a s it i n a d v a n c e of t h e fl o or d e b at e ?
 1 3 · · · ·Q · ·I n t er m s of dr a wi n g a di stri ct t h at                       1 3 · · · ·A · ·Y e s.
 1 4 · ·i nt e nti o n all y w o ul d n ot el e ct a D e m o cr at -- w ell,           1 4 · · · ·Q · ·W a s t h er e a n y ot h er wit n e s s e s t o t h e
 1 5 · ·l et m e stri k e t h at.                                                      1 5 · ·di s c u s si o n ?
 1 6 · · · · · ·If S e n at e Di stri ct 1 0 h a d c o nti n u e d t o                 1 6 · · · ·A · ·N o.
 1 7 · ·el e ct a D e m o cr at, t h e n t h e r ul e s still pr o vi d e d f or       1 7 · · · ·Q · ·W a s it y o ur s e n s e t h at Mr. O p p er m a n w a s
 1 8 · ·R e p u bli c a n c o ntr ol u n d er t h e r e vi s e d t w o-t hir d s       1 8 · ·t h e, y o u k n o w, l e a d st aff er f or S e n at or H uff m a n o n
 1 9 · ·r ul e s; i s t h at ri g ht ?                                                 1 9 · ·t h e pl a n ?
 2 0 · · · ·A · ·Y e s.                                                                2 0 · · · ·A · ·H e w a s t h e c o m mitt e e dir e ct or, y e s, a n d if
 2 1 · · · ·Q · ·It w a s n't n e c e s s ar y t o dr a w S e n at e                   2 1 · ·t h er e w a s a n y b o d y el s e w h o w a s p art of t h at, m y
 2 2 · ·Di stri ct 1 0 t o el e ct a R e p u bli c a n i n or d er t o g et            2 2 · ·c hi ef of st aff mi g ht h a v e b e e n t h er e. · S e a n u s e d t o
 2 3 · ·bill s b ef or e t h e fl o or ?                                               2 3 · ·w or k f or h er.
 2 4 · · · · · · · M· R. H U D S O N: · O bj e cti o n, f or m,                        2 4 · · · ·Q · ·I s e e.· S o t h er e m a y h a v e b e e n a wit n e s s
 2 5 · ·s p e c ul ati o n, f o u n d ati o n.                                         2 5 · ·t o t hi s c o n v er s ati o n a n d t h at p er s o n m a y h a v e b e e n

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 ·1 · · · ·A · ·A s I u n d er st a n d t h e q u e sti o n, n o.                      ·1 · ·y o ur c hi ef of st aff ?
 ·2 · · · ·Q · ·( B Y M R. D U N N)· O k a y. · E arli er, Mr. H u d s o n             ·2 · · · ·A · ·M a y h a v e b e e n. · I d o n't t hi n k s o, b ut m a y
 ·3 · ·a s k e d y o u s o m e q u e sti o n s a b o ut y o ur pri v at e              ·3 · ·h a v e b e e n.
 ·4 · ·c o n v er s ati o n s wit h v ari o u s s e n at or s a n d h e a s k e d      ·4 · · · ·Q · ·All ri g ht.
 ·5 · ·y o u a b o ut A n g el a P a xt o n. · It s o u n d s t o m e li k e y o u     ·5 · · · · · · · T· H E WI T N E S S: · S h e d o e s n't l et m e t al k
 ·6 · ·r e c all e d s o m et hi n g, b ut a g ai n, d o n't g et i nt o it.           ·6 · ·t o p e o pl e u n a c c o m p a ni e d.
 ·7 · ·H a d y o u h a d a c o n v er s ati o n wit h A n g el a P a xt o n ?          ·7 · · · ·Q · ·( B Y M R. D U N N)· Di d a n y b o d y at a n y p oi nt
 ·8 · · · ·A · ·N ot pri v at e or p u bli c.                                          ·8 · ·t ell y o u w h y y o ur di stri ct w a s b ei n g dr a w n t h e w a y
 ·9 · · · ·Q · ·O k a y. · I c o ul d n't t ell f or s ur e o n h o w y o u            ·9 · ·it w a s ?
 1 0 · ·a n s w er e d t h e q u e sti o n.                                            1 0 · · · ·A · ·N o.
 1 1 · · · ·A · ·S ur e.                                                               1 1 · · · ·Q · ·O k a y. · Y o u s ai d y o u s u b mitt e d a m a p at
 1 2 · · · ·Q · ·Y o u al s o m e nti o n e d t h at y o u t al k e d wit h            1 2 · ·s o m e p oi nt i n r e s p o n s e t o Mr. H u d s o n' s q u e sti o n s ?
 1 3 · ·S e a n O p p er m a n, S e n at or H uff m a n' s c o m mitt e e              1 3 · · · ·A · ·Y e s.
 1 4 · ·dir e ct or ?                                                                  1 4 · · · ·Q · ·Y o u h a d a pr o p o s al ?
 1 5 · · · ·A · ·Y e s.                                                                1 5 · · · ·A · ·Y e s.
 1 6 · · · ·Q · ·Di d y o u t al k t o hi m a b o ut t h e s e n at e pl a n ?         1 6 · · · ·Q · ·O k a y. · H a d y o u s h o p p e d t h at pr o p o s al t o
 1 7 · · · · · · · M· R. O PI E L A: · T h at w o ul d b e t o t h e                   1 7 · ·a n y ot h er m e m b er s ?
 1 8 · ·s u b st a n c e of t h e c o n v er s ati o n j u st t h e f a ct t h at --   1 8 · · · ·A · ·N o.
 1 9 · ·I' m g oi n g t o o bj e ct o n l e gi sl ati v e pri vil e g e.               1 9 · · · ·Q · ·W h o o n y o ur st aff dr e w t h at pr o p o s al or
 2 0 · · · · · · · M· R. D U N N: · Y o u'r e n ot g oi n g t o l et hi m              2 0 · ·di d y o u ?
 2 1 · ·s a y w h et h er or n ot h e s p o k e wit h S e n at or O p p er m a n       2 1 · · · ·A · ·A s b e st I r e c all b e c a u s e w e all h a v e
 2 2 · ·a b o ut t h e pl a n, t h at' s it ?                                          2 2 · ·a c c e s s t o R e d A p pl w hi c h i s o ur r e di stri cti n g
 2 3 · · · · · · · M· R. H U D S O N: · I w a nt t o cl arif y o n t h e               2 3 · ·s oft w ar e, I t hi n k m y c hi ef of st aff a n d I s at
 2 4 · ·r e c or d S e a n O p p er m a n i s n ot a s e n at or.                      2 4 · ·ar o u n d a n d s ai d h o w d o e s t hi s w or k a n d h o w d o e s
 2 5 · · · · · · · T· H E WI T N E S S: · H e' s a c o m mitt e e                      2 5 · ·t hi s w or k a n d l o o k e d at all t h e st ati sti c s a n d

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 ·1 · ·t hi n g s li k e t h at.                                                     ·1 · · · ·A · ·Y e s.
 ·2 · · · ·Q · ·O k a y. · B e st y o u r e c all it w a s dr a w n o n t h e        ·2 · · · ·Q · ·O k a y. · Di d y o u h a v e s o m e -- I d o n't w a nt
 ·3 · ·st at e' s R e d A p pl s y st e m ?                                          ·3 · ·t o k n o w w h at t h e y ar e at t hi s p oi nt.
 ·4 · · · ·A · ·A s b e st I r e c all.                                              ·4 · · · ·A · ·O k a y.
 ·5 · · · ·Q · ·W a s it m a d e p u bli c at s o m e p oi nt ?                      ·5 · · · ·Q · ·I' m j u st a s ki n g if t h e y e xi st.· Di d y o u
 ·6 · · · ·A · ·N o.                                                                 ·6 · ·h a v e s o m e di s c u s si o n s wit h l a w y er s i n t h e Att or n e y
 ·7 · · · ·Q · ·O k a y. · I n ot h er w or d s, it w a s n't p u bli s h e d        ·7 · ·G e n er al' s offi c e a b o ut t h e eff e ct of t h e or d er, t h e
 ·8 · ·a s a n a m e n d m e nt ?                                                    ·8 · ·f e d er al or d er ?
 ·9 · · · ·A · ·It w a s n ot.                                                       ·9 · · · · · · · M· R. H U D S O N: · I o bj e ct b a s e d o n
 1 0 · · · ·Q · ·A g ai n, I' m n ot a s ki n g at t hi s m o m e nt t o             1 0 · ·att or n e y- cli e nt pri vil e g e a n d att or n e y w or k
 1 1 · ·t ell m e w h at it i s, b ut di d y o u g et a n y f e e d b a c k o n      1 1 · ·pr o d u ct. · T o t h e e xt e nt t h at y o ur a n s w er w o ul d
 1 2 · ·y o ur pl a n or y o u j u st s e nt it i n a n d n e v er h e ar d          1 2 · ·e n cr o a c h o n eit h er of t h o s e pri vil e g e s, I i n str u ct
 1 3 · ·a n yt hi n g ?                                                              1 3 · ·y o u n ot t o a n s w er. · If y o u c a n a n s w er wit h o ut
 1 4 · · · ·A · ·W ell, t h at w o ul d h a v e t o d o wit h m y                    1 4 · ·w ai vi n g att or n e y- cli e nt pri vil e g e or att or n e y w or k
 1 5 · ·di s c u s si o n s wit h S e n at or H uff m a n a n d m a y b e wit h      1 5 · ·pr o d u ct d o ctri n e s y o u'r e fr e e t o a n s w er.
 1 6 · ·Mr. O p p er m a n s o I d o n't k n o w t h at I w a nt t o                 1 6 · · · · · · · M· R. O PI E L A: · S o t o e x pl ai n t hi s t o
 1 7 · ·di s cl o s e t h at.                                                        1 7 · ·y o u.
 1 8 · · · ·Q · ·Y o u'r e g oi n g t o i n v o k e y o ur l e gi sl ati v e         1 8 · · · · · · · M· R. H U D S O N: · B ef or e y o u e x pl ai n it t o
 1 9 · ·pri vil e g e ?                                                              1 9 · ·hi m, if y o u'r e g oi n g t o gi v e hi m a littl e a d vi c e,
 2 0 · · · ·A · ·Y e a h.                                                            2 0 · ·d o y o u w a nt t o g o off t h e r e c or d ?
 2 1 · · · ·Q · ·All ri g ht. · L et m e t a k e a br e a k a n d I                  2 1 · · · · · · · M· R. O PI E L A: · W h y d o n't w e d o t h at r e al
 2 2 · ·s h o ul d b e a bl e t o wr a p u p h er e pr ett y q ui c k.               2 2 · ·q ui c k.
 2 3 · · · ·A · ·O k a y.                                                            2 3 · · · · · · · T· H E VI D E O G R A P H E R: · W e ar e off t h e
 2 4 · · · · · · · T· H E VI D E O G R A P H E R: · W e ar e off t h e               2 4 · ·r e c or d.· T h e ti m e i s 1 2: 4 6 p. m.
 2 5 · ·r e c or d.· T h e ti m e i s 1 2: 4 0 p. m.                                 2 5 · · · · · · · (· Off t h e r e c or d.)

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 ·1 · · · · · · · (· Off t h e r e c or d.)                                          ·1 · · · · · · · T· H E VI D E O G R A P H E R: · W e ar e b a c k o n t h e
 ·2 · · · · · · · T· H E VI D E O G R A P H E R: · W e ar e b a c k o n t h e        ·2 · ·r e c or d.· T h e ti m e i s 1 2: 4 9 p. m.
 ·3 · ·r e c or d.· T h e ti m e i s 1 2: 4 5 p. m.                                  ·3 · · · · · · · (· R e c or d r e a d b y R e p ort er.)
 ·4 · · · · · · · (· E x hi bit N u m b er 1 6 m ar k e d.)                          ·4 · · · · · · · M· R. H U D S O N: · I will r e n e w m y o bj e cti o n
 ·5 · · · ·Q · ·( B Y M R. D U N N)· S e n at or, d uri n g a br e a k               ·5 · ·i n str u cti o n b a s e d o n att or n e y- cli e nt pri vil e g e,
 ·6 · ·I' v e h a n d e d y o u w h at I' v e m ar k e d E x hi bit 1 6; i s         ·6 · ·att or n e y w or k pr o d u ct. · T o t h e e xt e nt t h at y o u c a n
 ·7 · ·t h at tr u e ?                                                               ·7 · ·a n s w er wit h o ut w ai vi n g or e n cr o a c hi n g u p o n eit h er
 ·8 · · · ·A · ·Y e s.                                                               ·8 · ·of t h o s e pri vil e g e s y o u c a n a n s w er. · T o t h e e xt e nt
 ·9 · · · ·Q · ·It' s a l ett er fr o m Att or n e y G e n er al Gr e g              ·9 · ·t h at y o u c a n't, a n a d diti o n al l e gi sl ati v e pri vil e g e
 1 0 · ·A b b ott t o t h e h o u s e a n d s e n at e c h air s of t h e            1 0 · ·or a n y ot h er a p pli c a bl e pri vil e g e y o u c a n a n s w er,
 1 1 · ·r e di stri cti n g c o m mitt e e o n A pril 1 8, 2 0 1 3; i s t h at       1 1 · ·ot h er wi s e I' m i n str u cti n g y o u n ot t o.
 1 2 · ·ri g ht ?                                                                    1 2 · · · ·A · ·O k a y. · J u st a s I d o n't r e m e m b er
 1 3 · · · ·A · ·Y e s.                                                              1 3 · ·s p e cifi c all y g etti n g t hi s or r e c ei vi n g it, m y
 1 4 · · · ·Q · ·A n d it' s c o pi e d if y o u c a n l o o k o n t h e             1 4 · ·m e m or y i s t h at t h e Att or n e y G e n er al' s offi c e
 1 5 · ·l a st p a g e o n t h e m e m b er s of t h o s e c o m mitt e e s; i s     1 5 · ·e x p e n d e d a g o o d d e al of eff ort k e e pi n g m e i nf or m e d
 1 6 · ·t h at tr u e ?                                                              1 6 · ·of t h e t hi n g s t h at w e r e c ei v e d a n d w h at t h e y m e a nt
 1 7 · · · ·A · ·C orr e ct.                                                         1 7 · ·i n l a y m a n' s t er m s a n d t hi n g s li k e t h at.· A n y
 1 8 · · · ·Q · ·All ri g ht. · A n d s o d o y o u r e c all, h a vi n g            1 8 · ·s p e cifi c di s c u s si o n, I' m s orr y, I d o n't r e m e m b er at
 1 9 · ·l o o k e d at t hi s, t h at t hi s w a s a l ett er y o u r e c ei v e d   1 9 · ·all.
 2 0 · ·b a c k t h e n a s c h air of t h e r e di stri cti n g c o m mitt e e ?    2 0 · · · ·Q · ·( B Y M R. D U N N)· O k a y. · A n d t h e n h a v e y o u
 2 1 · · · ·A · ·V a g u el y, b ut n ot s p e cifi c all y, n o.                    2 1 · ·h a d -- d o y o u h a v e a n y u n d er st a n di n g a b o ut t h e
 2 2 · · · ·Q · ·B ut y o u d o r e c all t h e f e d er al c o urt                  2 2 · ·eff e ct a n d t h e r e q uir e m e nt s of t h e f e d er al c o urt' s
 2 3 · ·i s s ui n g it s or d er a n d b ei n g m a d e a w ar e of it a n d        2 3 · ·or d er i n 2 0 1 2 t h at i s n ot i n y o ur o pi ni o n pr ot e ct e d
 2 4 · ·t h e n e e d f or t h e s e n at e a n d t h e h o u s e t o t a k e        2 4 · ·b y att or n e y- cli e nt c o m m u ni c ati o n pri vil e g e or
 2 5 · ·a cti o n ?                                                                  2 5 · ·l e gi sl ati v e pri vil e g e ?

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 ·3 · · · ·A · ·Y e s.                                                               ·3 · ·ti m e i s 1 2: 5 3 p. m.· N u m b er of m e di a s u s e d i s t w o.
 ·4 · · · ·Q · ·H a v e y o u u n d er st o o d m y q u e sti o n s e x c e pt       ·4 · · · · · · · (· D e p o siti o n c o n cl u d e d.)
 ·5 · ·w h er e y o u a s k e d m e t o r e p hr a s e ?                             ·5
 ·6 · · · ·A · ·Y e s.                                                               ·6
 ·7 · · · ·Q · ·All ri g ht.                                                         ·7
 ·8 · · · · · · · M· R. D U N N: · I will p a s s t h e wit n e s s.                 ·8
 ·9 · · · · · · · M· R. H U D S O N: · T w o mi n ut e s t o t a k e a               ·9
 1 0 · ·l o o k at m y n ot e s.· C a n w e g o off t h e r e c or d.                10
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 2 3 · ·p arti e s t o a gr e e b ef or e t h e d e p o siti o n c a n b e u s e d   23
 2 4 · ·f or err or i n li e u of tri al t e sti m o n y.· W e h a v e n ot          24
 2 5 · ·e nt er e d s u c h sti p ul ati o n t o d a y. · W e m a y c o m e t o      25
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 ·1 · ·a gr e e m e nt wit h o p p o si n g c o u n s el, b ut a s of y et y o u     ·1· · · · · · · · · CHANGES AND SIGNATURE

 ·2 · ·m a y still b e c all e d li v e t o El P a s o. · I j u st w a nt            ·2· ·WITNESS NAME:· SENATOR KEL SELIGER

 ·3 · ·t o m a k e t h at cl e ar t o y o u.                                         ·3· ·DATE OF DEPOSITION:· JANUARY 19, 2022

 ·4 · · · · · · · T· H E WI T N E S S: · O k a y.                                    ·4· ·PAGE· · · · ·LINE· · ·CHANGEREASON

 ·5 · · · · · · · M· R. H U D S O N: · N ot hi n g f urt h er.                       ·5· ·_______________________________________________

 ·6 · · · · · · · M· R. D U N N: · I h a v e n ot hi n g f urt h er                  ·6· ·_______________________________________________

 ·7 · ·t o d a y.· I w o ul d s a y i n r e s p o n s e t o t h at i s t h e         ·7· ·_______________________________________________

 ·8 · ·d e p o siti o n n oti c e s er v e d o n t h e wit n e s s t h at w a s      ·8· ·_______________________________________________

 ·9 · ·pr o vi d e d t o o ur offi c e s ai d t h at it w o ul d b e u s e d         ·9· ·_______________________________________________

 1 0 · ·-- c o ul d b e u s e d at tri al.· S o w e w er e u n d er t h e            10· ·_______________________________________________

 1 1 · ·u n d er st a n di n g t h at t h e Att or n e y G e n er al' s offi c e     11· ·_______________________________________________

 1 2 · ·s c h e d ul e d t hi s f or t h e p ur p o s e of h a vi n g t h e          12· ·_______________________________________________

 1 3 · ·t e sti m o n y a v ail a bl e at t h e pr eli mi n ar y i nj u n cti o n    13· ·_______________________________________________

 1 4 · ·n e xt w e e k. · S o ulti m at el y w e will di s c u s s t h at wit h      14· ·_______________________________________________

 1 5 · ·t h e offi c e a n d d et er mi n e fr o m t h er e.· M y                    15· ·_______________________________________________

 1 6 · ·u n d er st a n di n g -- I will j u st a s k y o u a c o u pl e             16· ·_______________________________________________

 1 7 · ·f oll o w- u p q u e sti o n s i n r e s p o n s e t o t h at.               17· ·_______________________________________________

 1 8 · · · · · · · T· H E WI T N E S S: · O k a y.                                   18· ·_______________________________________________

 1 9 · · · ·Q · ·( B Y M R. D U N N)· E arli er y o u s ai d y o u'r e               19· ·_______________________________________________

 2 0 · ·g oi n g t o b e i n C alif or ni a n e xt w e e k; i s t h at tr u e ?      20· ·_______________________________________________

 2 1 · · · ·A · ·I a m, a n d it' s m y u n d er st a n di n g if c all e d          21· ·_______________________________________________

 2 2 · ·b y t h e c o urt I' d s h o w u p t o t h e c o urt. · I will j u st        22· ·_______________________________________________

 2 3 · ·p o ut.                                                                      23· ·_______________________________________________

 2 4 · · · ·Q · ·O k a y. · All ri g ht.                                             24· ·_______________________________________________

 2 5 · · · · · · · M· R. D U N N: · I h a v e n ot hi n g f urt h er.                25· ·_______________________________________________



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 ·1·   · · · ·I, SENATOR KEL SELIGER, have read the                       ·1· · · ·_____ was not requested by the deponent and/or
 · ·   ·foregoing deposition and hereby affix my signature                ·2· ·a party before the completion of the deposition.
 ·2·   ·that same is true and correct, except as noted
                                                                          ·3· · · · · ·I further certify that I am neither
 · ·   ·above.
 ·3                                                                       ·4· ·attorney· nor counsel for, nor related to or
 ·4                                                                       ·5· ·employed by any of the parties to the action in
 ·5·   · · · · · · · · · · ·_________________________                     ·6· ·which this deposition is taken and further that I
 · ·   · · · · · · · · · · ·SENATOR KEL SELIGER
                                                                          ·7· ·am not a relative or employee of any attorney of
 ·6
 ·7·   ·THE STATE OF ___________                                          ·8· ·record in this cause, nor am I financially or
 · ·   ·COUNTY OF ______________                                          ·9· ·otherwise interested in the outcome of the action.
 ·8                                                                       10· · · · · ·The amount of time used by each party at
 ·9·   ·Before me, _________________, on this day                         11· ·the deposition is as follows:
 · ·   ·personally appeared SENATOR KEL SELIGER, known to
 10·   ·me (or proved to me under oath or through                         12· · · · · ·Mr. Eric Hudson - 1 hour, 24 minutes
 · ·   ·____________) to be the person whose name is                      13· · · · · ·Mr. Chad Dunn - 1 hour, 2 minutes
 11·   ·subscribed to the foregoing instrument and                        14· · · · · ·Subscribed and sworn to on this 21st day
 · ·   ·acknowledged to me that they executed the same for                15· ·of January, 2022.
 12·   ·the purposes and consideration therein expressed.
                                                                          16
 13
 14                                                                       17· · · · · · · · · ·________________________________
 · ·   ·Given under my hand and seal of office this _____                 · · · · · · · · · · ·Renea Seggern, CSR #7262
 15·   ·day of ________________, 2022.                                    18· · · · · · · · · ·Certificate Expires:· 04-30-2023
 16
                                                                          · · · · · · · · · · ·Magna Legal Services
 17
 · ·   ·____________________________                                      19· · · · · · · · · ·Firm Registration No. 633
 18·   ·NOTARY PUBLIC IN AND FOR THE                                      · · · · · · · · · · ·16414 San Pedro Avenue
 · ·   ·STATE OF _____________                                            20· · · · · · · · · ·Suite 900
 19
                                                                          · · · · · · · · · · ·San Antonio, Texas 78232
 20
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 ·2·   · · · · ·IN THE UNITED STATES DISTRICT COURT
 · ·   · · · · · · · WESTERN DISTRICT OF TEXAS
 ·3·   · · · · · · · · · ·EL PASO DIVISION
 ·4·   ·LEAGUE OF UNITED LATIN· · ·(
 · ·   ·AMERICAN CITIZENS, et al., (
 ·5·   · · · · · · · · · · · · · · (
 · ·   · · · Plaintiffs,· · · · · ·(
 ·6·   · · · · · · · · · · · · · · (
 · ·   ·v.· · · · · · · · · · · · ·( Case No. 3:21-cv-00259
 ·7·   · · · · · · · · · · · · · · (
 · ·   ·GREG ABBOTT, et al.,· · · ·(
 ·8·   · · · · · · · · · · · · · · (
 · ·   · · · Defendants.· · · · · ·(
 ·9
 · ·   · · · · ·-----------------------------------
 10
 · ·   · · · · · DEPOSITION OF SENATOR KEL SELIGER
 11·   · · · · · · · · · ·JANUARY 19, 2022
 12·   · · · · ·------------------------------------
 13·   · · · · ·I, RENEA SEGGERN, Certified Shorthand
 14·   ·Reporter in and for the State of Texas, do hereby
 15·   ·certify to the following:
 16·   · · · · ·That the witness, SENATOR KEL SELIGER, was
 17·   ·by me duly sworn and that the transcript of the
 18·   ·oral deposition is a true record of the testimony
 19·   ·given by the witness.
 20·   · · · · ·I further certify that pursuant to Federal
 21·   ·Rules of Civil Procedure, Rule 30(e)(1)(A) and (B)
 22·   ·as well as Rule 30(e)(2), that review of the
 23·   ·transcript and signature of the deponent:
 24·   · · ·__X__ was requested by the deponent and/or a
 25·   ·party before completion of the deposition.


KKim
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                      n d AAssociates,
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